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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

IN RE: GENERIC PHARMACEUTICALS
PRICING ANTITRUST LITIGATION

 

THIS DOCUMENT RELATES TO:

State Attorneys General Litigation

 

THE STATE OF CONNECTICUT;

THE STATE OF ALABAMA;

THE STATE OF ALASKA;

THE STATE OF ARIZONA;

THE STATE OF ARKANSAS;

THE STATE OF CALIFORNIA;

THE STATE OF COLORADO;

THE DISTRICT OF COLUMBIA;

THE STATE OF DELAWARE;

THE STATE OF FLORIDA;

THE STATE OF HAWAII;

THE STATE OF IDAHO;

THE STATE OF ILLINOIS;

THE STATE OF INDIANA;

THE STATE OF IOWA;

THE STATE OF KANSAS;

THE COMMONWEALTH OF KENTUCKY;

THE STATE OF LOUISIANA;

THE STATE OF MAINE;

THE STATE OF MARYLAND;

THE COMMONWEALTH OF
MASSACHUSETTS;

THE STATE OF MICHIGAN;

THE STATE OF MINNESOTA;

THE STATE OF MISSISSIPPI;

THE STATE OF MISSOURI;

THE STATE OF MONTANA;

THE STATE OF NEBRASKA;

THE STATE OF NEVADA;

THE STATE OF NEW HAMPSHIRE;

THE STATE OF NEW JERSEY;

THE STATE OF NEW MEXICO;

THE STATE OF NEW YORK;

THE STATE OF NORTH CAROLINA;

 

 

MDL 2724
16-MD-2724

HON. CYNTHIA M. RUFE
Civil Action No.

17-3768

June 15, 2018

PLAINTIFF STATES'
CONSOLIDATED AMENDED
COMPLAINT

Non-Public Version:
Filed Under Seal
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THE STATE OF NORTH DAKOTA;

THE STATE OF OHIO;

THE STATE OF OKLAHOMA;

THE STATE OF OREGON;

THE COMMONWEALTH OF
PENNSYLVANIA;

THE COMMONWEALTH OF PUERTO RICO;

THE STATE OF RHODE ISLAND;

THE STATE OF SOUTH CAROLINA;

THE STATE OF TENNESSEE;

THE STATE OF UTAH;

THE STATE OF VERMONT;

THE COMMONWEALTH OF VIRGINIA;

THE STATE OF WASHINGTON;

THE STATE OF WEST VIRGINIA;

THE STATE OF WISCONSIN;

THE STATE OF WYOMING;

Vv.

ACTAVIS HOLDCO U.S., INC.;

ACTAVIS PHARMA, INC,;

ASCEND LABORATORIES, LLC;

APOTEX CORP.;

AUROBINDO PHARMA USA, INC.;

CITRON PHARMA, LLC;

DR. REDDY'S LABORATORIES, INC.
EMCURE PHARMACEUTICALS, LTD.;
GLENMARK PHARMACEUTICALS, INC.;
HERITAGE PHARMACEUTICALS, INC.;
LANNETT COMPANY, INC.;

RAJIV MALIK;

MAYNE PHARMA INC.;

SATISH MEHTA;

MYLAN PHARMACEUTICALS, INC.;

PAR PHARMACEUTICAL COMPANIES, INC.;
SANDOZ, INC.;

SUN PHARMACEUTICAL INDUSTRIES, INC.;
TEVA PHARMACEUTICALS USA, INC.;
ZYDUS PHARMACEUTICALS (USA), INC.

 

 
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PLAINTIFF STATES' [PROPOSED] CONSOLIDATED AMENDED COMPLAINT

The States of Connecticut, Alabama, Alaska, Arizona, Arkansas, California, Colorado,
Delaware, Florida, Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas, Louisiana, Maine, Maryland,
Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New
Jersey, New Mexico, New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon,
Rhode Island, South Carolina, Tennessee, Utah, Vermont, Washington, West Virginia,
Wisconsin and Wyoming, the Commonwealths of Kentucky, Massachusetts, Pennsylvania,
Puerto Rico and Virginia, and the District of Columbia (the "Plaintiff States"), by and through
their Attorneys General, bring this civil law enforcement action against Actavis Holdco U.S.,
Inc., Actavis Pharma, Inc., Ascend Laboratories, LLC, Apotex Corp., Aurobindo Pharma USA,
Inc., Citron Pharma, LLC, Dr. Reddy's Laboratories, Inc., Emcure Pharmaceuticals, Ltd.,
Glenmark Pharmaceuticals, Inc., Heritage Pharmaceuticals, Inc., Lannett Company, Inc., Rajiv
Malik, Mayne Pharma, Inc., Satish Mehta, Mylan Pharmaceuticals, Inc., Par Pharmaceutical
Companies, Inc., Sandoz, Inc., Sun Pharmaceutical Industries, Inc., Teva Pharmaceuticals USA,
Inc., and Zydus Pharmaceuticals (USA), Inc. (collectively, the "Defendants") and allege as
follows:
I. SUMMARY OF THE CASE

l, In July 2014, the State of Connecticut initiated a non-public investigation into
Suspicious price increases for certain generic pharmaceuticals. Over time, the investigation
expanded and Connecticut was joined in its efforts by forty-five (45) additional states. Asa
result of the information and evidence developed through that investigation, which is still
ongoing, the Plaintiff States allege that the Defendants, and several as-of-yet unnamed

coconspirators, entered into numerous contracts, combinations and conspiracies that had the
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effect of unreasonably restraining trade, artificially inflating and maintaining prices and reducing
competition in the generic pharmaceutical industry throughout the United States, including but
not limited to, the markets for the following fifteen (15) generic drugs: Acetazolamide,
Doxycycline Hyclate Delayed Release, Doxycycline Monohydrate, Fosinopril-
Hydrochlorothiazide, Glipizide-Metformin, Glyburide, Glyburide-Metformin, Leflunomide,
Meprobamate, Nimodipine, Nystatin, Paromomycin, Theophylline, Verapamil and Zoledronic
Acid.

2. Plaintiff States also allege that Defendants participated in an overarching
conspiracy, the effect of which was to minimize if not thwart competition across the generic drug
industry. The overarching conspiracy was effectuated by a series of conspiracies that affected
and continue to affect the market for a number of generic drugs identified in this Consolidated
Amended Complaint.

3. The Plaintiff States focus here on the role of these named Defendants and their
participation in and agreement with this overarching conspiracy. The Complaint describes
conspiracies regarding the sale of specific drugs, and how these specific conspiracies are also
part of the larger overarching conspiracy. The Plaintiff States continue to investigate additional
conspiracies, involving these and other generic manufacturers, regarding the sale of other drugs
not identified in this Complaint, and will likely bring additional actions based on those
conspiracies at the appropriate time in the future.

4. Defendants' illegal agreements have raised prices, maintained artificially inflated
prices and frustrated the potential of the industry to deliver great value to Plaintiff States and
those they represent. Generic drugs are pharmaceutically equivalent to the referenced brand

name drug in dosage, form, route of administration, strength or concentration, and amount of
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active ingredient. Generic drugs can save (and have saved) consumers and other purchasers of
drugs tens of billions of dollars annually because generic drugs are a lower-priced alternative to
brand name drugs. When the manufacturer of a branded drug loses the market exclusivity that
comes with patent rights, generic drugs offer lower prices and greater access to healthcare for all
consumers in the United States through genuine competition. A consumer with a prescription
can fill that prescription not only with the brand name drug, but also with a generic version of
that drug, if one is available. State laws often require pharmacists to fill prescriptions with
generic versions of the drug.

5. Typically, when the first generic manufacturer enters a market for a given drug,
the manufacturer prices its product slightly lower than the brand-name manufacturer. A second
generic manufacturer's entry reduces the average generic price to nearly half the brand-name
price. As additional generic manufacturers market the product, the prices continue to fall slowly.
For drugs that attract a large number of generic manufacturers, the average generic price falls to
20% or less of the price of the branded drug.

6. Generic drugs were one of the few "bargains" in the United States healthcare
system. Health care experts believe cost savings from the growing number of generic drugs
helped keep the lid on increasing health care costs. With the Hatch-Waxman Act of 1984,
Congress designed the generic drug market to keep costs low and the market initially operated
that way.

7. At some point, that price dynamic changed for many generic drugs. Prices for
dozens of generic drugs have risen — while some have skyrocketed, without explanation,
sparking outrage from politicians, payers and consumers across the country whose costs have

doubled, tripled, or even increased 1,000% or more. The growing outrage and public reports of
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unexplained and suspicious price increases caused the State of Connecticut to commence its
investigation in July of 2014. Shortly thereafter, Congress opened an inquiry and various
companies acknowledged that a criminal grand jury investigation had been convened by the
United States Department of Justice Antitrust Division.

8. Generic drug manufacturers argued publicly that the significant price increases
were due to a myriad of benign factors, such as industry consolidation, FDA-mandated plant
closures, or elimination of unprofitable generic drug product lines. What the Plaintiff States
have found through their investigation, however, is that the reason underlying many of these
price increases is much more straightforward, and sinister — illegal collusion among generic drug
manufacturers. Prices of many generic pharmaceuticals were and remain artificially inflated
through collusive bid rigging and market allocation agreements designed to prevent price wars
from occurring when key competitive opportunities arise in the marketplace.

9. Generic drug manufacturers, through their senior leadership and marketing and
sales executives, have routine and direct interaction. The Defendants exploited their interactions
at various and frequent industry trade shows, customer conferences and other similar events, to
develop relationships and sow the seeds for their illegal agreements. These anticompetitive
agreements are further refined and coordinated at regular "industry dinners", "girls nights out”,
lunches, parties, frequent telephone calls, emails and text messages.

10. The anticompetitive conduct -- schemes to fix and maintain prices, allocate
markets and otherwise thwart competition — has caused, and continues to cause, significant harm
to the United States healthcare system, which is ongoing. Moreover, executives at the highest

levels in many of the Defendant companies, including but not limited to Defendants Rajiv Malik

and Satish Mehta, conceived and directed many of these schemes.
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11. Defendant Heritage is a consistent participant in the conspiracies identified in this
Complaint, but the conduct is pervasive and industry-wide and the schemes identified herein are
part of a larger, overarching understanding about how generic manufacturers fix prices and
allocate markets to suppress competition. Through its senior-most executives and account
managers, Heritage participated in a wide-ranging series of restraints with more than a dozen
generic drug manufacturers, all of whom knowingly and willingly participated. As a result of
these conspiracies, Defendants reaped substantial monetary rewards.

12. Defendants’ anticompetitive conduct falls principally into two categories, the
overarching goal being to avoid price erosion and maintain inflated pricing within and across
their respective broad product portfolios and, at times, increase pricing for targeted products
without triggering a “fight to the bottom” among existing competitors. First, to avoid competing
with one another and thus eroding the prices for a myriad of generic drugs, Defendants -- either
upon their entry into a given generic market or upon the entry of a new competitor into that
market -- communicated with each other to determine and agree on how much market share and
which customers each competitor was entitled to. They then implemented the agreement by
either refusing to bid for particular customers or by providing a cover bid that they knew would
not be successful. Defendants agreed to allocate the market for Nimodipine, Meprobamate,
Zoledronic Acid, and Doxycycline Hyclate Delayed Release, among others. These schemes
reduced or eliminated competition for a particular drug, and allowed Defendants to maintain
artificially supra-competitive prices in these markets throughout the United States.

13. Second, and often in conjunction with the market allocation schemes, competitors
in a particular market communicated -- either in person, by telephone, or by text message -- and

agreed to collectively raise and/or maintain prices for a particular generic drug. The Defendants
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collectively agreed to raise and/or maintain prices for Acetazolamide, Doxycycline
Monohydrate, Fosinopril-Hydrochlorothiazide, Glipizide-Metformin, Glyburide, Glyburide-
Metformin, Leflunomide, Meprobamate, Nimodipine, Nystatin, Paromomycin, Theophylline,
and Verapamil, among others.

14. Defendants here understood and acted upon an underlying code of conduct that is
widespread in the generics industry: an expectation that any time a company is entering a
particular generic drug market, it can contact its competitors and allocate the market according to
a generally agreed-upon standard of "fair share" in order to avoid competing and Keep prices
high. While different drugs may involve different sets of companies, this background
understanding remains constant and is an important component of the Defendants' ability to
reach agreements for specific drugs.

15. | The Defendants knew their conduct was unlawful. The conspirators usually chose
to communicate in person or by cell phone, in an attempt to avoid creating a record of their
illegal conduct. The structure of the generic drug industry provided numerous opportunities for
collusive communications at trade shows, customer events and smaller more intimate dinners
and meetings. When communications were reduced to writing or text message, Defendants often
took overt and calculated steps to destroy evidence of those communications.

16. | Asaresult of the conspiracies identified in this Consolidated Amended Complaint
(also referred to herein as the "Complaint"), consumers nationwide, including the Plaintiff States,
paid substantially inflated and anticompetitive prices for numerous generic pharmaceutical
drugs, and the Defendants illegally profited as a result.

17. The Plaintiff States seek a finding that the Defendants! actions violated federal

and state antitrust and consumer protection laws; a permanent injunction preventing the
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Defendants from continuing their illegal conduct and remedying the anticompetitive effects
caused by their illegal conduct; disgorgement of the Defendants' ill-gotten gains; damages on
behalf of various state and governmental entities and consumers in various Plaintiff States; civil
penalties and other relief as a result of Defendants' violations of law.

Il. JURISDICTION AND VENUE

18. This Court has jurisdiction over this action under Section 1 of the Sherman Act,
15 U.S.C. § 1 & 26, and under 28 U.S.C. §§ 1331 and 1337.

19. In addition to pleading violations of federal law, the Plaintiff States also allege
violations of state law, as set forth below, and seek civil penalties, damages and equitable relief
under those state laws. All claims under federal and state law are based on a common nucleus of
operative fact, and the entire law enforcement action commenced by this Consolidated Amended
Complaint constitutes a single case that would ordinarily be tried in one judicial proceeding. The
Court has jurisdiction over the non-federal claims under 18 U.S.C. § 1367(a), as well as under
principles of pendent jurisdiction. Pendent jurisdiction will avoid unnecessary duplication and
multiplicity of actions, and should be exercised in the interests of judicial economy, convenience,
and fairness.

20. This Court may exercise personal jurisdiction over all of the Defendants because
they either transact business both in this District and in the District of Connecticut where this
action was commenced, or they have engaged in anticompetitive and illegal conduct that has had
an impact both in this District and in the District of Connecticut. Specifically, the corporate
Defendants market and sell generic pharmaceutical drugs in interstate and intrastate commerce to
consumers nationwide through drug wholesalers and distributors, pharmacy and supermarket

chains, and other resellers of generic pharmaceutical drugs. The two individual Defendants were
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executives of Defendants Mylan and Emcure who engaged in and directed some of the unlawful
conduct addressed herein. The acts complained of have, and will continue to have, substantial
effects both in this District and in the District of Connecticut.

21. Venue is proper in this district under Section 12 of the Clayton Act, 15 U.S.C. §
22, and 28 U.S.C. § 1391(b)-(c). At all times relevant to the Plaintiff States' Consolidated
Amended Complaint, the Defendants resided, transacted business, were found, or had agents in
this District, and a portion of the affected interstate trade and commerce described below has
been carried out in this District.
Hl. THE PARTIES

22. | The Attorneys General are the chief legal officers for their respective States.
They are granted authority under federal and state antitrust and consumer protection laws to
bring actions to protect the economic well-being of the Plaintiff States and obtain injunctive and
other relief from the harm that results from the violations of antitrust and consumer protection
laws alleged herein. All Plaintiff States seek equitable and other relief under federal antitrust
laws in their sovereign or quasi-sovereign capacities. To the extent specified in the state claims
asserted in this Consolidated Amended Complaint, certain Attorneys General of the Plaintiff
States have and here exercise authority to secure relief, including monetary relief, including for
governmental entities and consumers in their states who paid or reimbursed for the generic
pharmaceutical drugs that are the subject of this Consolidated Amended Complaint. As specified
in Count Nineteen, some states also seek damages for state entities or their consumers under state
antitrust law, and some states seek additional relief for violations of state consumer protection

laws.
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23. Defendant Actavis Holdco U.S., Inc. ("Actavis Holdco"), is a corporation
organized and existing under the laws of the State of Delaware with its principal place of
business in Parsippany, New Jersey. In August 2016, Teva Pharmaceutical USA, Inc. acquired
the Actavis generics business of Allergan ple, including Actavis, Inc. Upon the acquisition,
Actavis, Inc. — the acquired Allergan plc generics operating company (formerly known as
Watson Pharmaceuticals) — was renamed Allergan Finance, LLC, which in turn assigned all of
the assets and liabilities of the former Allergan plc generic business to the newly formed Actavis
Holdco, including subsidiaries Actavis Pharma, Inc. and Actavis Elizabeth LLC (a research and
development and manufacturing entity for Actavis generic operations), among others. Actavis
Holdco is a wholly-owned subsidiary of Teva Pharmaceuticals USA, Inc., which is a Delaware
corporation with its principal place of business in North Wales, Pennsylvania.

24. Defendant Actavis Pharma, Inc. is a Delaware corporation with its principal place
of business at 400 Interpace Parkway, Parsippany, New Jersey. It is a wholly-owned subsidiary
of Actavis Holdco and is a principal operating company in the U.S. for Teva's generic products
acquired from Allergan plc. It manufactures, markets, and/or distributes generic
pharmaceuticals. Unless addressed individually, Actavis Holdco and Actavis Pharma, Inc. are
collectively referred to herein as "Actavis." At all times relevant to the Consolidated Amended
Complaint, Actavis has marketed and sold generic pharmaceuticals in this District and
throughout the United States.

25. Defendant Ascend Laboratories, LLC (‘‘Ascend") is a corporation organized and
existing under the laws of the State of New Jersey, with a principal place of business at 339

Jefferson Road, Parsippany, New Jersey. At all times relevant to the Consolidated Amended
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Complaint, Ascend has marketed and sold generic pharmaceuticals in this District and
throughout the United States.

26. Defendant Apotex Corp. ("Apotex") is a corporation organized and existing under
the laws of the State of Delaware. Its principal place of business is 2400 North Commerce
Parkway, Weston, Florida. Apotex is in the business of, among other things, developing,
manufacturing, and selling generic versions of branded pharmaceutical products for distribution
in the United States, including in this District. At all times relevant to the Consolidated
Amended Complaint, Apotex has marketed and sold generic pharmaceuticals in this District and
throughout the United States.

27. Defendant Aurobindo Pharma USA, Inc. ("Aurobindo") is a corporation
organized and existing under the laws of the State of Delaware with its principal place of
business at 6 Wheeling Road, Dayton, New Jersey. At all times relevant to the Consolidated
Amended Complaint, Aurobindo has marketed and sold generic pharmaceuticals in this District
and throughout the United States.

28. Defendant Citron Pharma, LLC ("Citron") is a corporation organized and existing
under the laws of the State of New Jersey with its principal place of business at 2 Tower Center
Boulevard, Suite 1101, East Brunswick, New Jersey. At all times relevant to the Consolidated
Amended Complaint, Citron has marketed and sold generic pharmaceuticals in this District and
throughout the United States.

29. Defendant Dr. Reddy’s Laboratories, Inc. ("Dr. Reddy's") is a corporation
organized and existing under the laws of the State of Delaware with its principal place of

business at 107 College Road East, Princeton, New Jersey. At all times relevant to the

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Consolidated Amended Complaint, Dr. Reddy's has marketed and sold generic pharmaceuticals
in this District and throughout the United States.

30. Defendant Emcure Pharmaceuticals, Ltd. ("Emcure") is a corporation organized
and existing under the laws of India, having its principal place of business in Pune, India.
Emcure is the parent company of Defendant Heritage Pharmaceuticals, Inc. ("Heritage") and
another U.S.-based entity, Emcure Pharmaceuticals USA, Inc., which has a principal place of
business in East Brunswick, New Jersey. At all times relevant to the Consolidated Amended
Complaint, Emcure has marketed and sold generic pharmaceuticals in this District and
throughout the United States, and has also participated in and directed the business activities of
Defendant Heritage.

31. Defendant Glenmark Pharmaceuticals, Inc., USA ("Glenmark") is a corporation
organized and existing under the laws of the State of Delaware with a principal place of business
at 750 Corporate Drive, Mahwah, New Jersey. At all times relevant to the Consolidated
Amended Complaint, Glenmark has marketed and sold generic pharmaceuticals in this District
and throughout the United States.

32. Defendant Heritage is a corporation organized and existing under the laws of the
State of Delaware with its principal place of business at 12 Christopher Way, Suite 300,
Eatontown, New Jersey. Heritage is a wholly-owned subsidiary of Defendant Emcure. At all
times relevant to the Consolidated Amended Complaint, Heritage has marketed and sold generic
pharmaceuticals in this District and throughout the United States.

33. Defendant Lannett Company, Inc. ("Lannett") is a corporation organized and

existing under the laws of the State of Delaware with its principal place of business at 9000 State

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Road, Philadelphia, Pennsylvania. At all times relevant to the Complaint, Lannett has marketed
and sold generic pharmaceuticals in this District and throughout the United States.

34. Defendant Rajiv Malik ("Malik") is an individual residing at 605 Grandview
Drive, Gibsonia, Pennsylvania. At all times relevant to the Consolidated Amended Complaint,
Malik has acted as the President and Executive Director of Mylan N.V., which is the parent
company of Defendant Mylan. In his role as President of Mylan N.V., Malik is responsible for
overseeing the sales and marketing of Mylan's generic pharmaceutical business, which is
accomplished at least in part through acting on behalf of Defendant Mylan.

35. | Defendant Mayne Pharma Inc. ("Mayne") is a corporation organized and existing
under the laws of the State of Delaware with its principal place of business at 3301 Benson
Drive, Suite 401, Raleigh, North Carolina. In 2012, Mayne acquired Metrics, Inc. and its
division, Midlothian Laboratories ("Midlothian"), and has also operated under the name
Midlothian since that time. At all times relevant to the Consolidated Amended Complaint,
Mayne has marketed and sold generic pharmaceuticals in this District and throughout the United
States.

36. Defendant Satish Mehta ("Mehta") is an individual residing at Prasanna 4,
Mumbai Pune Road, Kirkee, Pune-3, India. At all times relevant to the Consolidated Amended
Complaint, Mehta has acted as the Chief Executive Officer and Managing Director of Defendant
Emcure. Mehta has also held a position on the Board of Directors of Defendant Heritage.

37, Defendant Mylan Pharmaceuticals, Inc. ("Mylan") is a corporation organized and
existing under the laws of the State of Delaware with its principal place of business at 1000

Mylan Boulevard, Canonsburg, Pennsylvania. At all times relevant to the Consolidated

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Amended Complaint, Mylan has marketed and sold generic pharmaceuticals in this District and
throughout the United States.

38. Defendant Par Pharmaceutical Companies, Inc. ("Par") is a corporation organized
and existing under the laws of the State of Delaware with its principal place of business at One
Ram Ridge Road, Chestnut Ridge, New York. At all times relevant to the Consolidated
Amended Complaint, Par has marketed and sold generic pharmaceuticals in this District and
throughout the United States.

39. Defendant Sandoz, Inc. ("Sandoz") is a corporation organized and existing under
the laws of the State of Colorado, with its principal place of business at 100 College Road West,
Princeton, New Jersey. Sandoz is a subsidiary of Novartis AG, a global pharmaceutical company
based in Basel, Switzerland. At all times relevant to the Consolidated Amended Complaint,
Sandoz has marketed and sold generic pharmaceuticals in this District and throughout the United
States.

40. Defendant Sun Pharmaceutical Industries, Inc. ("Sun") is a corporation organized
and existing under the laws of the State of Michigan with its principal place of business at 1
Commerce Drive, Cranbury, New Jersey. Sun is a wholly-owned subsidiary of Sun
Pharmaceutical Industries Ltd., an Indian corporation, which also owns a majority stake in Taro
Pharmaceutical Industries, Ltd. and Taro's U.S. subsidiary, Taro Pharmaceuticals USA, Inc. In
late 2012, Sun acquired URL Pharma, Inc. ("URL") and its subsidiary, Mutual Pharmaceutical
Company, Inc. ("Mutual"), both of which have their principal place of business in Philadelphia,
Pennsylvania. Sun also does business under the name Caraco Pharmaceutical Laboratories
("Caraco"), a company Sun acquired in 1997. Unless addressed individually, Sun, URL, Mutual

and Caraco are collectively referred to herein as "Sun." During the time period relevant to this

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Consolidated Amended Complaint, Sun marketed and sold generic pharmaceutical drugs in this
District and throughout the United States.

41. Defendant Teva Pharmaceuticals USA, Inc. ("Teva") is a corporation organized
and existing under the laws of the State of Delaware with its principal place of business at 1090
Horsham Road, North Wales, Pennsylvania. At all times relevant to the Consolidated Amended
Complaint, Teva has marketed and sold generic pharmaceuticals in this District and throughout
the United States.

42. Defendant Zydus Pharmaceuticals (USA) Inc. ("Zydus") is a corporation
organized and existing under the laws of the State of New Jersey with its principal place of
business at 73 Route 31 North, Pennington, New Jersey. At all times relevant to the
Consolidated Amended Complaint, Zydus has marketed and sold generic pharmaceuticals in this
District and throughout the United States.

43. Whenever any reference is made in any allegation of this Consolidated Amended
Complaint to any representation, act or transaction of Defendants, or any agent, employee or
representative thereof, such allegation shall be deemed to mean that such principals, officers,
directors, employees, agents or representatives of Defendants, while acting within the scope of
their actual or apparent authority, whether they were acting on their own behalf or for their own
benefit, did or authorized such representations, acts or transactions on behalf of Defendants,

respectively.

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IV. FACTS SUPPORTING THE LEGAL CLAIMS

A. The Generic Drug Market

1. The Hatch-Waxman Act

44, In 1984, Congress enacted the Drug Price Competition and Patent Term
Restoration Act, commonly known as the "Hatch-Waxman" Act. Its intention was to balance
two seemingly contradictory interests: encouraging drug innovation, and promoting competition
between brand and generic drugs in order to lower drug prices. To encourage innovation, Hatch-
Waxman gave branded drug manufacturers longer periods of market exclusivity for newly-
approved products; this increased the financial returns for investment in drug research and
development.

45. To promote price competition, the law established a new regulatory approval
pathway for generic products to help ensure that generic drugs became available more quickly
following patent expiration. To gain approval for a new drug, drug manufacturers must submit a
new drug application ("NDA") to the United States Food and Drug Administration ("FDA")
showing that the new drug is safe and effective for its intended use. Developing a new drug and
obtaining an NDA can take many years and cost tens or hundreds of millions of dollars.

46. The Hatch-Waxman Act encouraged faster approval for generic versions of
brand-name drugs through the use of "abbreviated new drug applications" ("ANDAs"). These
applications rely on the safety and efficacy evidence previously submitted by the branded drug
manufacturer, permitting generic manufacturers to avoid conducting costly and duplicative
clinical trials.

47. | Hatch-Waxman succeeded in both of its goals. Since the law was passed in 1984,

generic drugs have moved from being less than 20% of prescriptions filled in the United States to

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over 80% of prescriptions filled. A recent study found that, in 2011 alone, generic medicines
saved $193 billion for consumers. During the same period, innovation has continued to lead to
many new and helpful drugs.

2. The Importance of Generic Drugs

48. Like their branded counterparts, generic drugs are used in the diagnosis, cure,
mitigation, treatment or prevention of disease and, thus, are integral components in modern
healthcare, improving health and quality of life for nearly all people in the United States. In
2015, sales of generic drugs in the United States were estimated at $74.5 billion dollars. Today,
the generic pharmaceutical industry accounts for nearly 90% of all prescriptions written in the
United States.

49. A branded drug manufacturer that develops an innovative drug can be rewarded
with a patent granting a period of exclusive rights to market and sell the drug. During this period
of patent protection, the manufacturer typically markets and sells its drug under a brand name,
and the lack of competition can permit the manufacturer to set its prices extremely high.

50. Once the brand-name drug’s exclusivity period ends, additional firms that receive
FDA approval are permitted to manufacture and sell “generic” versions of the brand-name drug.
As generic drugs enter the market, competition typically leads to dramatic reductions in price.
Generic versions of brand name drugs are priced lower than the brand-name versions. Under
most state laws, generic substitution occurs automatically, unless the prescriber indicates on the
prescription that the branded drug must be "dispensed as written."

51. As additional manufacturers enter a particular drug market, competition pushes
the price down much more dramatically. Often, the price of a generic drug will end up as low as

20% of the branded price or even lower. For this reason, generic drugs have long been referred

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to as one of the few "bargains" in the United States healthcare system. Experts have stated that
the substantial cost savings gained from the growing number of generic drugs have played a
major role in keeping health care costs from increasing more dramatically.

52. Where there is genuine competition, the savings offered by generics drugs over
their brand-name equivalents provide tremendous benefits to consumers and health care payors.
Patients typically see lower out of pocket expenses, while lower costs for payors and insurers can
lead to lower premiums for those who pay for health insurance, and lower costs to government
health care programs like Medicare and Medicaid mean greater value for taxpayers.

3. The Players in the Drug Distribution System

53. The United States prescription drug distribution system includes entities that can
be involved at various stages of the distribution channel through which prescription drugs are
delivered to end users.

a. Manufacturers/Suppliers

54. Drug manufacturers are the source of the prescription drugs in the pharmaceutical
supply chain. Unlike branded drug manufacturers, generic manufacturers typically do not
develop new drug therapies, but instead manufacture generic drugs that can be substituted (often
automatically under state law) for the branded drug after expiration of the brand's exclusivity.
Generic pharmaceuticals can be manufactured in a variety of forms, including tablets, capsules,
injectables, inhalants, liquids, ointments and creams. A manufacturer seeking to sell a “new
drug” in the United States (including generic versions of previously approved drugs) must obtain
approval from the FDA, which evaluates many factors, including drug safety, efficacy, raw

material suppliers, manufacturing processes, labeling and quality control.

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55. Generic drug manufacturers operate manufacturing facilities, and compete with
each other to sell the generic drugs they produce to wholesalers, distributors, and in some cases,
directly to retail pharmacy chains, mail-order and specialty pharmacies, hospital chains, and
some health plans.

56. Generic drug manufacturers also sell some of their drugs through auctions to
different purchasers in the supply chain, e.g., group purchasing organizations, retail pharmacies
and supermarket chains with pharmacies.

57. In marketing their generic drugs, manufacturers often do not attempt to
differentiate their products because, primarily, a generic drug is a commodity. Consequently,
competition is dictated by price and supply. As a result, generic drug manufacturers usually all
market the drug under the same name, which is the name of the active ingredient (e.g.,
Acetazolamide).

58. Drug suppliers can include the manufacturers themselves, or other companies that
have agreements to sell or distribute certain generic pharmaceutical drugs manufactured by
another company. The Defendants in this action are all drug manufacturers and suppliers who
compete with one another for the sale of generic pharmaceutical drugs which are ultimately sold
to consumers in the United States.

59. Drugs sold in the United States may be manufactured either domestically or
abroad. Many manufacturers that produce drugs for the United States market are owned by, or
are, foreign companies. Generic drugs may be manufactured by the same companies that
manufacture brand-name drugs (even in the same factories), or may come from companies that

manufacture generics exclusively. Drug manufacturers typically sell their products through

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supply agreements negotiated with wholesalers and distributors, group purchasing organizations,
pharmacy benefit managers and large retailers like pharmacy and supermarket chains.

60. Generic manufacturers report certain benchmark or list prices for each generic
drug that they offer, including the average wholesale price ("AWP") and wholesale acquisition
cost ("WAC"); these sometimes serve as benchmarks, but given the different characteristics of
different buyers and the nature of individual negotiations, a manufacturer will frequently supply
the same generic drug at several different prices depending on the customer or type of customer.

61. In addition, generic manufacturers that enter into a Medicaid rebate agreement
must report their average manufacturer prices ("AMP") to the federal Centers for Medicare and
Medicaid Services on a monthly and quarterly basis. Pursuant to federal law, AMP is defined as
the average price paid to the manufacturer for the drug in the United States by (a) wholesalers for
drugs distributed to retail community pharmacies and (b) retail community pharmacies that
purchase drugs directly from the manufacturer.

62. Medicaid reimbursement for certain generic drugs is calculated using a formula
that is derived from a manufacturer's AMP for that specific generic drug. Put another way, a
manufacturer's AMP may have a direct impact on how much a state Medicaid program pays for a
generic drug dispensed to a Medicaid beneficiary.

63. The corporate Defendants in this case are among the largest generic
pharmaceutical manufacturers in the industry. Each has a broad portfolio of generic drugs which
it sells to distributors, retailers and group purchasing organizations, many of whom have a
nationwide presence. Competitors for particular pharmaceutical products fluctuate given the
shifting pharmaceutical landscape as drugs lose exclusivity, and as manufacturers decide to enter

or exit an existing drug market. Every Defendant’s portfolio remained broad, and was marketed

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to customers in virtually every state across the United States, at all times relevant to this
Complaint.

64. The Defendants’ customers supply generic pharmaceuticals to a wide swath of
consumer populations, including but not limited to Medicaid recipients; private and public sector
employees with commercial payor, employer-funded, or self-funded health plans; patients in
non-profit, for-profit, or public hospitals or long-term care facilities; and prisons.

65. The generic pharmaceutical portfolios of the Defendants run the gamut of
indications, servicing a wide range of health needs, from potentially less common health
problems such as hypercalcemia treated with Zoledronic Acid and complications of liver disease
treated by Paromomycin, to the more commonplace such as bacterial infections treated with
Doxycycline Monohydrate and glaucoma, epilepsy, or altitude sickness treated by
Acetazolamide ER.

66. Taken together, customers purchase a wide range of generic pharmaceutical
products, in enormous volumes, in every state. Defendants' business plans and strategies for
their broad portfolios focus on the nationwide supply and demand chain that funnels their
products through various purchasers, including state governments, municipalities, and private
sector employers, in order to reach consumer populations in every state. This supply and
demand chain is described in more detail below.

b. Wholesalers/Distributors

67. Wholesalers and distributors purchase pharmaceutical products from
manufacturers and distribute them to a variety of customers, including pharmacies (retail and

mail-order), hospitals, long-term care and other medical facilities. Some wholesalers sell to a

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broad range of customers while others specialize in sales of particular products (e.g., biologic
products) or sales to a particular type of customer (e.g., nursing homes).

68. Wholesalers and distributors have similar business models, but distributors
typically provide more services to their customers. Some of the largest wholesalers and
distributors of generic drugs include AmerisourceBergen Corporation ("ABC"), Cardinal Health,
Inc. ("Cardinal"), H.D. Smith, LLC ("HD Smith"), McKesson Corporation ("McKesson") and
Morris & Dickson, LLC ("Morris & Dickson").

c Group Purchasing Organizations (GPOs)

69. Group purchasing organizations ("GPOs") are membership-based entities that
negotiate with manufacturers, wholesalers, and distributors on behalf of a large group of
purchasers. GPOs leverage their buying power to obtain better prices and terms for their
members, and assist buyers in trade relations and contract management with sellers. GPOs have
formed to serve state and local governments, hospital groups, retail pharmacies, and supermarket
chains. Some of the GPOs who sell large volumes of Defendants’ generic products for
distribution nationwide include Vizient (formerly Novation), Premier, Inc. ("Premier"), Intalere
(formerly Amerinet), the Minnesota Multistate Contracting Alliance for Pharmacy ("MMCAP")
and Econdise Contracting Solutions ("Econdisc”).

d. Pharmacy and Supermarket Chains

70. Pharmacies are the final step on the pharmaceutical supply chain before drugs
reach the consumer. There are several types of pharmacies, including chain and independent
retail] pharmacies, pharmacies in supermarkets and other large retail establishments, and mail-
order pharmacies. If a retail pharmacy or supermarket chain purchases generic drugs on a large

enough scale, manufacturers may agree to contract with them directly. Such retailers can obtain

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attractive terms by avoiding the markups or fees charged by wholesalers, distributors, and GPOs.
Retailers large enough to purchase drugs directly from manufacturers include Rite Aid
Corporation ("Rite Aid"), CVS Health ("CVS"), The Walgreen Company ("Walgreens"), Wal-
Mart Stores, Inc. ("Walmart"), Target Corporation, and Publix Super Markets, Inc. ("Publix").

e. Customer Incentives

71. Some of the largest downstream buyers that purchase from generic manufacturers
actually benefit when prices are higher. For example, in McKesson's 2014 10-K filing, the
company reported the following:

A significant portion of our distribution arrangements with the
manufacturers provides us compensation based on a percentage of
our purchases. In addition, we have certain distribution
arrangements with pharmaceutical manufacturers that include an
inflation-based compensation component whereby we benefit when
the manufacturers increase their prices as we sell our existing
inventory at the new higher prices. For these manufacturers, a
reduction in the frequency and magnitude of price increases, as
well as restrictions in the amount of inventory available to us,
could have a material adverse impact on our gross profit margin.

In that same filing, McKesson also reported that "The business’ practice is to pass on to
customers published price changes from suppliers."
72. Similarly, in Cardinal's 2014 10-K filing, the company reported that

Gross margin in our Pharmaceutical segment is impacted by

generic and branded pharmaceutical price appreciation and the

number and value of generic pharmaceutical launches. In past

years, these items have been substantial drivers of Pharmaceutical

segment profit. Prices for generic pharmaceuticals generally

decline over time. But at times, some generic products experience

price appreciation, which positively impacts our margins.

73. ABC's Annual Summary 2014 and Annual Report 2014 make very similar

observations:

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Our results of operations continue to be subject to the risks
and uncertainties of inflation in branded and generic
pharmaceutical prices and deflation in generic pharmaceutical
prices,

Certain distribution service agreements that we have entered into
with branded and generic pharmaceutical manufacturers continue
to have an inflation-based compensation component to them.
Arrangements with a small number of branded manufacturers
continue to be solely inflation-based. As a result, our gross profit
from brand-name and generic manufacturers continues to be
subject to fluctuation based upon the timing and extent of
manufacturer price increases. [f the frequency or rate of branded
and generic pharmaceutical price increases slows, our results of
operations could be adversely affected. In addition, generic
pharmaceuticals are also subject to price deflation. If the frequency
or rate of generic pharmaceutical price deflation accelerates, our
results of operations could be adversely affected.

74. Other large retail customers have similar contractual provisions in their contracts
with generic manufacturers that allow for potentially greater compensation when prices are
higher. For example, contracts between Walgreens Boots Alliance Development GmbH, a
GPO, and generic manufacturers contain provisions about Rebates and Administrative fees that
are directly tied to "total contract sales" — a number that increases when prices increase. In other
words, that GPO (and other larger retail customers with similar contractual terms) may make
more money when generic pharmaceutical prices are higher.

75. The generic manufacturers are keenly aware that some of their customers benefit
from their price increases. For example, when Defendant Heritage planned to increase prices on
a large number of different drugs in April 2014, as discussed more fully below, one of the
national account representatives noted at that time that in addition to benefitting Heritage

"(t]hese increases help customers w/ Annual Incentives.”

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4. The Cozy Nature of the Industry and Opportunities for Collusion
76. The generic drug market is structured in a way that allows generic drug
manufacturers, including but not limited to the Defendants, to interact and communicate with
each other directly and in person, on a frequent basis.

a, Trade Association and Customer Conferences

77, Many customers of the Defendants, including but not limited to (a) large
wholesalers or distributors like ABC, Cardinal, HD Smith, McKesson and Morris & Dickson, (b)
GPOs like Premier, MMCAP and Econdisc, and (c) other large drug purchasers like pharmacy or
grocery store chains, hold multi-day conferences throughout the year in various locations
throughout the United States. Generic manufacturers from across the United States are invited to
attend.

78. Additionally, the Defendants and other generic drug manufacturers also attend
various industry trade shows throughout the year, including those hosted by the National
Association of Chain Drug Stores ("NACDS"), Healthcare Distribution Management Association
("HDMA") (now the Healthcare Distribution Alliance), the Generic Pharmaceutical Association
("GPhA") and Efficient Collaborative Retail Marketing ("ECRM"), in a variety of locations
throughout the United States.

79. At these various conferences and trade shows, sales representatives from many
generic drug manufacturers, including Defendants, interact with each other and discuss their
respective businesses and customers. Many of these conferences and trade shows include
organized recreational and social events such as golf outings, lunches, cocktail parties and
dinners that provide additional opportunities to meet with competitors. Defendants use these

opportunities to discuss and share competitively-sensitive information concerning upcoming

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bids, specific generic drug markets, pricing strategies and pricing terms in their contracts with
customers.

80. | These trade shows and customer conferences provide generic drug manufacturers,
including but not limited to the Defendants, with ample opportunity to meet, discuss, devise and
implement a host of anticompetitive schemes that unreasonably restrain competition in the
United States' market for generic drugs.

b. Industry Dinners and Private Meetings

81. In addition to these frequent conferences and trade shows, senior executives and
sales representatives gather in smaller groups, allowing them to further meet face-to-face with
their competitors and discuss competitively sensitive information.

82. | Many generic drug manufacturers, including several of the Defendants, are
headquartered in close proximity to one another in New Jersey or eastern Pennsylvania, giving
them additional opportunities to foster connections and meet and collude. At least forty-one (41)
different generic drug manufacturers are concentrated between New York City and Philadelphia,
including, among others, Defendants Actavis, Ascend, Aurobindo, Citron, Dr. Reddy’s,
Glenmark, Heritage, Lannett, Par, Sandoz, Sun, Teva and Zydus.

83. High-level executives of many generic drug manufacturers get together
periodically for what some of them refer to as "industry dinners." For example, in January 2014,
at a time when the prices of a number of generic drugs were reportedly soaring, at least thirteen
(13) high-ranking executives, including CEOs, Presidents and Senior Vice Presidents of various
generic drug manufacturers, met at a steakhouse in Bridgewater, New Jersey. Executives from
Defendants Actavis, Aurobindo, Dr. Reddy's, Lannett and Sun, among many other generic

manufacturers, attended this particular dinner.

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84. At these industry dinners, one company is usually responsible for paying for all of
the attendees. For example, in a group email conversation among the competitors in December
2013, one of the participants -- a high-ranking executive for Defendant Dr. Reddy's -- joked
"[yJou guys are still buying for Mark and I, right?" The response from another executive:
"Well... . I didn't think the topic would come up so quickly but... we go in alphabetical order by
company and [a generic drug manufacturer not identified in this Complaint as a-conspirator]
picked up the last bill.... PS... .no backing out now! Its [sic] amazing how many in the group
like 18 year-old single malt scotch when they aren't buying."

85. | Some generic pharmaceutical sales representatives also get together regularly for
what they refer to as a "Girls Night Out" ("GNO"), or alternatively "Women in the Industry"
meeting or dinner. During these events, the sales representatives meet with their competitors and
discuss competitively sensitive information.

86. | Many "Women in the Industry" dinners were organized by a salesperson from
Defendant Heritage, A.S., who resides in the State of Minnesota. Other participants in these
meetings were employees of generic drug manufacturers located in Minnesota, or salespeople
residing in the area. However, out of town sales representatives were also aware of these dinners
and were included when in the area. For example, in November 2014, a salesperson from
Defendant Lannett sent A.S. a text message asking "[wjhen is your next industry women event?
I'm due for a trip out there and I'd love to plan for it if possible..." A.S. responded: "There is an
XMas [sic] party at Tanya's house on Dec 6th. Yes that is a Saturday. We do it about once a
quarter and usually it is during the week -- this was an exception.”

87. | Sometimes dinners were also planned around visits of out-of-town competitors.

As A.S, stated in organizing the dinner:

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Sorry if the meeting/dinner invite is a little short notice, but [K.N., a National

Account Representative at Defendant Dr. Reddy's] will [be] in MN on Sept 29th

and it would be a great time for everyone to get together! So much has been

happening in the industry too -- we can recap all our findings from NACDS [trade

show] over a martini or glass of wine! :) Plus the food is super Yummy!

88. Several different GNOs were held in 2015, including: (1) at the ECRM
conference in February (involving Defendants Citron, Dr. Reddy's, Heritage, Lannett and Teva,
among others); (2) in Baltimore in May (involving Defendants Citron, Dr. Reddy's, Heritage,
Teva and Zydus, among others); and (3) at the NACDS conference in August (involving
Defendants Citron, Dr. Reddy's and Heritage, among others).

5. The Overarching Conspiracy Between Generic Manufacturers —
Playing Nice In The Sandbox

89. As aresult of these communications, sales and marketing executives in the
generic pharmaceutical drug industry are aware of their competitors and their current and future
business plans. This familiarity and opportunity leads to agreements among competitors to
allocate markets to avoid price competition.

90. The overarching conspiracy among generic manufacturers, however — which ties
together all of the agreements on individual drugs identified in this Complaint — is an agreement
that each competitor is entitled to its "fair share" of the market, whether the market is a particular
generic drug, or a number of generic drugs. "Fair share" is an approximation of how much
market share each competitor is entitled to, based on the number of competitors in the particular
drug market, with a potential adjustment based on the timing of their entry. Generally speaking,
if a generic manufacturer is the first to enter a particular drug market it is entitled to a little more
than its proportional share of the market; conversely, those generic manufacturers that enter later

are typically entitled to a little less than their proportional share.

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91. There is a common understanding among generic manufacturers, including
Defendants, about what represents "fair share" in different circumstances. This collusive
methodology has evolved over time during the numerous in-person meetings, telephonic
communications and other interactions between generic manufacturers about specific drugs over
the course of several years, but general rules of the road have been in place since at least 2006.
These events occur with such great frequency that there is an almost constant ability for
Defendants to meet in person and discuss their business plans, For example, between February
20, 2013 and December 20, 2013 (a 41-week period), there were at least forty-four (44) different
tradeshows or customer conferences where the Defendants had the opportunity to meet in person.
These in-person meetings gave the Defendants the opportunity to have these conversations, and
reach these agreements, without fear of detection.

92. This overarching agreement is widespread across the generic drug industry and is
broader than the Defendants named in this Complaint. The Plaintiff States focus here on the role
of these named Defendants and their participation in and agreement with this overarching
conspiracy. This Complaint describes conspiracies regarding the sale of specific drugs, and how
these specific conspiracies are also part of the larger overarching conspiracy.

93. As described in more detail below, when necessary, the larger understanding was
reinforced through phone calls and text messages between the Defendants to discuss fair share
and the desire to maintain or raise prices with respect to specific drugs. These types of
communications occur with great frequency across the industry, including among Defendants.

94. For example, from the period of July 1, 2013 through July 30, 2014, senior sales
executives and other individuals responsible for the pricing, marketing and sales of generic drugs

at Defendant Heritage spoke to representatives of every other U.S.-based corporate Defendant by

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phone and/or text on multiple occasions. The following Table (Table 1), which is conservative
because it is based on phone and text message records from only some of the executives and
salespeople at issue,' and therefore shows only some of the phone calls and text messages
between the Defendants during that period, sheds some light on the frequency with which

Defendants communicate with each other.

Table }
Heritage phone/text communications with other Defendants (by month)
July 1, 2613 — July 30, 2014

Jul-13 to Jul-14
14 14
Actavis 2
Apotex
Ascend
Aurobindo
Citron
DRL
Glenmark
Lannett
Mayne
Mylan
Par
Sandoz
Sun
Teva
Zydus

 

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95. Similarly, senior sales executives and other individuals responsible for the
pricing, marketing and sales of generic drugs at Defendant Teva spoke by phone and/or
exchanged text messages with representatives of every other U.S.-based corporate Defendant
during the same time period. The following Table (Table 2), which is conservative because it is
based on phone and text message records from only some of the executives and salespeople at
issue, and therefore shows only some of the phone calls and text messages between Teva and the
other Defendants during that period, sheds further light on the frequency with which Defendants

communicate with each other.

 

' For example, to date, the Plaintiff States have subpoenaed and received phone records of only one employee of
Defendant Ascend, one employee of Defendant Apotex, and three employees of Defendant Sun during this time
period.

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Table 2

Teva phone/text communications with other Defendants (by month)
July 1, 2013 — July 30, 2014

Jub13 to Jub14
Nov-13 — Dec-13 14 TOT.
Actavis 11
Apotex
Ascend
Aurobindo
Citron
DRL
Glenmark
Heritage
Lannett
Mayne
Mylan
Par
Sandoz
Sun
Zydus

 

96. | Defendants actively monitor and track each others' fair share, and discuss it with

each other in the context of agreements on specific drugs, as set forth more fully below.

97. There is no precise method for apportioning each participant's "fair share”
because market share is obtained by winning the business of various customers, which is
inherently variable in a given year. The shared understanding and goal, instead, is for the
competitors in a particular market to reach out to each other with the expectation that they would
be able to reach an agreement on "fair share" based on the industry understanding. The objective
is to attain a state of equilibrium, where none are incentivized to compete for additional market
share by eroding price.

98. This scheme to minimize competition and allocate fair share is implemented in
different ways. First, Defendants allocate the market for an individual drug based on the number
of competitors and the timing of their entry so that each competitor obtains an acceptable share
of the market. Then, the competitors agree on ways to avoid competition on price and, at times,
raise price.

99. Evidence of the larger conspiracy often presents itself as follows: When a

competitor needs to obtain one or more customers to reach its fair share, a competitor with more

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than its "fair share" will identify and "walk away" from a customer or customers by informing
them of a significant price increase. The competitor looking to increase its share will then
submit a supra-competitive bid at an amount slightly less than the original competitor. The
competitors then continue to divide up customers until they reach an artificial equilibrium. This
is referred to as a "stable" market. Once the market is "stable," the competitors agree not to
compete on price and, at times, significantly raise prices in the absence of competition.

100. This understanding regarding "fair share" has been particularly effective when a
new competitor enters the market ~ a time when, in a free-functioning competitive market, prices
should go down. In today's generic drug markets, a new competitor will either approach or be
approached by the existing competitors. Existing competitors will agree to "walk away" from
specific customers until the market reaches a new artificial equilibrium. The new competitor's
transition into the market is seamless; the new entrant obtains market share and immediately
charges a supra-competitive price.

101. Decisions on "fair share" can, at times, be based on conduct that occurs between
competitors across more than one generic drug market. To maintain the artificial equilibrium,
customers in one drug market might be traded for customers in another drug market in an effort
to arrive at a more global "fair share" outcome. Alternatively, competitors might allow price
increases on one or more generic drugs without competing based on a quid pro quo from other
competitors on different drugs.

102. For example, as discussed more fully below, when Defendant Heritage was
preparing to launch a formulation of the generic drug Zoledronic Acid that was about to come off
patent, its Associate Director of National Accounts, N.O., spoke to Dr. Reddy's Vice President of

Sales and Marketing, J.A., to "see if he [was] willing to discuss strategy at all." After speaking

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with J.A., N.O. stated that "[J.A.] views it this way. If they [Dr. Reddy's] are first and others
come out after, he deserves 60%. Ifhe launches with others on day [one], he considers fair share
2-50%, 3-33%, 4-25%, etc."

103. Similarly, as discussed more fully below, Defendant Rajiv Malik, the President of
Mylan, told the CEO of Heritage that Mylan would "play fair" as Heritage entered the Doxy DR
market and agreed that Mylan would give up two large accounts to Heritage. Malik specifically
cited Heritage's prior agreement to allow Mylan to enter the market for another drug without
competition as a reason that Mylan would cede share to Heritage in this instance.

104. When a generic manufacturer complies with the scheme, and prices remain high,
it is viewed as "playing nice in the sandbox." For example, in December 2014 Defendant Teva
was approached by a customer on behalf of one of Teva's competitors. The large retail customer
indicated that Teva's competitor was entering the market for a particular drug not identified in
this Complaint and was seeking to target specific customers. The customer specifically
requested that Teva give up a specific large customer to the new entrant, and indicated that the
new entrant — Teva's competitor — "has promised to play nice in the sandbox.” After discussing
the matter internally, a Teva representative responded to the customer: "[t]ell [the competitor]
we are playing nice in the sandbox and we will let them have [the targeted customer. ]"

105. This pattern is frequently followed even in the absence of direct communication
between the competitors, demonstrating the universal understanding and code of conduct agreed
to by Defendants. "Fair share" and "playing nice in the sandbox" have become part of the
industry lexicon, and part of the larger understanding between Defendants. Defendants use these
terms not only in discussions with each other in order to reach agreement regarding allocation of

market share and pricing, but also with their customers.

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106. These rules about "fair share" apply equally to price increases. As long as
everyone in the "sandbox" is playing fair, and the manufacturers believe that they have their "fair
share," the larger understanding dictates that they will not seek to compete or take advantage of a
competitor's price increase by bidding a lower price to take that business. Doing so is viewed as
“punishing” a competitor for raising prices — which is against the rules.

107. The agreement among all of the Defendants to adhere to the rules regarding "fair
share" is critical in order to maintain high prices. If even one competitor is not aware of (and
behaving in accordance with) the larger understanding, it can lead to unwanted competition and
lower prices. In the relatively few instances where a competitor prioritizes gaining market share
over the larger understanding of maintaining "fair share", that competitor is viewed as
"irresponsible," and is spoken to by competitors.

108. In furtherance of this broader, overarching agreement, Defendants and other
generic drug manufacturers routinely communicate and share information with each other about
bids and pricing strategy. This includes forwarding bid packages received from a customer (e.g.,
a Request for Proposal or "RFP") to a competitor, either on their own initiative, at the request of
a competitor, or by contacting a competitor to request that the competitor share that information.

109. Defendants and other generic drug manufacturers also share information among
themselves regarding the terms of their contracts with customers, including pricing terms, price
protection and rebates. Defendants use this information to negotiate prices or terms that are
more favorable to them, often to the ultimate detriment of consumers.

6. Generic Drug Price Spikes Since 2013
110. Against this industry backdrop, the prices for a large number of generic

pharmaceutical drugs skyrocketed throughout at least 2013 and 2014. According to one report,

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"[t]he prices of more than 1,200 generic medications increased an average of 448 percent
between July 2013 and July 2014."

111. A January 2014 survey of 1,000 members of the National Community
Pharmacists Association ("NCPA") found that more than 75% of the pharmacists surveyed
reported higher prices on more than 25 generic drugs, with the prices spiking by 600% to 2,000%
in some cases.

112. More than $500 million of Medicaid drug reimbursement during the twelve
months ending on June 30, 2014 was for generic drugs whose prices had increased by over
100%.

B. The Illegal Schemes

1. Market Allocation Agreements to Maintain Market Share and Avoid
Price Erosion

113. When entering a generic drug market, Defendants routinely sought out their
competitors in an effort to reach agreement to allocate market share, maintain high prices and/or
avoid competing on price. These agreements had the effect of artificially maintaining high
prices for a large number of generic drugs and creating an appearance of competition where in
fact little to none existed.

114. Some examples of this illegal behavior are set forth below, organized for each
generic drug and describing examples of specific agreements as to that drug.

a. Nimodipine

i, The Heritage/Sun Agreement.

115. Nimodipine, also known by the brand name Nymalize®, is a calcium channel

blocking agent used to reduce problems caused by a bleeding blood vessel in the brain.

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116. As of June 2012, Heritage and Defendant Sun, through its division Caraco, were
the only two competitors in the market for Nimodipine. Defendant Teva had recently left the
market, and Heritage wanted to use Teva's exit as an opportunity to raise prices.

117. In June, 2012, Jason Malek, Vice President of Commercial Operations at
Heritage, asked A.S. to contact Caraco to discuss raising the price of Nimodipine. The resulting
conversations reflect an agreement between the two companies to allocate the market and avoid
competing on price, while at the same time making overt efforts to increase pricing market wide.

118. A.S, subsequently exchanged numerous text messages and participated in
telephone calls with her Caraco contact throughout June 2012.

119. On June 28, 2012, in an email titled "Caraco," A.S. summarized the state of
conversation between the companies:

[S.K., Senior Sales Manager at Sun] brought up nimo[dipine] to
her boss [G.S., President of Sun], his only concern was that they
get their fair share of the market. She was not so much help on the
pricing discussion — because she does not have much control over
it. All pricing goes through [G.S.] and [G.S.] sets it. I do not
know [G.S.] but [S.K.] mentioned our discussion with him so I can
only hope the ground work has been set. I reiterated that we would
like to see $ go up and we would be fair.

120. Malek responded: "Thanks for the info. Not sure what this means ‘his only
concern. was that they get their fair share of the market.’ They are getting their fair share of the
market at a price they don't need to go to is what I wanted to communicate to them."

121. Inher email response, A.S. agreed:

That is exactly how I stated it. to [S.K.] too! .She made it almost
seem like he did not care about the price or even this product. She
admitted she knew nothing about the item — it is not a big/key item

for them. I said it is big for us and with only two players it should
command more §,

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I'd like to see if [S.K.] can communicate back to [G.S.] about the
Nimo|[dipine] on the Cardinal RFP (when it gets closer to the close
of the RFP) — specifically mentioning the pricing we are going at
so that Caraco can bring their price up too. This could demonstrate
how communication can and should work between us to get the $

up.

122. The same day, A.S. sent an analysis of the upcoming Cardinal RFP to Malek and
others at Heritage. The notes section regarding Nimodipine reflected that Heritage should "keep
price high for Caraco.” The plan for Heritage was that it would bid at a high price, which would
be communicated to Sun beforehand, and would allow Sun to raise its price and still retain the
Cardinal business.

123. On July 20, 2012, K.F., a Contract Analyst at Heritage, circulated proposed
pricing for the Cardinal RFP which included pricing for Nimodipine that was lower than that
proposed by A.S. In an email exchange that same day, A.S. and Malek discussed raising prices:

A.S.: "My only concern is Nimodipine — and situation with Caraco
and raising our market pricing. If we don't let them increase
pricing here — will it always be a fight to the bottom with them?"

Malek: "I don't have a problem with it but, we need another
account.. Who is that account? They took CVS from us and we let
it go and now they are getting aggressive at publix and at GPO's."

A.S.: “understand — I just think the timing is critical if we want
to raise our pricing everywhere. This Cardinal RFP was
mentioned in previous conversations ~ and now with NACDS
coming — it is a perfect time to have those off-show conversations
with the right folks and reiterate the ‘plan.’ Plus the RFP pricing
will not be effective until Oct 1st - we would have time to discuss
our pricing with Cardinal (and others) before that final date. Ie: I
think we could still lowball the Nimo a little later if necessary."

Malek: "If you feel comfortable we can have those conversations
and benefit from this then [ agree. We.can talk off line.”

A.S.: "If I don't continue the conversations now (and at NACDS)

and if we lowball right of the gate on the RFP, | think we close the
door for a long time."

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Malek: "Ok, let's give it a shot. So we will increase the price, you
should tell them that so they can do the same without any comp."

124. That same day, A.S. spoke to S.K. During this and other numerous
communications over the coming weeks, by text, phone and in-person at NACDS, the two
companies reached an understanding about raising the price and avoiding competition for
Nimodipine. Pursuant to the agreement, Heritage provided a cover bid -- i.e., it raised its price
on the bid high enough so that Sun would be able to significantly raise its price and still retain
the Cardinal business.

125. Heritage and Caraco were both able to significantly raise prices to other
customers as well as a result of this agreement.

126. Only a few months later, after awarding the contract for Nimodipine to Sun,
Cardinal approached Heritage asking for a "one off bid for Nimodipine." On October 15, 2012,
the Cardinal representative explained that "We are not convinced Caraco has there [sic] supply
chain right so we are looking for a new partner and I thought I'd come to you first.”

127. A.S, immediately forwarded the request to Malek, describing it as a "gift" from
Cardinal. A.S. explained: "Please see email below... Cardinal wants a Nimo offer! I don't think
this harms our ‘understanding’ with Caraco because Cardinal is coming to us."

128. A.S. proposed that Heritage provide Cardinal with an offer consistent with price
increases it had recently taken with another wholesaler. A.S. explained that Heritage could offer
the higher price and still win the business because "I believe Caraco raised pricing on the RFP,
from discussions I had at NACDS [in August 2012]." Malek responded: "Yes, if you think that
gets us there." A.S. confirmed this understanding the next day, when she spoke to S.K. for more

than thirty-eight (38) minutes.

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129. In late 2012 and early 2013, Heritage began to hear that Sun would potentially be
subject to an FDA recall for Nimodipine relating to certain problems with manufacturing. On
December 17, 2012, Malek emailed A.S. and said "Can you reach out to your friend at caraco
and ask about nimo? Looks like they have recalls over some serious issues. Haven't heard them
coming back but need to gauge timing they will be back in the market." A.S. later confirmed
that she reached out to her contact at Sun, who was "not aware or [sic] any problems/issues and
supply was.fine.”

130. Subsequently, on April 16, 2013, A.S. reported to Malek that "Caraco has not
been bidding Nimo on recent RFPs due to lack of knowledge of when product will be available
again. Rep from Caraco says it's not discontinued; they do plan/hope to be back with it soon but
[don't] know when.”

131. Malek's first response was "Great feedback, time for next increase!" But he also
followed up with some additional instructions about a week later, expressing his willingness to
continue the agreement with Sun when it did re-enter the market: "Please feel free to tell your
friend generally what has happened in the nimo market and to make sure if/when they are back
they talk to us first so we can be smart about it.”

132. On May 23, 2013, A.S. again spoke to 8.K., who indicated that Caraco may be
returning to the market for Nimodipine in June or July. A.S. immediately reported this news to
Malek: "Caraco's Nimodipine has an estimated ship date of June/July but frankly that looks even
too hopeful. And there's a small rumor they may not come back with it. A reminder was
provided about our recent changes on that item." This resulted in the following email exchange
between the two:

Malek: "OK... Where did you hear this from!!"

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A.S.: "Vendor/friend [S.K.]"

Malek: "Are they raising theirs?"

A.S.: "They are not yet but admit it would be nice to"
Malek: "Well we would follow in one second......
A.S.: "I did say that!"

Malek: "hahahahahahaha"

133. During the next year, Caraco did not return to the market. Heritage was able to
continue charging the artificially inflated prices previously agreed to by Caraco, and at times
higher prices, as a result — knowing that if Caraco did return to the market, the original
agreement between the companies would continue.

134. This agreement between Heritage and Sun was part of an overarching conspiracy
of the corporate Defendants named in the Complaint to unreasonably restrain trade in the generic
pharmaceutical industry.

ii. The Heritage/Ascend Agreement.

135. In April of 2014, Defendant Ascend received FDA approval to begin producing
Nimodipine for sale. Malek informed Heritage employees of the approval on April 8, 2014,
instructing them to "be aware of [Ascend] coming to. the market.” That same day, Malek sent a
message to J.D., the Executive Vice President of Sales and Marketing at Ascend, through the
website LinkedIn, asking if J.D. had "time to catch up tomorrow afternoon or Thursday
morning.” J.D. responded: "I would like to catch up.”

136. On April 22, 2014, Heritage identified Nimodipine as one of eighteen different
drugs designated for a price increase. As discussed more fully below, a large majority of the

price increases were to be achieved through collusive efforts. During a "Price Increase

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Discussion" conference call with members of the Heritage sales team, led by Malek, Heritage
noted that Ascend was going to launch Nimodipine. Malek took responsibility within Heritage
to communicate with Ascend about market shares. Heritage planned to offer Ascend one-third
(1/3) market share, so that Ascend would not compete with Heritage on price.

137. Malek took this responsibility to communicate with Ascend because he already
had a relationship with J.D. The pair had previously met in February 2013. Malek had also been
communicating frequently with J.D. through the website LinkedIn in the weeks leading up to the
April 22, 2014 Price Increase Discussion.

138. Later in the day after the Heritage "Price Increase Discussion" on April 22, 2014,
Malek called J.D. and the two spoke for nineteen (19) minutes. Upon information and belief,
during this conversation they agreed on a plan where Heritage would raise its prices, Ascend
would enter the market at a high price to avoid erosion, and in exchange Heritage would walk
away from certain accounts that Ascend had targeted so that Ascend could gain market share at
favorable pricing.

139. On May 9, 2014 Heritage had another internal conference to discuss price
increases. After obtaining buy-in from Ascend during the April 22 telephone call between
Malek and J:D., Heritage confirmed that it would be raising prices of Nimodipine across the
board. Heritage also identified specific customers that it would "let go" to the "new entrant into
market,” Ascend.

140. In June 2014, Malek sought to continue his conversations with J.D. regarding
Nimodipine. He emailed J.D. on June 6, 2014 seeking to arrange a phone call. After they were
unable to connect by phone, J.D. suggested they meet in person and "grab coffee" at the NACDS

conference in Boston.

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141. At the end of June, Heritage implemented the price increase. Heritage raised the
price of Nimodipine to at least twelve customers.

142. Malek emailed J.D. on October 29, 2014, again asking to "catch up." The two
spoke by phone for ten minutes the next day. On November 4, 2014, Malek emailed J.D. to
"[lJet me know when we can re-connect to continue our discussions from the other day." Instead
of communicating specifics over email, Malek and J.D. made plans to have lunch together when
Malek returned from India.

143. Two weeks later, on November 18, 2014, Malek emailed J.D., stating: "[J.D.],
[jJust sent you a text. Fresh back from India. Wanted to pick up discussions. Let me know if
you can-chat."” On November 25, 2014, Malek emailed J.D. again asking if J.D, "had a few
minutes.to connect."

144. On January 22, 2015, Malek asked Heritage employee R.S. to reach out to Ascend
to see if Ascend had Nimodipine in its warehouse. Malek stressed that this inquiry should be
kept confidential.

145. R.S. reached someone at Ascend. By January 24, 2015, Malek was able to inform
his sales team that Ascend had Nimodipine in its warehouse.

146. By May 1, 2015, Ascend had fully launched Nimodipine. Instead of trying to
compete with Heritage upon entry, Ascend's WAC price, per tablet, was even higher than
Heritage's.

147. Notwithstanding this higher pricing per tablet, Ascend began to gain market share

throughout the second half of 2015.

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148. This agreement between Heritage and Ascend was part of an overarching
conspiracy of the corporate Defendants named in the Complaint to unreasonably restrain trade in
the generic pharmaceutical industry.

b. Zoledronic Acid

149. Zoledronic Acid, also known by the brand names Zometa® and Reclast®, is a
biophosphate drug used for treatment of certain bone diseases. Given intravenously, Zoledronic
Acid treats high blood calcium levels that may occur with cancer.

150. Heritage began selling a Smg formulation of Zoledronic Acid in the spring of
2013, when the product was first coming off patent. The brand manufacturer, Novartis, had
previously marketed two formulations of the drug: a 5mg injection called Reclast®, and a 4mg
injection called Zometa®. Heritage initially sought to launch only on the 5mg formulation.
Even before the product was officially launched, Heritage began communicating with its
potential competitors in order to divvy up the market and avoid price competition.

151. For example, on January 21, 2013, Malek sent an email to N.O., Associate
Director of National Accounts at Heritage, asking N.O. to reach out to Dr. Reddy's, the only
other competitor that Malek believed would be selling the product on the first day it could be
made available. The email read:

NO:

Would like you to have a call with [J.A., Vice President, Sales &
Marketing at Dr. Reddy's], on Zoledronic.

Right now, only us and DRL have a tentative on the Smg (reclast).

Need to know if he's going to be there day one and see if he’s
willing to.discuss strategy at all.

This is huge right now if it's only a two player market and we need
to lock in our strategy.

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The information from customers and competitors will be key in our
pricing and bidding decisions.

152. The next day, N.O. attempted to contact J.A., but J.A. was on a conference call.
N.Q, informed Malek that J.A. would call him back later that morning. Malek then outlined
exactly what he wanted N.O. to say when J.A. called him back:

Ok. Here are the questions if you would..

Are they going to be there day one (March 4)

Have they heard of any others there say [sic] one?

Are they launching the 4mg (zometa) at risk?[7]

Have they heard of anyone else launching the 4mg at risk?
What's their market share goal?

153. N.O. immediately called J.A. and they spoke for ten (10) minutes. N.O. then
reported his findings to Malek that Dr. Reddy's would be launching on day one for the 4mg
product, but that it was not yet certain about the 5mg. In response to Heritage's questions about
market share, N.O, generally described J.A.'s willingness to divide the market: "he views it this
way. If they are first and others come out after, he deserves 60%. If he launches with others on
day [one], he considers fair share 2-50%, 3-33%, 4-25% etc." Less than an hour later, J.A. called
N.O. and they spoke again for nearly nine (9) minutes.

154. N.O. spoke to J-A, again on January 24, 2013 for nearly twenty-four (24) minutes.

155. Even though he believed that Dr. Reddy's would be Heritage's only competition
for Zoledronic Acid, Malek did not take anything for granted. On January 22, 2013, Malek also

asked A.S. to reach out to several individuals, including her "friend at caraco", S.K., to see "if

 

* An "at risk" generic launch refers to a scenario where a generic manufacturer launches product sales after the
FDA has reviewed and approved its ANDA, but while patent litigation is still ongoing.

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they are launching zoledronic day one?" He provided A.S. with the same list of questions to ask
S.K. that he had provided to N.O.

156. Malek also asked A.S. to contact a large wholesaler and ask whether the
wholesaler was aware of any other manufacturers that would be entering the market for
Zoledronic Acid on "day one." Lastly, Malek asked A.S. to reach out to a representative at a
company not identified as a coconspirator in this Complaint. A.S. reached out to each of those
competitors, and confirmed that they would not be entering the market for Zoledronic Acid.

157. As the launch approached, Heritage continued to communicate with Dr. Reddy's
to refine their agreement on market share and initial pricing for Zoledronic Acid, acutely aware
that what they were doing was illegal. For example, on March 1, 2013, N.O, emailed Malek
informing him that N.O. had left J.A. a message "to have him call me back, Did not leave
anything that would incriminate me—very generic." N.O. then spoke to J.A. for almost eight (8)
minutes on March 4, 2013.

158. Atthe same time, M.E., a Senior National Account Manager at Heritage, was
communicating with his counterpart at Dr. Reddy's. M.E. called his counterpart and left a
message on March 3, 2013. Two days later, the Dr. Reddy's National Account representative
returned the call and the two spoke for fifteen (15) minutes.

159. Malek was concerned that Dr. Reddys' initial pricing to at least one customer
appeared to be lower than he hoped. On March 6, 2013, he emailed N.O. expressing this concern
and asking "[a]ny chance you can talk to them and educate them on supply and demand
economics?" N.O.'s response was "[y]es, they were working on it yesterday, but [I] will give

him.a.call-and discuss."

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160. Malek also asked M_E. to speak again with his counterpart at Dr. Reddy's about
Zoledronic Acid while they were attending a customer conference together in March 2013. They
spoke by phone twice and exchanged numerous text messages on March 12, 2013. On March
13, 2013, Malek emailed M.E. asking "Did you talk zoledronic with anyone?" M.E.'s response
was: "There were a bunch of people around us before and during dinner. After dinner I was
supposed to go gamble with him but I started talking to [a customer representative] and ended up
talking to him for an hour. By that time it was late and I went to bed." M.E. indicated that he
had called his counterpart at Dr. Reddy's and they would "talk about it soon." M.E. spoke with
his counterpart at Dr. Reddy's on April 3, 2013 and confirmed that Dr. Reddy's had just begun
shipping the Smg product that day, and would be pricing "in the 500 range." The two continued
to speak numerous times throughout the rest of that month.

161. As Heritage continued to discuss the matter internally, Malek sent a text message
to his entire sales team on April 19, 2013, reminding them to keep their discussions out of
writing: "Team: please hold off on emails regarding zoledronic indication, insert, prescribing,
etc. take all questions off line. We will have a call today with Jeff [Glazer, CEO of Heritage] to
discuss.”

162. Whenever there were challenges between Heritage and Dr. Reddy's for specific
customers, those disagreements were resolved through direct communications between the
companies. For example, in November 2013, Dr. Reddy's offered a lower price to one of
Heritage's customers. When Malek learned of this, he immediately emailed M-E., saying "When
you spoke to [your counterpart at Dr. Reddy's], weren't they going to chill on share[?]" M.E.
replied: "He told me that he was going to speak to their injectable people and let them know that

they should chill.”

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163. Despite these occasional challenges, the general agreement regarding market
share allocation between Heritage and Dr. Reddy's continued. For most of 2013 and 2014, the
market remained stable with Dr. Reddy's maintaining roughly 60 percent market share to
Heritage's 40 percent for the S5mg Reclast® formulation.

164, This agreement between Heritage and Dr. Reddy’s was part of an overarching
conspiracy of the corporate Defendants named in the Complaint to unreasonably restrain trade in

the generic pharmaceutical industry.
c. Meprobamate

165. Meprobamate, also known by the brand-names Miltown® and Equanil®, is a
generic pharmaceutical drug used to treat short-term anxiety, tension and insomnia.

166. In 2013, Heritage and Dr. Reddy's were the only manufacturers in the market for
Meprobamate. The two companies had an agreement in place to allocate market share between
them and not compete on price.

167. Heritage decided it wanted to increase price significantly. On March 21, 2013,
Malek sent an email to N.O. and M.E. titled "mepro." In the email, Malek stated "Looking to
take a price increase on this. Only other competition is DRL. We don't want. to make any waves
and we are not looking for additional share, just want to maintain what we have at a minimum of
a 4x price.. Anyone want to reach out to DRL [Dr. Reddy's] and communicate to feel out?"

168. N.O. responded: "I will try to reach out-to [J.A.]." Malek added: "[M.E.], maybe
you can touch base with your buddy too." M.E. responded: "Will do.”

169. N.O. spoke with J.A. the next day for nine (9) minutes, and the two companies
reached an agreement to raise the price of Meprobamate. N.O. confirmed the agreement in an

email that same day, stating: "DRL is on board with price increase. I will fill you in later."

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170. On March 25, 2013, Malek responded: "Great news. So if we move forward we
shouldn't expect any backlash?" N-.O. once again confirmed the agreement in his response: "No,
they were actually thinking about it as well, but lack of inventory kept them stationary. I think
they will follow suit and not pursue others if we raise."
171. Only two days later, on March 27, 2013, Heritage received a request from a large
national wholesaler for a bid on Meprobamate. Malek immediately forwarded the email to N.O.,
asking "This DRL?" In response, N.O. said "Yes, they are on a tight supply schedule, thus the
reason they have not increased pricing yet. Due to my conversation with [J.A.] the other day, I
think we should tread lightly or else bid a high price to show them where we are going."
172. Malek agreed. His response clearly reflected the agreement that existed between
Heritage and Dr. Reddy's, and Heritage's intention to abide by it:
Unless [the large national wholesaler] calls you and asks for
supply, [recommend letting the market dry up a bit and showing
DRL we stayed away from their business.
We are taking the price up asap everywhere else.

N.O. then had a four-and-a-half minute conversation with J.A. on March 29, 2013.

173. Subsequently, in April 2013, Dr. Reddy's approached Heritage to discuss its
desire to get additional market share on Meprobamate. Dr. Reddy's specifically asked Heritage
"to walk from" one large national pharmacy chain. Heritage then sent an email to the large
pharmacy chain on April 24, 2013, stating: "Hate to do this, but due to API and manufacturing

increases, we are increasing all prices of Meprobamate across the board. Please review and

contact me with any questions."

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174. In response, the large pharmacy chain responded that it had "made a business
decision to name another manufacturer as our primary supplier of Meprobamate tablets." M.E.
forwarded the email to Malek stating "We knew this was coming."

175. On May 17, 2013, after some initial confusion about exactly which business
Heritage had agreed to give up to Dr. Reddy's, Malek told M.E. "Please call [your counterpart
who was a National Accounts Director at Dr. Reddy's} and tell him we walked from this for them
but that's it.". Malek then provided M.E. with more detail to convey to Dr. Reddy's:

This is what you say.

We know you bid at [the large national pharmacy chain] and
although we had a ROFR [Right of First Refusal] we decided to
walk based on the conversation we had two weeks ago.

This makes the playing field for market share more even and I
assume since you were looking for one more customer that you are

good now.

Tell him you don't think the team is going to walk from anymore
share at this point.

176. MLE. called his counterpart at Dr. Reddy's that day and left a message. The two
subsequently spoke on May 21, 2013 for nearly seven (7) minutes.

177. Both Heritage and Dr. Reddy's were able to significantly raise prices across the
board — nearly simultaneously — as a result of this agreement. Heritage price increases became
effective in late April, 2013. Dr. Reddy's price increases became effective May 10, 2013.

178. Over the next several years, the market for Meprobamate remained very stable as
a result of the agreement between Heritage and Dr. Reddy's. Prices and profit margins for the

two companies remained very high, due to the lack of competition in the market.

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179. This agreement between Heritage and Dr. Reddy’s was part of an overarching
conspiracy of the corporate Defendants named in the Complaint to unreasonably restrain trade in

the generic pharmaceutical industry.

d. Doxy DR

i. The Heritage/Mylan Agreement.

180. Doxycycline Hyclate Delayed Release ("Doxy DR"), also known by the brand-
name Doryx®, is a tetracycline-class antimicrobial indicated as adjunctive therapy for severe
acne.

181. Heritage entered the market for Doxy DR on or about July 2, 2013. The only
other generic manufacturer selling Doxy DR at that time was Defendant Mylan.

182, Even before Heritage began selling Doxy DR, representatives of the company
began to communicate with Mylan in an effort to divide the market and refrain from competing
with each other on price. Because Mylan was the only manufacturer of Doxy DR in the generic
market at that time, pricing for the drug was still very profitable.

183. In April 2013, Malek and then-Heritage CEO Jeffrey Glazer traveled to India and
met with two executives of Heritage's parent company, Defendant Emcure, to discuss, among
other things, their plans to enter the Doxy DR market and to coordinate how Heritage and Mylan
could minimize competition between them. It was decided that Defendant Satish Mehta
("Mehta"), the CEO of Emcure, would reach out first to a high-level counterpart at Mylan,
Defendant Rajiv Malik ("Malik"), in order to facilitate subsequent communications between
Glazer and Malek and their Mylan counterparts.

184. Inearly May, Heritage employees at many levels began to reach out to their

counterparts at Mylan to discuss Doxy DR.

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185. On May 3, 2013, Malek asked N.O. to set up a call between Malek and his
counterpart, the Vice President of Sales at Mylan. The next day, N.O. provided Malek with
contact information for J.N., a Vice President and Executive Director at Mylan. Malek promptly
connected with J.N. through the website LinkedIn.

186. Similarly, on May 7, 2013, Glazer emailed Defendant Malik, President and
Executive Director at Mylan. Glazer stated: "Rajiv: Would like to schedule a time for a call to
catch up and discuss some recent Heritage news. Please let me know when you are available and
we'll pencil it in." Malik responded with a phone number where he could be reached in England,
and the two spoke the next day.

187. During that phone call, Glazer explained to Malik that Heritage had strong
business relationships with two of Mylan's Doxy DR customers — a large wholesaler and a large
retail pharmacy — and that Heritage intended to pursue Mylan's business at those two accounts.
Heritage's goal was to achieve significant market penetration — the two customers discussed
represented approximately thirty-percent (30%) of the market — without aggressive (low) pricing.

188. Malik responded that Mylan would "play fair” and agreed to give up the two
accounts to Heritage. Malik specifically cited Heritage's prior agreement to allow Mylan to enter
the market for another drug without competition as a reason that Mylan would cede share to
Heritage in this instance. The competitors understood that this agreement would allow Heritage
to gain market share without eroding the lucrative Doxy DR pricing in the market at that time.
Malik told Glazer that he would let others at Mylan know of the plan.

189. Over the coming months, Mylan gave up those two customers to Heritage in

accordance with the agreement.

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I. The Large Wholesaler Account ("Wholesaler A")

190. In June 2013, Malek met at an HDMA conference in Orlando with a senior
executive from Wholesaler A to discuss potential product opportunities, including Doxy DR.
Very shortly thereafter, Heritage submitted a detailed product proposal to the wholesaler. Over
the succeeding days, Malek reiterated the company's keen interest in entering into a supply
agreement with Wholesaler A for Doxy DR.

191. During that same period, Heritage and Mylan executives continued to discuss the
market allocation scheme. For example, on June 11, 2013, M.A., a National Account.Manager at
Mylan called N.O. and the two spoke for nearly ten (10) minutes. Immediately following that
call, N.O. called Malek to report his conversation and left him a voicemail. The two connected
fifteen (15) minutes later and spoke for seven (7) minutes.

192. On June 18, 2013, a senior manager at Wholesaler A emailed L,W., a National
Account Manager at Mylan, informing him that he had received an unsolicited bid for Doxy DR
from a new entrant. The manager asked that Mylan submit a bid to retain the business by close
of business on June 21, 2013. This process is a customary practice in the industry and is often
referred to as a "Right of First Refusal" ("ROFR"). An ROFR is often included as a term in
supply contracts between manufacturers and their customers, giving the incumbent manufacturer
the right to beat a competitor's price and retain the business.

193. In keeping with the agreement Mylan had reached with Heritage to cede
Wholesaler A's business, Mylan did not exercise its ROFR and failed to submit a counter bid to

retain the Doxy DR business at the wholesaler.

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194. On June 27, 2013, having received no bid from Mylan, Wholesaler A entered into
a distribution agreement with Heritage for Heritage to serve as Wholesaler A's primary supplier
of Doxy DR.

195. To date, Heritage has maintained the Doxy DR business at Wholesaler A without
any competition from Mylan.

II. The Large Retail Pharmacy Account ("The Pharmacy")

196. On July 8, 2013, Heritage submitted a product proposal letter to The Pharmacy
seeking to obtain its Doxy DR business. The next morning, on July 9, 2013, The Pharmacy
rejected Heritage's bid because the proposed pricing was too high.

197. On July 11, 2013, Heritage e-mailed a revised bid to The Pharmacy and lowered
its proposed pricing in a continued effort to obtain the Doxy DR business.

198. Atthe same time that Heritage was attempting to secure an agreement with The
Pharmacy, both Heritage and its parent company Emcure continued to communicate with Mylan
to keep its competitor updated on the company's efforts. In particular, Heritage wanted to make
sure that Mylan was still committed to the agreement and would cede the very important large
retail pharmacy account to Heritage if challenged. To further this effort, Defendant Mehta of
Emcure spoke to Defendant Malik of Mylan on July 18, 2013. Shortly thereafter, V.T., the
President of Corporate Development and Strategy at Emcure, emailed Glazer stating "Satish
spoke to Rajiv. Call me when free."

199. After speaking to V.T., Glazer e-mailed Malik asking whether the Mylan
President had time that day for a call. Malik responded that he could call Glazer later in the
evening. That evening, Malik called Glazer and left a voicemail. Fifteen minutes later, Glazer

called Malik back and the two spoke for 4 minutes.

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200. During the call, Glazer conveyed Heritage's strategy and position to Malik about
The Pharmacy as well as Doxy DR in general. Glazer told Malik directly that Mylan's reaction
to Heritage's bid with The Pharmacy would "set the tone of whether this is a high priced item or
more erosion.” As set forth more fully below, Mylan's reaction was to cede the business to
Heritage and avoid price erosion. After speaking to Glazer, Malik immediately spoke to certain
Mylan employees.

201. On August 6, 2013, M.A. of Mylan called N.O. and the two spoke for nearly
thirteen (13) minutes.

202. On August 15, 2013, an executive at The Pharmacy contacted G.T., a National
Account Manager at Mylan, to inform him that The Pharmacy had received an unsolicited bid for
the Doxy DR business. The executive gave Mylan a very short turnaround time to submit a
counter bid to retain the business.

203. In accordance with the agreement between Mylan and Heritage, Mylan submitted
a bid for Doxy DR but lowered its price by only $10, knowing that this price adjustment would
not be enough to retain the business.

204. Later that day, The Pharmacy contacted G.T. notifying him that Mylan's price
reduction was not enough to retain the Doxy DR business and offered Mylan a second
opportunity to lower its pricing. G.T. responded that he would let The Pharmacy know by the
next morning if Mylan intended to submit a revised bid.

205. Mylan declined to submit a revised bid to retain the Doxy DR business at The
Pharmacy. Asa result, in September 2013 The Pharmacy awarded the agreement to Heritage to

serve as the retailer's primary supplier of Doxy DR.

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206. To date, Heritage has maintained the Doxy DR business at The Pharmacy without
encountering any further competition from Mylan.

III. Other Customer Accounts

207. Even after Heritage obtained the Doxy DR business at the two former Mylan
accounts, the competitors continued to coordinate their efforts to maintain artificially high prices
for Doxy DR. In furtherance of that goal, on several occasions, Heritage walked away and/or
refrained from competing with Mylan for the Doxy DR business at other customer accounts so as
not to upset the market share understanding between the two companies.

208. For example, on November 25, 2013, after Mylan sought to protect its business
with another large account, Malek sent an email to N.O. asking "can you reach out?" N.O.
responded: "I have tried with [M.A., Director of National Accounts at Mylan].and nothing. Will
try again."

209. That same day, Malek also emailed Glazer, saying that "Mylan is trying to protect
[the one large account at issue]. We should reach out to rajiv [sic.], we need one more account
and we are done." Glazer's response made clear the purpose of the agreement with Mylan
(maintain high prices) and questioned whether Heritage should take any action that would
disrupt that agreement: "We need to look at our market share, current biz and pricing with and
without [the one large account at issue] and make a decision. You don't want them retaliating
and lowering prices at other accounts."

210. After conducting the evaluation, Heritage determined not to risk altering the Doxy
DR market-share balance between the two companies and, thus, declined to further pursue the

Doxy DR business at the large retailer.

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211. Similarly, in February 2014, a new competitor, Defendant Mayne (formerly
Midlothian Labs), entered the Doxy DR market.

212. Shortly thereafter, Heritage was solicited by a large wholesaler requesting a bid
for Doxy DR. A.S. learned from the wholesaler that Mayne had provided an unsolicited bid for
the Doxy DR business, which prompted the wholesaler to approach the incumbent supplier,
Mylan, to see if Mylan would match the price in order to retain the contract. Because the
unsolicited Mayne bid essentially re-opened the bid process, the wholesaler asked Heritage if it
would like to bid on the Doxy DR as well.

213. In discussing the issue internally, Malek conceded that Heritage had the Doxy DR
supply to fulfill the contract, but wanted "to be careful." Providing a bid would be perceived as
an attack on Mylan's business and could have resulted in retaliation. A.S, agreed, adding that
"we may want to allow Midlothian to have [the large wholesaler's business] since we have [a
different, very large wholesale account], and others, already."

214. The next day A.S. responded to the wholesaler and declined to provide a bid. The
reason A.S. gave to the customer for the inability to provide the bid was that Heritage might not
have enough supply to fulfill a contract with the wholesaler. A.S.'s explanation, however, was a
lie, because three days later, she solicited a different customer — a pharmacy chain — and asked if
Heritage could bid for that company's Doxy DR business, saying "we have the opportunity to
add another customer."

215. Finally, in August 2014, Heritage refused to bid for the Doxy DR business on an
RFP issued by yet another Mylan customer. After deciding against submitting a proposal, Malek
sent an internal email to N.O. titled "doxy dr." In the email Malek stated "[fJeel free to let your

contact at mylan know we are not bidding on the rfp... ."

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216. Asaresult of Heritage's unlawful agreement with Mylan, pricing for Doxy DR
has been substantially higher than it would have been in a competitive market.

217. This agreement between Heritage, Emcure and Mylan was part of an overarching
conspiracy of the corporate Defendants named in the Complaint to unreasonably restrain trade in
the generic pharmaceutical industry.

ii. The Heritage/Mayne Agreement

218. Defendant Mayne entered the market for Doxy DR in or about February 2014.
Even before launching the product, Mayne approached Heritage to discuss its plans. For
example, on January 7, 2014, G.S., a Director of National Accounts at Mayne, spoke by phone
with A.S., a National Accounts Manager at Heritage, for 12 minutes.

219. Asaresult of that conversation, Mayne's initial strategy was to avoid bidding on
Heritage customers and to instead target Mylan, which at the time had roughly 60% of the Doxy
DR market. That strategy was not entirely successful, however. In an internal Mayne email
discussion on February 21, 2014, after learning from a wholesaler that Mylan had retained its
business with that wholesaler, C.S., Executive Vice President of Generic Products at Mayne,
gave G.S. his understanding of the situation based on his experience in the industry: "How I read
this is Mylan has given up several large customers to Heritage and they are not giving any more.
We need to go after business at Heritage also." G.S. replied "Perhaps. .. .”

220. G.S. continued to communicate with A.S. about Doxy DR. They spoke by phone
on March 13, 2014 and again four days later on March 17, 2014 for 17 minutes. Later that day,
in an email to Malek and others at Heritage entitled "Midlothian intel on Doxy DR," A:S.
recounted their latest conversation, as well as her current understanding with G.S.:

I just spoke with [G.S.] of Midlothian (Mayne Pharma) about
Doxy DR. She is the "one-man".show for that company -- she has

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all accounts including GPOs. She has not been able to get much
share on the product yet, so she says,

She did not bid OneStop, we have that customer.

She did not bid Optisource, we have that customer, and she was
aware that Rick had no interest in switching.

She has been shut down at WalMart (Walmart said they couldn't
go back to Mylan to reduce price again after we bid); and she was
shut down at Rite Aid, Cardinal and ABC -- stating Mylan does
not seem to want to give up any share. I shared info that we chose
not to bid at Cardinal when asked.

She will be bidding it on the HD Smith RFP.
She will be targeting M&D now. She may go after NC Mutual but
the usage is very small there.
She already has some GPO business and they already have Publix
and WinnDixie business. (Important for tracking reports).
They are no where near a contract with WAG yet so she feels like
that is not an option.
She is feeling pressure from the Mayne Pharma folks to get some
share on this product asap. I let her know what accounts we had
locked up -- and I got the impression she would not target those
folks.
221. Malek responded: "[t]hanks for the notes below.. How well do you know
[G.S.]?" A.S.'s response was "I know her pretty well from over the years in the industry.”
222. Only two weeks later, however, Heritage learned that Mayne had made an
unsolicited bid for Doxy DR to one of Heritage's large retail pharmacy accounts. On March 31,
2014, Malek emailed A.S. stating that Mayne "[t]ook a shot at our doxy dr [at the large
pharmacy account].. Can you reach out?" A.S. responded: "Yes - J can."
223. The next day, on April 1, 2014, A.S. spoke with G.S. for 27 minutes.
Immediately thereafter, A.S. sent a text message to Malek stating "[s]poke with [G.S.] of
Midlothian. Said she had to go to [the large pharmacy customer]. Just got declined at

Walgreens and went back a second time to cardinal and got declined again." Malek responded

that Heritage "can't walk from [the large pharmacy customer]. Tell her to try Walmart."

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224. GS. called A.S. again the next day and they spoke for 11 minutes. Malek also
emailed the CEO Glazer, stating "[w]e are going to have to take doxy dr 30% lower at [the large
pharmacy customer]. They don't pick up the phone for less than 20% difference. In this case, we
spoke with Midlothian and they have struck out completely on getting share. They have gone to
wag [Walgreens] and cah [Cardinal Health] twice and mylan won't budge. Please let me know
your thoughts."

225. A.S. and G.S. spoke again on April 9, 2014 for 3 minutes. A.S. then reported the
conversation to Malek and N.O.: "Just got a call from [G.S.] at Midlothian and she said she has
offers in to [McKesson] One Stop and Econdisc."

226. The next day, A.S. and G.S. exchanged a series of text messages:

(1:14pm) A.S.: "Hil It is [A.S.]! Just getting back to you on our
discussion yesterday. I don't have either account but my boss said
since we are strategically aligned with both they will probably not
move. We will protect. Sorry — I know it is not the news you
wanted to hear.”

(1:16pm) G.S.: "Thanks. Had he given up CVS we would not have
gone after the other two. We'll just keep going back as soon as we
can.”

(1:18pm) A.S.: "lam bummed for you. I am keeping my ears
open to understand the landscape too. I will let you know what I
find out. Best bets are the RFPs that are out now."

(1:19pm) G.S.: "Need volume. Need one Large account.”

227. Mayne continued to look for a large account over the next several months.
Heritage did walk away from one account in May, 2014 when Mayne underbid Heritage's price.

Upon learning of the unsolicited bid from Mayne, K.F., Associate Director of Pricing and

Contracts at Heritage, asked Malek, "[l]Jet me know what you want me to do on this. Would like

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to keep, but at the same time, Midlothian will keep going after accounts." To that, Malek
responded, "[w]e will walk."

228. In November 2014, Mayne again put in offers to McKesson One Stop and
Econdisc. On November 20, 2014, M-E. sent an email to Malek and others at Heritage stating
"Midlothian has taken another shot at our business on the Doxy 150mg at Econdisc and we have
to respond to this in a timely manner."

229. The next morning, A.S. sent a text message to G.S. stating "Happy Friday! Do
you have a minute to talk about Econdisc?" G.S. responded, "Yes. Call me." A:S. then called
G.S. and the two spoke for 15 minutes.

230. A.S.'s notes reflect that when they spoke, she asked G.S. what her goals were with
respect to Doxy DR. G.S. responded that Mayne was looking for market share; she told A.S, that
Mayne had to get a "big customer like Econdisc." G.S. told A.S. that she had also submitted an
offer to McKesson 10 days ago. A.S. floated the idea that Heritage may be willing to walk from
Econdisc if Mayne would agree not to price Doxy DR aggressively, and if Mayne would also
agree to withdraw its offer to McKesson.

231. Immediately after speaking with G.S., A.S. sent an email to Malek with a subject
line "spoke with [G.S.}" and stating "[c]an discuss any time."

232. After conveying to Malek what she had discussed with G.S., A.S. and G.S.
exchanged several voicemails and text messages over the course of the day.

233. Later in the afternoon on November 21, 2014, N.O. sent an email to Malek and
others at Heritage, stating "Midlothian coming after us @ McKesson. Will discuss with you on
Monday." Malek immediately forwarded the email to A.S. who responded, "[G.S.] and I played

phone tag after I had spoken to you for the second time so we will definitely connect Monday."

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234. On November 24, 2014, A.S. and G.S. connected by phone and spoke for six (6)
minutes. After speaking with G.S., A.S. emailed Malek stating "Just spoke with her ... can you
call me anytime?" Within a half hour, after speaking with Malek, A.S. made a formal offer to
G.S. by text message: "If you retract McK[esson] - we will give up Econ[disc]. I can talk
anytime."

235. The next day, November 25, 2014, Malek emailed A.S. asking "[d]id you speak
with [G.S.]?" A.S, responded "Yes -- told her exactly what we talked about. She is on vacation
this week but was going to try to rescind McKesson. .. ." Malek ended the conversation by
saying "[s}ounds like we know what we need to do."

236. In internal email communications in the weeks following this agreement, Heritage
CEO Glazer confirmed that Heritage was "walking away from one [customer] so pricing would
stabilize" and that Heritage "wanted to give Midlothian market share so they stop eroding" the
price for Doxy DR.

237. A.S. and G.S. continued to communicate throughout December 2014, by text
message and even in person at the American Society of Health-System Pharmacists ("ASHP")
conference on December 9, 2014.

238. When Econdisc put the Doxy DR business out to bid again in January 2015,
Heritage made sure that it bid a higher price than Mayne (a "cover bid"), which fulfilled
Heritage's end of the agreement by "walking" from Econdisc. As one Heritage employee
described it in March 2015, "[w]e basically walked from Doxy DR" at Econdisc.

239. This anticompetitive agreement between Heritage and Mayne continued until at
least December, 2015, and the effects were felt for much longer. For example, in September,

2015, Heritage was approached by a large nationwide pharmacy chain requesting a bid on Doxy

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DR. AS., initially excited about the opportunity, confirmed internally that Heritage had the
capacity to bid. Malek cautioned, however, that "[w]e need to know why this is out to bid and
find out who the incumbent is" before providing a response.

240. After finding out that the incumbent supplier was Mayne, A.S. reached out to G.S.
by text message. G.S. confirmed that Mayne had no supply issues and that the pharmacy chain
was simply shopping for a better price. In accordance with their agreement not to compete with
each other and avoid price erosion, Heritage refused to provide a bid. That same day, A.S. sent
another text message to G.S. reiterating Heritage's intent to abide by the agreement, stating:
"Confirming we are not bidding." G.S. responded: "Thank you."

241. Asaresult of Heritage's unlawful agreement with Mayne, pricing for Doxy DR
has been substantially higher than it would have been in a competitive market.

242. This agreement between Heritage and Mayne was part of an overarching
conspiracy of the corporate Defendants named in the Complaint to unreasonably restrain trade in
the generic pharmaceutical industry.

2. Agreements to Fix Prices

243. In addition to reaching agreements with competitors to allocate markets for a
number of different generic drugs, Defendants routinely and as part of their regular course of
business, sought and obtained agreements with competitors to fix and raise prices.

244. This was often done by "socializing" a competitor to a price increase. This
process involved a generic manufacturer reaching out to its competitors to first raise the
possibility of a price increase, and then getting an assurance from the competitors of a
willingness or agreement to engage in a price increase of some sort — or an assurance that the

competitor would cooperate and not seek to take advantage of the manufacturer's price increase

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by bidding to take that manufacturer's customers. Such an agreement would allow each
competitor to maintain its market share and avoid competition despite the price increases.

245. Often, a generic manufacturer would identify a potentially larger group of drugs
for which it would like to increase prices, and then seek to socialize its competitors to obtain
illegal agreements allowing that company to raise prices for as many of those drugs as possible
without the threat of competition.

a. Doxycycline Monohydrate (2013)

246. Doxycycline Monohydrate ("Doxy Mono"), also known by the brand names
Acticlate® and Monodox®, among others, is an oral medication used to treat a wide variety of
bacterial infections, including those that cause acne. Doxy Mono is known as a tetracycline
antibiotic, and is also used to prevent malaria.

247. In February 2013, Heritage heard from a customer that there would be a
significant increase in demand for Doxy Mono due to a large price increase that had recently
occurred with a different form of Doxycycline as well as supply problems that certain
manufacturers were experiencing.

248. Shortly thereafter, Heritage decided to increase the price it charged for Doxy
Mono. Heritage's competitors at that time were Defendants Lannett, Mylan and Par. In order to
ensure a successful increase, Heritage began reaching out to certain competitors.

249, On March 7, 2013, A.S. spoke to T.S., the Director of National Accounts at
Lannett, for fourteen (14) minutes.

250. On March 13, 2013, A.S. sent an email to T.S. at Lannett stating: "Hi [T.S.]! 1

just had a question for you‘on Doxycycline Monohydrate. Would you have a chance to chat

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today? Or tomorrow? Let me know a convenient time for you..." They spoke later the same
day for five (5) minutes and discussed Heritage's intent to increase Doxy Mono prices.

251. On March 17, 2013, Malek created a spreadsheet, which he then forwarded to
himself by email, which included various items on which he wanted to follow up. Included was
areference for "Price Increases: Take Doxy Mono up more than 3x asap." On March 21, 2013,
Malek emailed Glazer expressing his intention to increase the price for Doxy Mono by as much
as four (4) times the current price, and asking for Glazer's thoughts.

252. On March 25, 2013, T.S. sent an email to her boss, the Vice President of Sales at
Lannett, titled "Recap." In that email, she indicated that she was "[wJorking ona WAC & SWP
review" for certain drugs, including Doxy Mono, but had heard that "there will be a price
increase on Doxycycline from Heritage soon, We are waiting to find out when and why.” T.S.
continued to communicate with A.S. about Doxy Mono, through numerous phone conversations,
text messages and in-person meetings over the next several months.

253. Also on March 25, 2013, Malek sent an email to his sales team indicating that
Heritage would be "taking a price increase in the market this week" for Doxy Mono and another
drug.

254. Heritage kept in contact with its Doxy Mono competitors throughout 2013. A.S.,
in particular, spoke, texted and met in person with several different Lannett employees over the
period. She called T.S. on April 25, 2013 and left a message. T.S. returned the call the next day
and they spoke for more than eight (8) minutes. They spoke again on May 13, 2013 for almost

six (6) minutes.

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255. The next day, A.S. and T.S. attended a conference together, where they again
discussed Doxy Mono. During the day on May 14, 2013, they exchanged the following text
messages:

A.S.: "Meeting in parking lot at Cardinal at 5:45 to carpool over.
Can meet you at Cardinal then or at the bar? Should be to bara

little after 6.”

T.S.: “Thave a conference call-ina half hour about a market wide
increase, I might have to meet you at the bar."

A.S.: "Ok sounds good — see u there”
A.S.: "Is it doxy mono?"
T.S.: "Headed over now."

256. Similarly, on June 4, 2013, A.S. called and texted with G.W., a Director of
National Accounts at Lannett. On June 5, 2013, while at a conference with T.S:, A.S. and T:S.
exchanged numerous calls and text messages.

257, Lannett increased its pricing for Doxy Mono effective June 12, 2013. When it
was asked by one customer in July 2013 whether Lannett could provide a lower price for Doxy
Mono, a Lannett National Account Manager stated: "We just took a price increase on this item
effective 6/12/13. This is our standard pricing across the board going forward. Any pricing you
see out there right now will not be that low for long."

258. During this same time period, the four competitors selling Doxy Mono were all
communicating frequently. For example, the day before Lannett raised its price — June 11, 2013
—N.O. of Heritage spoke to M.A. of Mylan for nearly ten (10) minutes. T.S. of Lannett was also
communicating with K.O., the Vice President of National Accounts at Par, during this time
period. The two were friends who frequently saw each other and spoke in person at trade shows

and customer conferences. K.O., in turn, was in frequent communication with M.A. of Mylan

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during June and July 2013, speaking numerous times, including several calls on June 7, 2013 and
June 13, 2013 — the day after Lannett raised its prices for Doxy Mono. K.O, was also in frequent
communication with G.W. at Lannett, exchanging nine (9) text messages on June 11 and 12,
2013.

259. Heritage was slower to raise its prices for Doxy Mono, due to supply problems
throughout 2013. But A.S. continued to keep in frequent communication with Lannett and other
competitors. She met in person with T.S. and K.O. from Par during a conference in Arizona on
August | and 2, 2013. This was followed by a flurry of communications between the four
competitors in August 2013.

260. Atsome point thereafter, as Heritage was evaluating its planned price increase,
Malek asked A.S. to obtain specifics regarding Lannett's price increase for Doxy Mono. That
resulted in the following text message exchange between A.S. and T.S. on August 12, 2013, after
they had again met in person together at a conference:

A.S.: "From our conversation, [i]ncreasing WAC too?"

T.S. "Yes"

A.S.: "When are you guys changing WAC or have u already?”
T.S.: “Are you free at 4:30?"

A.S.: "Yes—but still need to hang around for 5pm mtg”

T.S.: "OK T'll swing by"

261. The next day, August 13, 2013, while still together at the conference, A.S. texted
T.S. saying "Let's connect sometime today—need a little more specifics on the $ we discussed.”

That same day, A.S. also exchanged several text messages and phone calls with L.C., another

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National Accounts Representative at Lannett. G.W. of Lannett also sent a text message to K.O.
of Par.

262. Later that evening, the Senior Vice President of Generic Sales at Par sent an
internal email to the Vice President of Marketing and Business Analytics, stating: "I hear that
Lannett is taking a price increase on doxy mono and Heritage will follow." The email was
forwarded internally at Par with the instruction: "FYT...we will follow. ..... No new opps until
we see where pricing ends up."

263. One week later, on August 20, 2013, A.S. confirmed via email to Malek that
Lannett had "tripled WACs and did/will do similar to contract prices."

264. In October, A.S. informed a customer that "[w]e are expecting continued supply
issues with" Doxy Mono and that "supply will be tight through Oct and Nov."

265. On January 23, 2014, A.S. informed a large supermarket chain customer that "I
also wanted to let you [know] that we are looking to take a price increase on all the Doxy
Monohydrate skus some time in 2014."

266. As of March 2014, Heritage increased its price to at least one customer, with an
eye toward a much larger, across-the-board increase on Doxy Mono (as well as other drugs) later
in 2014, which is discussed more fully below.

267. This agreement between Heritage, Lannett, Par and Mylan was part of an
overarching conspiracy of the corporate Defendants named in the Complaint to unreasonably

restrain trade in the generic pharmaceutical industry.

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b. Heritage 2014 Price Increases

268. On April 22, 2014, Heritage held a "Price Increase Discussion" teleconference.
Present on the teleconference were members of the Heritage sales team as well as Malek. Malek
ran the call, and dictated the strategy for Heritage.

269. During the teleconference, Malek identified eighteen (18) different drugs that
Heritage would target for price increases. Prior to the call, Malek had circulated to his sales
team a spreadsheet which listed each drug, the competitors for each and their respective market
shares. The list included Acetazolamide ER, Carisoprodol ASA, Cidofovir, Doxy Mono (which
was slated for a "big price increase"), Fosinopril-HCI/HCTZ, Glipizide-Metformin HCI,
Glyburide, Glyburide-Metformin HCI, Leflunomide, Meprobamate, Methimazole, Nimodipine,
Nystatin, Paromomycin, Theophylline ER and Verapamil HCI, among others. In order to
accomplish the price increases, Malek instructed members of the sales team to immediately reach
out to their contacts at each competitor for the drugs on the list, and attempt to reach agreement
on the price increases. Different Heritage employees were identified as being primarily,
although not exclusively, responsible for communicating with different competitors.

270. Malek had been working on the price increases for weeks before holding this
meeting with his sales team. He held a meeting with K.F, and D.L. of Heritage during the week
of April 14, 2014 and asked them to begin analyzing the impact of the planned price increases.

271. Malek also began communicating with competitors even before he instructed his
sales team to start doing so during the April 22, 2014 price increase discussion. He was
responsible for communicating with Teva, which was a competitor on seven (7) of the drugs on
the list: Acetazolamide, Glipizide-Metformin, Glyburide, Glyburide-Metformin, Leflunomide,

Nystatin and Theophylline. Malek had a direct relationship with N.P., Teva's Director of

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Strategic Customer Marketing. He called her on April 15, 2014 and they had a seventeen (17)
minute phone conversation during which N.P. agreed that if Heritage increased prices for the
drugs on the list, Teva would follow or, at a minimum, would not challenge Heritage's price
increases by underbidding Heritage.

272. For two of the drugs — Nystatin and Theophylline ER — Teva had already been
planning a price increase and Malek and N.P. agreed that Teva would take the lead on those
increases.

273. Inthe next few months after April 2014, Malek spoke to N.P. several more times,
and Malek kept N.P. informed with more details about when Heritage would be increasing prices
for those drugs.

274, Malek was also responsible for communicating with Defendant Ascend — who, as
detailed above, was a new entrant in the market for Nimodipine — and offering Ascend a one-
third (1/3) share of the market in exchange for not competing on price. Malek reached out to
J.D., the Executive Vice President of Sales and Marketing at Ascend, through LinkedIn earlier in
April after learning that Ascend had received approval to sell Nimodipine, and they exchanged
several messages. Malek called J.D. on April 22, after the Heritage Price Increase Discussion,
and they spoke for nineteen (19) minutes. Upon information and belief, during this conversation
they agreed on a plan where Heritage would raise its prices, Ascend would enter the market at a
high price to avoid erosion, and in exchange Heritage would walk away from certain accounts
that Ascend had targeted so that Ascend could gain market share at favorable pricing.

275. In response to Malek's directive, the Heritage sales team started contacting their
competitors immediately. A.S., for example, communicated with three counterparts at different

competitors shortly after the call, reaching agreements with all of them to raise prices. First, she

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spoke to S.K. at Caraco for forty-five (45) minutes, and they agreed to increase prices for
Nystatin and Paromomycin. She then spoke to M.D., a National Account: Manager at Actavis,
for more than nine (9) minutes and they agreed to increase prices for Glyburide-Metformin HCI
and Verapamil. Last, she spoke to T.S. at Lannett for nearly twenty-nine (29) minutes, during
which they agreed to raise prices of Doxy Mono.

276. Similarly, N.O. was able to reach an agreement the next day with his counterpart
at Mylan to raise prices on at least 3 different drugs: Doxycycline Monohydrate, Glipizide-
Metformin and Verapamil. As he stated to Malek and A:S. in an email titled "Mylan," dated
April 23, 2014: "Just let me know a day before we price adjust on the three Mylan products and
they will put the word out to the reps to leave us alone. They are looking at price increases as
well on a number of products." N.O. had spoken to M.A., a Director of National Accounts at
Mylan, shortly before sending the email.

277. Over the coming days and weeks, both Malek and Glazer pushed other Heritage
employees to communicate with their competitors and obtain agreements to raise prices. On
April 28, 2014, Malek sent an email to Heritage employee D.L., titled "bindo", referring to
Defendant Aurobindo. In the email Malek stated "Let me know when you speak with [P.M., the
Senior Director of Commercial Operations at Aurobindo.]" On the list of 18 generic drugs
identified for price increases, D.L. had been charged with the responsibility for communicating
about the drug Fosinopril/Hydrochlorothiazide ("Fosi/HCTZ"), of which Aurobindo was a
competitor. Aurobindo was also a competitor with Heritage for the drugs Glyburide and
Glyburide-Metformin. D.L. exchanged several voicemails with P.M. on April 28 and 29, 2014,

but they were unable to connect.

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278. The next day, Glazer followed up with an email to D.L. titled "Aurobindo",
stating "JM wanted me to ask you if we are all set so we can implement pricing?" D.L.
responded saying "[w]e have been playing phone tag. I have reached someone internally but
would like to get it up the ladder." One day later, Malek followed up with D.L. again, asking
"[a]ny contact?"

279. D.L. was finally able to connect with P.M. on May 8, 2014 for a sixteen (16)
minute phone call. They also spoke on June 25, 2014 for eighteen (18) minutes, and again on
July 7, 2014 for three-and-a-half minutes.

280. In an email exchange between A.S. and Malek on May 6 and 7, 2014, Malek
explained that he had been able to successfully obtain agreements to raise the price of the drug
Acetazolamide. Malek had previously asked A.S. to hold off on a price reduction request on
Acetazolamide from a large GPO customer. Malek told her "[w]e have buy in from all to go
up..." and that Heritage would not agree to reduce its price. As Malek stated: "We are going to
pass [on reducing the price] and most likely are taking an increase within the next week."

281. On May 8, 2014, Malek sent an email to N.O, asking "Did you ever to [sic] with
[M.B.] at Par?” Par was a competitor with Heritage for two of the drugs on the target list: Doxy
Mono and Methimazole. N.O. was identified as a Heritage employee primarily responsible for
communicating on both of those drugs. N.O. and M.B. were finally able to communicate by
phone on June 2, 2014.

282. Also on May 8, 2014, Malek sent an email to the Heritage sales team, stating:

Two weeks back we had a teleconference regarding 13 [sic]
products where the pricing dynamics may change.

We each had takeaways, can everyone confirm or not who they
have/not spoken with since our call?

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Need to move forward with the plan asap.

283. M.E. responded immediately: "Spoke with everyone and waiting in [sic]
feedback on Mepro[bamate]." M.E. had been tasked with communicating with Defendant Dr.
Reddy's about Meprobamate and also with Defendant Apotex regarding Leflunomide. He had
initially exchanged 6 text messages with his counterpart at Dr. Reddy's, J.A., on April 24, 2014,
and then the two spoke briefly on May 6, 2014.

284. A.S. responded with a similar message: "Jason: I made contact with all my take
aways -- with positive results. I can resend those notes or talk with you on any details." A.S.
had been tasked with communicating with Defendants Lannett (a competitor for Doxy Mono),
Actavis (Glyburide/Metformin and Verapamil) and Sun (Nystatin and Paromomycin), among
others.

285. K.B., an Associate Director of Institutional Sales at Heritage, also replied that she
had spoken with two different Mylan individuals about the drug Cidofovir:

I spoke with my friend who is NA [National Accounts] at Mylan
and just alluded to the fact that we may take a price increase on
Cidofovir and he said I have no control over these types of things
... 80.1 told him to just be on the lookout. for it and convey to his
internal people that we had taken an increase ... he said they would
most likely follow. I also talked to one of the Regional Reps at the
HCP. show and mentioned it to him ... he said if it's not already on
our 'to do list’ it will be.

286. On May 9, 2014, Heritage had another teleconference to discuss the price
increases for the 18 targeted drugs. During this teleconference, the Heritage sales team shared
their results in seeking agreement from competitors to raise prices on the various drugs.

287. The following week, A.S. met in person and discussed the price increase

strategies with a number of different competitors at the MMCAP conference. During that

conference she was able to personally reach and/or confirm agreements with at least Defendants

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Aurobindo (Fosinopril/HCTZ, Glyburide and Glyburide/Metformin), Sandoz (Carisoprodol and
Fosi-HCTZ) and Lannett (Doxy Mono), among other competitors. She advised Malek of her
success via email on May 15, 2014:

Hi Jason: At the MMCAP meeting yesterday, spoke with some

other industry reps and found similar like minding on the pricing

strategies we discussed. Overall, spoke with Aurobindo ([{T.G.]),

Sandoz ([C.B.]), Perrigo ({P.H.]) (Colistimethate), Xgen ({B.P.])

(Colistimethate), and Lannett ([T.S.]).... I will try to meet with

the Teva rep, L.P., today. Supposedly, Midlothian is here too --

but I have not seen G.S. yet...

288. On June 3, 2014, while at another customer conference, A.S. met in-person for
dinner and drinks with two of Heritage's competitors on Doxy Mono — K.O. of Par and T.S. of
Lannett — as well as other competitors including C.B., a Director of National Accounts at
Sandoz.

289. On June 23, 2014, Heritage employees had a "Price Change Call", to discuss the
specific percentage amounts by which they would seek to increase the pricing of certain drugs,
including drugs for which they had already obtained agreement from all competitors (or potential
future competitors), and the strategies for doing so. Included on the list were: Acetazolamide
(75% increase); Paromomycin (100% increase); Glyburide (200% increase); Nimodipine (48%
increase); Theophylline (150% increase); and Nystatin (95% increase). It was discussed on the
call that those six increases alone would amount to an additional $16 million in profit per year
for Heritage, assuming no loss in market share.

290. Malek continued to push Heritage employees to discuss the planned price
increases with competitors, and he continued to do the same. On June 25, 2014, Malek spoke

with N.P. at Teva for nearly fourteen (14) minutes and informed N.P. that Heritage would be

increasing prices for a number of drugs sold by Teva shortly.

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291. On June 26, 2014, A.S. sent a text message to a contact at a large wholesaler
customer stating that "As of 7/1, [mJarket wide we are increasing prices on: Paromomycin,
Nimodipine, Acetazolamide ER, Fosi/HCTZ, Glip/Met, Glyburide and Theophylline ER, You
will see only the Paro and Nimo increases—you have those letters." Moments later, she
followed up with another text message: "Here are the approximate/average $ increases on the
other items: Acetazolamide 75% increase, Fosi/HCTZ 200%, Glip/Met 100%, Glyburide 200%,
Theo ER... 150%."

292. On July 1, 2014, Malek sent an email to the Heritage sales team titled "update -
price increase." The email read:

Team:

Looks like you are making good traction with our July | price
increase.

Going forward, send.a summary to [K.F.] and me at each cob of
who is not yet signed with a status and plan.

Please send each day until further notice or until all or [sic]
accounted for.

Any questions please call me directly.

293. Over the next several weeks, Heritage employees continued to reach out to their
competitors to obtain additional agreements to raise prices. Ultimately, Heritage was able to
increase prices on at least nine (9) of the drugs: Acetazolamide ER; Fosi/HCTZ; Glipizide-
Metformin; Glyburide; Leflunomide; Nimodipine; Nystatin; and Paromomycin.

294. Examples are set forth below.

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i. Acetazolamide

295. Acetazolamide ER, also known by the brand name Diamox®, among others, is an
extended-release version of a medication used to treat glaucoma, epilepsy, altitude sickness,
periodic paralysis, and heart failure.

296. Heritage's main competitor for Acetazolamide was Teva. As of April 2014,
Heritage and Teva combined for approximately 78% of the market. The only other competitor in
the market was Zydus.

297. Jason Malek was responsible for obtaining Teva's agreement to the price
increases. Malek spoke with N.P., his contact at Teva, on April 15, 2014 for more than
seventeen (17) minutes, and they discussed Heritage's intention to raise the price of
Acetazolamide and other drugs. During that phone call, N.P. agreed that if Heritage did raise the
price of Acetazolamide (and/or the other drugs), Teva would follow with its own price increase
or, at least, would not challenge Heritage's price increases by seeking to underbid and take
Heritage's accounts. Malek and N.P. spoke several more times over the next several months and
confirmed the agreement to raise prices, and Malek updated N.P. on the progress of the Heritage
increases.

298. The day after Malek spoke to N.P. — April 16, 2014 —N.P. called K.G., the Senior
Director of National Accounts at Zydus, and the two spoke for nearly twenty (20) minutes. K.G.
called N.P. back a day later and they spoke again for nearly twelve (12) minutes. N.P. and K.G.
continued to communicate frequently over the next several months, Other Teva and Zydus
employees were also in close communication. For example, J.P., an Associate Director of
National Accounts at Teva, exchanged numerous text messages with K.R., the Vice President of

Sales at Zydus, on May 14, 2014.

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299. For Heritage, Malek was also responsible for communicating with Zydus. On
April 24, 2014, he contacted K.R., the Vice President of Sales at Zydus through the website
LinkedIn, saying: "Hi Kristy, I hope this email finds you doing well. I wanted to see if you have
a few minutes to chat. Let me know when you are free." K.R. responded later that day: "Hi
Jason — I'm out in Arizona. I can give you a call tomorrow afternoon or call me anytime."

300. By May 7, 2014, Malek confirmed to A.S. that Heritage had already obtained
"buy in from all to go up" on Acetazolamide pricing, which A.S. referred to as "one of our
strategic items," and expressed an intention to raise prices within the next week.

301. During this time period Heritage also avoided bidding on any potential customers
to which Zydus was already supplying Acetazolamide, in order to maintain market share among
the competitors.

302. On June 23, 2014, Heritage had a "Price Change Call," during which Malek and
members of the Heritage sales team discussed an intention to raise prices for Acetazolamide by
75%.

303. Three days later, on June 26, 2014, Heritage began sending out price increase
notices to its customers of Acetazolamide. That same day, A.S. sent a text message to her
contact at a large wholesaler customer informing her that Heritage would be increasing prices on
Acetazolamide ER and a number of other drugs "market wide.” She informed her contact that
Acetazolamide prices would be increasing by 75%.

304. By July 9, 2014, Heritage was able to raise Acetazolamide prices to at least 17

different customers nationwide.

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305. This agreement between Heritage, Teva and Zydus was part of an overarching
conspiracy of the corporate Defendants named in the Complaint to unreasonably restrain trade in
the generic pharmaceutical industry.

tii Fosi-HCTZ

306. Fosinopril-Hydrochlorothiazide ("Fosi- HCTZ"), also known by the brand name
Monopril HCT®, is a combination medicine used to treat hypertension.

307. Asof April 2014, Heritage had a 47% market share for Fosi-HCTZ. At the time,
Heritage’s main competitors for that drug were Aurobindo, Sandoz and Glenmark.

308. On May 2, 2014, M.E. of Heritage was able to connect with J.B., the Vice
President of Sales and Marketing at Glenmark, through the website LinkedIN.

309. D.L. of Heritage was tasked with primary responsibility for communicating with
Aurobindo about Fosi-HCTZ price increases. After several attempts, he spoke by phone with
P.M. at Aurobindo on May 8, 2014 for sixteen (16) minutes. The same day, P.M. called the
Executive Vice President of Generics at Glenmark, J.G., and they spoke for more than fourteen
(14) minutes. The next day, May 9, 2014, I.G. of Aurobindo spoke with J.J., the Director of
Sales and Marketing at Glenmark, for more than nine (9) minutes.

310. Also on May 9, 2014, Heritage held another internal call about "Price Increases.”
Fosi-HCTZ was again on the list of drugs slated for a price increase.

311. Less than a week later, A.S. spoke to representatives from both Aurobindo and
Sandoz about the Heritage “price increase strategies," for Fosi- HTCZ and other drugs, during an
MMCAP conference in Minnesota. In particular, she spoke to T.G., the Director of National

Sales at Aurobindo, and C.B., a National Accounts Executive at Sandoz. After meeting in

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person with both competitors on May 14, 2014, A.S. reported to Malek that she had found
"similar like minding on the pricing strategies we discussed."

312. The next day, May 15, 2014, T.G. of Aurobindo and C.B. of Sandoz spoke by
phone and texted multiple times.

313. Also on May 15, 2014, Heritage received notification from a large pharmacy
customer that Aurobindo had recently provided a lower bid for Fosi-HCTZ. In discussing
internally whether Heritage should reduce its price to retain the business, A.S. recommended that
Heritage "walk" from Fosi-HCTZ with this particular customer because, based on her
conversation one day prior with T.G., Aurobindo was on board with the price increase strategy.
A.S. explained that "[t]he Fosi/HCTZ has some other pricing strategies at work —I spoke with a
rep from Aurobindo yesterday and moving forward there should be better synergies; this bid was
from earlier this year before new strategies were discussed."

314. On May 21, 2014, A.S. exchanged text messages with C.B. of Sandoz, confirming
that she had his correct cell phone number.

315. On June 3, 2014, A.S. again exchanged text messages with C.B. and invited him
to meet with her and a group of friends and competitors for drinks at the Sandbar Restaurant
while at an HDMA conference in Phoenix, AZ.

316. These approaches by Heritage to Aurobindo and Sandoz sparked a flurry of
communications between T.G. of Aurobindo and his counterparts at both Sandoz and Glenmark.
In a one-week period between June 3, 2014 and June 10, 2014, T.G. had three (3) phone calls
with C.B. at Sandoz, and five (5) phone calls and multiple text messages with J.J. of Glenmark.

Other than one phone call with J.J. on August 26, 2014, T.G. did not text or speak with either of

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them again by phone until April 8, 2015. On June 16, 2014, J.G. of Glenmark called P.M. at
Aurobindo and they spoke for more than twenty-two (22) minutes.

317. D.L. of Heritage also spoke again with P.M. of Aurobindo on June 25, 2014 for
eighteen (18) minutes, and on July 7, 2014 for three-and-a-half minutes.

318. Also on June 25, 2014, A.S. texted her friend K.A; of Citron, inquiring whether
Citron would be entering the market for Glyburide. During that text message exchange, A.S.
learned that Citron was also entering the market for Fosi-HCTZ in addition to Glyburide. A.S.
informed K.A. of Heritage's plan to increase pricing on Fosi-HCTZ, and that Aurobindo was a
competitor for that drug.

319. On June 26, 2014, A.S. informed her contact at a large wholesaler customer that
Heritage's prices would be going up for Fosi-HCTZ market wide by 200% as of July 1, 2014.

320. Shortly after this text message exchange, on July 1, 2014, K.S., the Executive
Vice President of Sales & Marketing at Citron, called D.L. at Heritage, informing him that she
had been "looped" in on Heritage's plan. They spoke for nearly thirteen (13) minutes.
According to A.S.'s notes, K.S. told D.L. that Heritage employees should not try to communicate
with Citron through email. She also told D.L. that A.S. should not communicate through K.A.,
but should instead call L.S., Vice President of Sales at Citron, if she had sensitive information to
convey about Fosi-HCTZ or the other price increase drugs.

321. The next day, July 2, 2014, L.S. of Citron called A.S. and they spoke for nearly
twenty-two (22) minutes. They continued to speak frequently through July and August 2014
about Fosi-HCTZ and other drugs.

322. D.L. of Heritage also spoke directly with J.G. at Glenmark on July 18, 2014 for

nearly twenty-three (23) minutes, and on July 30, 2014 for more than five (5) minutes.

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323. Citron also communicated directly with Aurobindo. On July 28, 2014, L.S. of
Citron called and texted P.M. at Aurobindo several times until they were finally able to speak by
phone later that day for more than twenty-four (24) minutes. These were the first and only
communications ever between the two by phone or text.

324. Heritage began sending out Price Increase Notices to its customers for Fosi-
HCTZ on June 26, 2014. The next day, P.M. of Aurobindo and J.G. of Glenmark spoke twice,
with one call lasting almost eighteen (18) minutes. They continued to speak with some
frequency over the next several months.

325. By July 9, 2014, Heritage had successfully been able to increase prices to at least
18 different customers nationwide for Fosi-HCTZ. That same day, Citron confirmed internally
that Heritage had increased its WAC prices for Fosi- HCTZ and two other drugs, and that it
(Citron) was trying to match those price increases.

326. On July 14, 2014, K.S. of Citron spoke with J.G. of Glenmark twice — once for
seven (7) minutes and again shortly after for more than thirteen (13) minutes. The next day,
Citron increased its pricing for Fosi-HCTZ to be in line with the price increases adopted by
Heritage.

327. Sandoz also increased its pricing for Fosi-HCTZ. By early January of 2015,
Sandoz was charging twice as much for Fosi-HCTZ as it had been one year before.

328. This agreement between Heritage, Aurobindo, Citron, Glenmark and Sandoz was
part of an overarching conspiracy of the corporate Defendants named in the Complaint to

unreasonably restrain trade in the generic pharmaceutical industry.

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iii.  Glipizide-Metformin

329. Glipizide-Metformin ("Glip-Met"), also known by the brand name Metaglip®, is
a combination medicine used to treat high blood sugar levels that are caused by a type of
diabetes mellitus or sugar diabetes called type 2 diabetes.

330. As of April 2014, Heritage’s only two competitors for Glip-Met were Defendants
Teva and Mylan.

331. Jason Malek was responsible for communicating with Teva about Glip-Met price
increases. Malek spoke with N.P., his contact at Teva, on April 15, 2014 for more than
seventeen (17) minutes, and they discussed Heritage's intention to raise the price of Glip-Met and
other drugs. During that phone call, N.P. agreed that if Heritage did raise the price of Glip-Met
(and/or the other drugs), Teva would follow with its own price increase or, at least, would not
challenge Heritage's price increases by seeking to underbid and take Heritage's accounts. Malek
and N.P. spoke several more times over the next several months and confirmed the agreement,
and Malek updated N.P. on the progress of the Heritage increases.

332. N.O. was primarily responsible for communicating with Mylan about Glip-Met.
N.Q. spoke to M.A. of Mylan on April 23, 2014 and reached an agreement to raise prices for
Glip-Met and two other drugs. Shortly after speaking to M.A., N.O. sent an email to Malek and
AS. titled "Mylan," stating: "Just let me know a day before we price adjust on the three Mylan
products and they will put the word out to the reps to leave us alone. They are looking at price
increases as well on.a number of products."

333. Teva and Mylan were also in frequent communication during this time period.

For example, J.N., Vice President of Sales at Mylan, spoke with D.R., a National Accounts

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Director at Teva, multiple times on May 9, 2014, including one call that lasted more than seven
(7) minutes. The two continued to stay in close contact throughout the rest of 2014.

334. On May 9, 2014, Heritage held another internal call about "Price Increases."
Glip-Met was again on the list of drugs slated for a price increase.

335. On June 26, 2014, A.S. informed her contact at a large wholesaler customer that
prices would be going up for Glip-Met market wide by 100% as of July 1, 2014. Heritage began
sending out Price Increase Notices to its customers for Glip-Met the same day.

336. By July 9, 2014, Heritage had successfully been able to increase prices
nationwide to at least 27 different customers for Glip-Met.

337. As promised, neither Teva nor Mylan significantly challenged Heritage on its
price increases. Teva, in fact, increased its bid prices to potential customers, and by November
of 2014, K.F. reported to Malek internally that "a majority" of the Heritage price increases for
Glip-Met "had stuck up to [that] point."

338. This agreement between Heritage, Mylan and Teva was part of an overarching
conspiracy of the corporate Defendants named in the Complaint to unreasonably restrain trade in
the generic pharmaceutical industry.

iv. Glyburide

339. Glyburide is an oral diabetes medication used to treat Type 2 diabetes. Also
known by the brand names DiaBeta® or Micronaise®, it is used to control blood sugar levels.

340. As of April 2014, Heritage's only two competitors for Glyburide were Teva and
Aurobindo.

341. Jason Malek was responsible for communicating with Teva regarding Glyburide

price increases. Malek spoke with N.P., his contact at Teva, on April 15, 2014 for more than

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seventeen (17) minutes, and they discussed Heritage's intention to raise the price of Glyburide
and other drugs. During that phone call, N.P. agreed that if Heritage did raise the price of
Glyburide (and/or the other drugs), Teva would follow with its own price increase or, at least,
would not challenge Heritage's price increases by seeking to underbid and take Heritage's
accounts. Malek and N.P. spoke several more times over the next several months and confirmed
the agreement to raise prices, and Malek updated N.P. on the progress of the Heritage increases.

342. Several different Heritage employees were also able to successfully communicate
with their counterparts at Aurobindo and reach agreements to raise the price of Glyburide.

343. For example, on May 8, 2014, D.L. of Heritage spoke by phone with P.M. of
Aurobindo for sixteen (16) minutes.

344, On May 9, 2014, Heritage held another internal call about "Price Increases."
Glyburide was again on the list of drugs slated for a price increase.

345. Less than a week later, A.S. spoke to T.G. from Aurobindo about the Heritage
"price increase strategies" for Glyburide and other drugs, during an MMCAP conference in
Minnesota. After meeting with the Aurobindo representative on May 14, 2014, A.S, reported to
Malek that T.G. had expressed "similar like minding on the pricing strategies we discussed."

346. On June 23, 2014, Heritage employees held a "Price Change Call," where they
discussed the specific percentage amounts by which they would seek to increase certain drugs,
and the strategies for doing so. Among those included on the list was Glyburide, which was
slated for a 200% increase.

347. Around this time Heritage also learned that there may be a new entrant in the

Glyburide market. On June 25, 2014, A.S. texted her friend K.A., a Corporate Account

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Specialist at Citron. A.S. wanted to determine whether Citron would be selling Glyburide in the
near future:

A.S.: "Work question: is Citron launching Glyburide anytime
soon?"

K.A.: "Yes we currently have the product in our warehouse."

A.S.: "We are raising the price right now -- just letting you know.
Teva says they will follow."

A.S.: "Aurobindo agrees too.”

K.A.: "2"

K.A.: "You have micronaise brand equivalent."
K.A.: "And are you also raising your wacs?"

A.S.: "Sorry -- was on conference call.. Ours is Micronase? Is
yours Micro or Diabeta?"

K.A.: "Micro"

A.S.: "I don't think we changing WAC - verifying now"

K.A.: "Okay i talked to [K.S., Executive Vice President, Sales &

Marketing at Citron] we are def in to raise pricing... are doing this
immediately, i know she was mentioning teva can take a while to

raise prices”

A.S.: "Teva is slow but conversations have been good."

A.S.: "No change to WAC for us”

A.S.: "We are raising our customers 200%. over current market
price"

K.A.: "Okay ill make sure. the appropriate people find out"
A.S.: "Teva has 66% of mkt- great target for share! By [sic] [t]hey

should play fair. Aurobindo and us each have about 18% share.
Good luck!"

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K.A.: "Thanks! Is this something you will be doing like this
week?"

A.S.: "Letters going out this week! A lot of customers have 30
day notices and price protection so real price will be felt in 30+

days"

K.A.: "Perfect makes sense... Your not doing anything with
glyb/met pricing right?"

A.S.: "Not yet- but is on a short list!”

A.S.: "Glyburide and Fosi/HCTZ are increasing too- those are
Aurobindo items too"

K.A.: "Okay yeah we have that too.... Thanks for the info!"

348. Shortly after this text message exchange, A.S. reported to the Heritage sales team,
in an email titled "Citron: Glyburide", that "Citron is launching soon — product is in their
warehouse now. They have our version — rated to Micronase. They are on board —
communication is good." Ina reply the next day, N.O. cautioned that "[t]hey will still need to
get some market share. May keep away initially, but we need to be prepared to lose some."

349. On June 26, 2014, A.S. informed her contact at a large wholesaler customer that
Heritage's prices would be going up for Glyburide market wide by 200% as of July 1, 2014.

350. On July 1, 2014, KS. of Citron, called D.L. at Heritage, confirming Citron's
agreement to raise prices and informing him that she had been "looped" in on Heritage's plan.
They spoke for nearly thirteen (13) minutes. According to A.S.'s notes, K.S. told D.L. that
Heritage employees should not try to communicate with Citron through email. She also told
D.L. that A.S. should not communicate through K.A., but should instead call L.S., Vice President
of Sales at Citron, if she had sensitive information to convey about Glyburide or the other price

increase drugs.

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351. The next day, July 2, 2014, L.S. of Citron called A.S. and they spoke for nearly
twenty-two (22) minutes. They continued to speak frequently through July and August 2014
about Glyburide and other drugs.

352. After reaching agreement with competitors Aurobindo, Citron and Teva to raise
prices for Glyburide, Heritage began implementing the price increases. Price Increase Notices
were sent out to customers beginning on June 26, 2014. By July 9, 2014, Heritage had been able
to successfully increase prices for Glyburide to at least seventeen (17) different customers.

353. The unlawful agreement resulted in specific price increases to customers who sold
Glyburide to customers nationwide. For example, on July 9, 2014, Teva was contacted by a
large national retail chain requesting a bid on both Glyburide and Nystatin, due to the Heritage
price increases. The request was forwarded to N.P., with the questions: "Are you aware of the
below? Should we engage?"

354. N.P. responded by reiterating her understanding of the agreement between
Heritage and Teva on the two drugs at issue: "I am aware. Heritage is likely following Teva on
the Nystatin. They are likely leading Glyburide Micronase. Per our conversation, please enter in
Delphi for tracking purposes, but we will not be bidding. Thanks."

355. By July 9, 2014, Teva had also increased its WAC pricing on Glyburide. On July
15, 2014, Citron increased its WAC and AWP pricing for Glyburide to be in line with the price
increases adopted by Heritage.

356. After Heritage raised its price to one large wholesaler in July 2014, that
wholesaler solicited bids from both Teva and Aurobindo in an effort to obtain lower pricing. On

July 25, 2014, for example, the large wholesaler sent an email to N.P. at Teva indicating that

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there had been a "change in market dynamics" for Glyburide and certain other drugs and
requesting a bid. The same day, the wholesaler sent an identical email to T.G. at Aurobindo.

357. This sparked immediate communication between the competitors as they tried to
ensure uniformity and compliance with the scheme. For example, on July 25, 2014, Malek sent a
text message to N.O. with the following direction: "Tell [T.G. at Aurobindo] to stay away from
[the wholesaler]." N.O. then called T.G. and they spoke for more than thirteen (13) minutes.
During that call N.O. conveyed the direction that Aurobindo should not provide a bid to the
wholesaler. After conveying this message, N.O. responded to Malek's text message simply:
"Done."

358. Malek also called N.P. at Teva the same day and they spoke for more than fifteen
(15) minutes.

359. After speaking with Heritage, both Teva and Aurobindo declined to provide a bid
to the wholesaler.

360. By mid-July, Teva also added Glyburide to its list of potential customer price
increase items for the third quarter of 2014 and began to evaluate its own price increases.

361. As Citron entered the market in July 2014, it set a target of less than 10% market
share. During this time and over the next several months it remained in frequent contact with
Heritage to discuss Glyburide pricing, bidding strategies, and how Citron might be able to
acquire additional market share without eroding the price increases.

362. Citron also communicated directly with Aurobindo. On July 28, 2014, L.S. of
Citron called and texted P.M. at Aurobindo several times until they were finally able to speak by
phone for more than twenty-four (24) minutes, These were the first and only communications

ever between the two by phone or text.

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363. This anticompetitive agreement to avoid competition and unlawfully increase
prices for Glyburide continued until at least December 2015, and the effects continue to this day.

364. This agreement between Heritage, Teva, Aurobindo and Citron was part of an
overarching conspiracy of the corporate Defendants named in the Complaint to unreasonably

restrain trade in the generic pharmaceutical industry.
v.  Glyburide-Metformin

365. Glyburide-Metformin, also known by the brand name Glucovance®, is an oral
medication used to treat Type 2 diabetes.

366. Asof April 2014, Heritage's competitors in the market for Glyburide-Metformin
were Teva, Aurobindo and Actavis. Heritage had only 5% market share at that time, but
nonetheless wanted to raise prices.

367. Jason Malek was responsible for communicating with Teva regarding Glyburide-
Metformin price increases. Malek spoke with N.P., his contact at Teva, on April 15, 2014 for
more than seventeen (17) minutes, and they discussed Heritage's intention to raise the price of
Glyburide-Metformin and other drugs. During that phone call, N.P. agreed that if Heritage did
raise the price of Glyburide-Metformin (and/or the other drugs), Teva would follow with its own
price increase or, at least, would not challenge Heritage's price increases by seeking to underbid
and take Heritage's accounts. Malek and N.P. spoke several more times over the next several
months and confirmed the agreement to raise prices, and Malek updated N.P. on the progress of
the Heritage increases.

368. A.S. was responsible for communicating with Defendant Actavis about
Glyburide-Metformin and one other drug. On April 22, 2014, shortly after the initial Heritage

"Price Increase Discussion,” A.S. called M.D., Director of National Accounts at Actavis, and

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they spoke for more than nine (9) minutes. Upon information and belief, during that call A.S.
and M.D. reached an agreement to raise the price of Glyburide-Metformin and the other drug,
Verapamil.

369. M.D. conveyed the message internally to the sales and pricing team at Actavis
that Heritage was looking to take a price increase on Glyburide-Metformin and the other drug.
Immediately after speaking to A.S., M.D. called two different Senior Pricing Managers at
Actavis, J.R, and C.K. The information spread quickly throughout the sales and pricing teams at
Actavis. In an internal email dated April 28, 2014 regarding potential price increases for a list of
different drugs, an Actavis pricing manager added: "[M.D.] made mention of keeping an eye out
for an increase on Glyburide/Met and Verapamil IR."

370. Only a few days later, on May 1, 2014, M.F., the Vice President of Marketing,
Pricing and Contracts at Actavis, who had also received the April 28 email discussed above,
called D.R. at Teva, and they spoke for five (5) minutes. They spoke three more times on May 6,
2014, with one of the calls lasting fifteen (15) minutes, and continued to communicate frequently
over the next several months.

371. Several different Heritage employees were also able to successfully communicate
with their counterparts at Aurobindo and reach agreements to raise the price of Glyburide-
Metformin.

372. For example, on May 8, 2014, D.L. of Heritage spoke by phone with P.M. of
Aurobindo for sixteen (16) minutes. Similarly, on May 14, 2014, A.S. spoke in person with T.G.
at Aurobindo, and reported that she had "found similar like minding on the pricing strategies we

discussed."

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373. On May 8, 2014, Malek also emailed the Heritage sales team asking them to
confirm which competitors they had each been able to obtain agreements from in order to move
forward with price increases discussed during the April 22, 2014 conference call. A.S.
responded: "Jason: I made contact with all my take aways — with positive results. I can resend
those notes or talk with you on any details."

374. On May 9, 2014, Heritage held another internal call about "Price Increases."
Glyburide-Metformin was still on the list of drugs slated for a price increase.

375. On May 12, 2014, M.F. of Actavis spoke twice with the CEO of Aurobindo, B.C,
Between May 19 and May 22, 2014, M.F. also exchanged thirty (30) text messages with D.R. of
Teva.

376. Through at least June 2014, Heritage still planned to increase prices for
Glyburide-Metformin. On June 25, 2014, A.S, had a text message exchange with K.A. at Citron
about raising prices for Glyburide. After K.A. had agreed to raise prices on Glyburide, she asked
A.S. "Your [sic] not doing anything with glyb/met pricing right?" To which A.S. responded:
"Not yet- but is ona short list!" Although Citron had approval to sell Glyburide-Metformin, it
was not actively selling the drug and had zero market share throughout this time period.

377. Although Heritage did not increase customer prices for Glyburide-Metformin in
July 2014, like it did for many other drugs, it did increase its WAC prices. In an internal Citron
email dated July 9, 2014, K.S. of Citron noted that both Heritage and Teva had increased their
WAC pricing on 3 different drugs, including Glyburide-Metformin. In that same internal
conversation, a Citron employee involved in pricing reiterated the company's intent to "match

their price increases."

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378. On August 20, 2014, A.S. exchanged text messages with S.K. at Sun. During this
text message exchange, A.S. described agreements that Heritage had reached with Actavis to
increase prices of both Glyburide/Metformin and Verapamil:

S.K.: "Have you heard anything about an Actavis price increase”

A.S.: "I heard they were on board with it. What item
specifically?"

S.K.: "I don't know. Iam just hearing about an increase but no
details. What product have you heard about”

A.S.: "We were communicating on Glyburide/Metformin and
Verapamil"

379. This agreement between Heritage, Teva, Aurobindo and Actavis was part of an
overarching conspiracy of the corporate Defendants named in the Complaint to unreasonably

restrain trade in the generic pharmaceutical industry.
vi. Leflunomide

380. Leflunomide, also known by the brand name Arava®, is an immunosuppressive
disease-modifying antirheumatic drug used to treat active moderate-to-severe rheumatoid
arthritis and psoriatic arthritis.

381. Asof April 2014, Heritage was a dominant player in the market for Leflunomide,
holding a 61% share. Its main competitors at that time were Defendants Apotex and Teva.

382. Jason Malek was responsible for communicating with Teva about Leflunomide
price increases. Malek spoke with N.P., his contact at Teva, on April 15, 2014 for more than
seventeen (17) minutes, and they discussed Heritage's intention to raise the price of Leflunomide
and other drugs. During that phone call, N.P. agreed that if Heritage did raise the price of
Leflunomide (and/or the other drugs), Teva would follow with its own price increase or, at least,

would not challenge Heritage's price increases by seeking to underbid and take Heritage's

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accounts. Malek and N.P. spoke several more times over the next several months and confirmed
the agreement to raise prices, and Malek updated N.P. on the progress of the Heritage increases.

383. M.E. was responsible for communicating with Defendant Apotex about
Leflunomide. On May 2, 2014, M.E. placed his first-ever phone call to D.V., a Sales Manager at
Apotex. They spoke for more than thirteen (13) minutes.

384. On May 6, 2014, A.S. sent an email to Malek about several topics, one of which
was Leflunomide. Heritage had recently learned that Teva might be leaving the market for
Leflunomide. A.S. commented that "the Teva discontinuation of Leflunomide has everyone in a
fuss! Wow — can we take more share???" Malek responded that, with regard to Leflunomide,
"we may give some to apotex and follow our strategy we discussed. Will have clarity by
tomorrow."

385. That same day, M.E. had two (2) more phone calls with D.V. Shortly after those
calls M.E. also sent an email to Malek, noting that Apotex "has taken another shot at our
Leflunomide .. . 1 am waiting for a callback from the VP of Apotex before we do anything.”
Malek replied to M.E.'s email and confirmed the strategy he mentioned to A.S., telling M.E.
"Let's walk from leflunomide." B.H., the Vice President of Sales at Apotex, then called M.E.
and left a voicemail. M.E. returned her call and they spoke for more than nine (9) minutes,
followed by another call shortly after that for almost eight (8) minutes. M.E. and B.H. followed
up those phone conversations with two more the next day, May 7, 2014. Upon information and
belief, during these conversations Heritage and Apotex agreed to avoid competition and increase
prices on Leflunomide.

386. On May 8, 2014, Malek sent an email to the Heritage sales team asking each of

them to confirm which competitors they had been able to speak to because Heritage needed "to

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move forward with the plan asap." M.E. responded immediately that he had spoken "with
everyone" and he was only waiting for feedback from one competitor with regard to the drug
Meprobamate.

387. On May 9, 2014, Heritage held another internal call about "Price Increases."
Leflunomide was still on the list of drugs slated for a price increase. On May 27, 2014, Heritage
learned that Apotex took a price increase on Leflunomide. When M.E. passed this information
along to Malek, Malek confirmed that "we are going to increase."

388. Heritage began sending out Price Increase Notices to its customers for
Leflunomide in late June. By July 9, 2014, Heritage had been able to successfully increase
prices to at least fifteen different customers nationwide.

389. Teva began to exit the market for Leflunomide in or around July 2014, and
therefore did not ultimately raise its price, despite its initial agreement to follow the Heritage
price increase.

390. This agreement between Heritage, Teva and Apotex was part of an overarching
conspiracy of the corporate Defendants named in the Complaint to unreasonably restrain trade in
the generic pharmaceutical industry.

vil. Nystatin

391. Nystatin, also known by the brand name Mycostatin®, among others, is a
medication used to fight fungal infections.

392. In 2013 and 2014, Heritage's two main competitors for Nystatin were Teva and
Sun, through its division Mutual Pharmaceuticals ("Mutual").

393. Communications between Heritage, Teva and Mutual/Sun about Nystatin

preceded Heritage's "Price Increase Discussion" in April 2014.

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394. IJnor about June 2013, Teva began to consider raising its price of Nystatin.
Defendant Sun, through its division Mutual, had increased Nystatin prices on April 15, 2013.
When it was suggested internally to N.P. in June 2013 that Teva might want to add Nystatin to
its current list of price increase items, N.P. initially responded negatively.

395. N.P. began speaking to Malek shortly thereafter. On July 9, 2013, N.P. called
Malek and they spoke for more than twenty-one (21) minutes. This was the first call between
N.P. and Malek since N.P. had been hired by Teva in April 2013 to "run the pricing team." They
spoke again on July 23, 2013 for nearly ten (10) minutes, and twice on July 30, 2013 with the
second of those two calls lasting more than twelve (12) minutes. In the short time between
Malek's two July 30 calls with N.P. of Teva, A.S. of Heritage also spoke to $.K. of Sun/Mutual
for nearly eleven (11) minutes.

396. Heritage and Mutual/Sun were in close contact, both before and after Mutual took
the Nystatin price increase in April 2013. In fact, the day after Mutual increased its price for
Nystatin — April 16, 2013 —S.K. of Sun called A.S. and they spoke for nearly forty (40) minutes.
They continued to communicate regularly throughout the summer of 2013.

397. By late July 2013, Nystatin appeared on a list of potential "Price Increase
Candidates," at Teva, created by N.P., with the following comments: "Heritage involved; follow
Mutual."

398. After these conversations with Teva and Mutual/Sun, Heritage also began
exploring a price increase for Nystatin. On August 1, 2013, Malek sent an internal email to
N.O., M.E. and A.S. stating: "Team: Pricing dynamics may be changing for us for Nystatin.
Please advise when Mutual/URL/ (now Caraco) took their Nystatin price increase and if they

kept it." On August 20, 2013, Malek sent an email titled "PRICE INCREASES" to K.-F. at

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Heritage, with a copy to Glazer, stating "KF: We need [to] analyze the following product price
increases and understand how much to increase and which customers to extend." Malek
provided a list of four drugs, one of which was Nystatin.

399. N.P. went on maternity leave from August 12, 2013 through the end of that year,
and the decision to raise Nystatin prices was temporarily put on hold at both Teva and Heritage.
But shortly after her return from maternity leave, N.P. and Malek began communicating again.
N.P. called Malek on February 4, 2014 and left a message. Malek returned her call the next day,
and they spoke for more than one hour. This was the first communication between the two since
N.P. went on maternity leave.

400. On February 7, 2014, N.P. created a spreadsheet titled "PI Candidates". That
spreadsheet included Nystatin and Theophylline as candidates for price increases. With regard to
Nystatin, the spreadsheet included the comments "Shared with Heritage and Mutual/Caraco" and
"WAC increase likely.”

401. Malek and N.P. had a series of several phone calls in February and March 2014.
By April 2014, Teva decided to increase prices for both Nystatin and Theophylline — and
Heritage planned to follow those price increases to match Teva.

402. Teva began implementing the price increases for Nystatin with an effective date
of April 4, 2014, doubling the WAC price from $47.06 to $100.30.

403. By the time that Heritage held its "Price Increase Discussion" on April 22, 2014,
it already had its agreement with Teva in place with respect to Nystatin and Theophylline, and

Teva had already taken the lead on implementing the price increases.

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404. A.S. was responsible for communicating with Defendant Sun about Nystatin. On
April 22, 2014, shortly after the initial Heritage "Price Increase Discussion,” A.S. called S.K.,
her counterpart at Sun, and spoke for more than forty-five (45) minutes.

405. After this call, A.S. immediately sent an email to Glazer and Malek titled
"Conference call follow up." She reported her agreement with S.K. to her supervisors: "Caraco
notified and on board." Glazer immediately replied: "No emails please."

406. On May 9, 2014, Heritage held another call regarding "Price Increases." Nystatin
was again on the list of drugs slated for a price increase.

407. On June 23, 2014, Heritage employees held a "Price Change Call," where they
discussed the specific percentage amounts they would seek to increase certain drugs, and the
strategies for doing so. Nystatin was included on the list and was slated for a 95% increase. In
her notes about the call, K.B., Associate Director, International Sales at Heritage, indicated that
Heritage had to increase its WAC pricing for Nystatin, because Teva had "increased WAC
already."

408. On June 25, 2014, Heritage held one last call regarding "Product Price Changes”
before those changes were to be implemented. Nystatin was again on the list of drugs slated for
a price increase.

409. While she was still on the Heritage "Product Price Changes" conference call on
June 25, 2014, A.S. exchanged text messages with her contact at competitor Sun, S.K., to let her
know the details of the anticipated price increase:

A.S.: "Work news: we are raising price on Nystatin. Just letting
you know. :)"

S.K.: "How much"

A.S.: "Double the price"

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A.S.: "On conf call- will call you back"
S.K.: "Yes"

410, Malek also spoke with N.P. the same day for nearly fourteen (14) minutes.
During that call, Malek reported that Heritage would be sending out Price Increase Notices the
next day for Nystatin and several of the other drugs that Heritage and Teva had agreed to raise
prices on.

411. Heritage began sending out Price Increase Notices to its customers for Nystatin
the next day. By July 9, 2014, Heritage had been able to successfully increase prices to at least
fourteen different customers nationwide.

412. In addition to leading the price increases, Teva also refused to bid or challenge the
Heritage price increases when requested by Heritage customers. For example, on July 8, 2014 a
large retail customer sent an email to a Teva representative requesting a quote for Nystatin given
a price increase from its current supplier. The Teva representative forwarded that email to N.P.,
asking "Are you aware of the below? Should we engage?" N.P. responded that she was aware,
and that Heritage would be "following Teva on the Nystatin" and "leading Glyburide." She
concluded that "we will not be bidding. Thanks."

413. By atleast August of 2014, exact dates unknown, Sun also had begun
implementing price increases on Nystatin.

414. This agreement between Heritage, Teva and Sun was part of an overarching
conspiracy of the corporate Defendants named in the Complaint to unreasonably restrain trade in

the generic pharmaceutical industry.

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vill. Paromomycin

415. Paromomycin, also known by the brand names Humatin®, Catenulin® and
others, is a broad spectrum oral capsule antibiotic used to treat amoeba infection in the intestines
and complications of liver disease.

416. In April 2014, Heritage had approximately 65% market share for Paromomycin.
Heritage's only competitor at the time was Defendant Sun, through its division Caraco.

417. A.S. was responsible for communicating with Defendant Sun about
Paromomycin. On April 22, 2014, shortly after the initial Heritage "Price Increase Discussion,"
A.S. called S.K., her counterpart at Sun, and they spoke for more than forty-five (45) minutes.

418. After this call, A.S. immediately sent an email to Glazer and Malek titled
"Conference call follow up." In that email she advised that "Caraco notified and.on board."
Glazer immediately responded: "No emails please."

419. On May 8, 2014, Malek emailed the Heritage sales team asking them to confirm
which competitors they had each been able to obtain agreements from in order to move forward
with the price increases discussed during the April 22, 2014 conference. A.S. responded:
"Jason: | made contact with all my take aways — with positive results. I can resend those notes or
talk with you on any details."

420. On May 9, 2014, Heritage held another conference call regarding "Price
Increases." Paromomycin was again on the list of drugs targeted for a price increase.

421. On May 20, 2014, A.S. spoke again to S.K. for more than twelve (12) minutes.
During that call, S.K. informed A.S. that Sun would be "temporarily discontinuing" production

of Paromomycin due to a need to transfer its manufacturing operations to another facility. A.S.

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immediately informed Malek of the news, and he responded: "Need price increase to go
immediately. Jack it up.”

422. Sun continued to sell Paromomycin inventory through at least January 2015,
maintaining a market share of almost 40% during that time. Heritage nonetheless felt
comfortable raising its prices for Paromomycin knowing that an agreement was already in place
with Sun.

423. On June 23, 2014, Heritage employees held a "Price Change Call," where they
discussed the specific percentage amounts they would seek to increase certain drugs, and the
strategies for doing so. Among those included on the list was Paromomycin, which at that time
was slated for a 100% increase.

424, On June 25, 2014, Heritage held one last call regarding "Product Price Changes"
before the price increases were to be implemented. Paromomycin was again on the list of drugs
slated for a price increase.

425. Heritage began sending out Price Increase Notices to its customers for
Paromomycin the next day. By July 9, 2014, Heritage had been able to successfully increase
prices to at least thirteen (13) different customers nationwide.

426. This agreement between Heritage and Sun was part of an overarching conspiracy
of the corporate Defendants named in the Complaint to unreasonably restrain trade in the generic

pharmaceutical industry.
ix. Theophylline ER

427. Theophylline ER, also known by the brand name Theodur®, is a medication used

to treat asthma and airway narrowing associated with long-term asthma or other lung problems,

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such as chronic bronchitis and emphysema. Theophylline ER is an extended release medication,
which means that it is released into the body throughout the day.

428. In 2014, Heritage's primary competitor for Theophylline ER was Teva.

429. Teva began to consider raising the price of Theophylline ER in early 2014. N.P.
called Malek on February 4, 2014 and left a message. Malek returned her call the next day, and
they spoke for more than one hour. This was the first communication between the two since
before N.P. went on maternity leave in August 2013.

430. On February 7, 2014, N.P. created a spreadsheet titled "PI Candidates". That
spreadsheet included Theophylline as a candidate for a price increase.

431. Malek and N-P. had a series of phone calls in February and March 2014. By
April 2014, Teva had decided to increase prices for Theophylline, and Heritage had planned to
follow the price increases to match Teva.

432. Teva began implementing the price increases across the board for Theophylline
with an effective date of April 4, 2014.

433. Shortly after implementing the price increases, on April 24, 2014, Teva received
the following email from a consumer of Theophylline, with the subject line "PLIVA.com [Info]
Price Gouging":

I have been a consultant to virtually every major pharma company
including Teva and Pliva (before it was acquired and located in E.
Hanover). Since retiring I have been asked to participate with a
US Senate Special Committee on the issue of pharmaceutical price
gouging in the U.S.A. Today, I acquired my usual Rx of
Theophylline ER from Costco for which I usually pay $19.01 and
was charged $53.28 an increase of almost 200%. Costco
Pharmacy confirmed that this increase is correct and was instituted
sometime earlier this year (2014). Before having this listed in our
national report as another example of Pharmaceutical Price

Gouging, [w]e respectfully request a confirmation response from
you, the manufacturer, relative to the accuracy of our data. Please

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respond to me at the above email address. If you prefer you can
respond to Senator Schumer a New York State representative.

434, The email was forwarded to a member of the Government Affairs Department at
Teva, who asked: "Can I get some details on the specifics of this product and the price increase.
I'm hoping someone increased the price and we had to follow it up. Or, API or something I can
give the senate." Ultimately, the request was forwarded to N.P. — who had directed and agreed to
the price increases — with the question: "Please let me know the specifics of the price increase.
Anything positive I can say?" N.P. responded: "I don't have a great story. I'll take a closer
look." The real story was that Teva conspired with Heritage to raise market prices.

435. By the time that Heritage held its "Price Increase Discussion" on April 22, 2014,
it already had its agreement in place with Teva with respect to Theophylline, and Teva had
already taken the lead on implementing the price increases. Malek specifically instructed the
Heritage sales team during that meeting that Heritage would be following the Teva price increase
on Theophylline.

436. On May 9, 2014, Heritage held another call regarding "Price Increases."
Theophylline was again on the list of drugs slated for a price increase.

437. On June 23, 2014, Heritage employees held a “Price Change Call," where they
discussed the specific percentage amounts they would seek to increase certain drugs, and the
strategies for doing so. Among those included on the list was Theophylline, which was slated for
a 150% increase.

438. On June 25, 2014, Heritage held one last call regarding "Product Price Changes”
before the price increases were to be implemented. Theophylline was again on the list of drugs

slated for a price increase.

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439. Malek also spoke with N.P. the same day for nearly fourteen (14) minutes.
During that call, Malek reported that Heritage would be sending out Price Increase Notices
shortly for Theophylline and several of the other drugs for which Heritage and Teva had agreed
to raise prices.

440. Heritage began sending out Price Increase Notices to its customers for
Theophylline the next day. By July 9, 2014, Heritage had been able to successfully increase
prices to at least twenty (20) different customers nationwide, much as Teva had done three
months earlier.

441, On June 30, 2014, N.P. sent an email to Teva employees stating that "[i]t appears
that Heritage took an increase [on Theophylline] to follow Teva. The new pricing looks like it
will be effective tomorrow and matches Teva's WACs," N.P. noted to her Teva colleagues that
this activity "will likely trigger some bid requests/activity," but stated that Teva "should not be
considering decreases.”

442. This agreement between Heritage and Teva was part of an overarching conspiracy
of the corporate Defendants named in the Complaint to unreasonably restrain trade in the generic
pharmaceutical industry.

x. Verapamil

443. Verapamil, also known by various brand names, is a calcium channel blocker
used to treat hypertension, angina and certain heart rhythm disorders. It works by relaxing the
muscles of the heart and blood vessels.

444, In April 2014, Heritage’s competitors for Verapamil were Defendants Mylan and

Actavis.

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445. N.O. was primarily responsible for communicating with Mylan about Verapamil
and other drugs. N.O. spoke to M.A. of Mylan on April 23, 2014 and reached an agreement to
raise prices for Verapamil and two other drugs. Immediately after hanging up the phone with
M.A., N.O. sent an email to Malek and A:S: titled "Mylan," stating: "Just let me know a day
before we price adjust on the three Mylan products and they will put the word out to the reps to
leave us alone. They are looking at price increases as well on a number of products."

446. A,.S. was responsible for communicating with Defendant Actavis about Verapamil
and one other drug. On April 22, 2014, within hours after the initial Heritage "Price Increase
Discussion," A.S, called M.D., Director of National Accounts at Actavis, and they spoke for
more than nine (9) minutes. Upon information and belief, during that call A.S. and M.D. reached
an agreement to raise the price of Verapamil and another drug, Glyburide-Metformin.

447. M.D. conveyed the message internally to the sales and pricing team at Actavis
that Heritage was looking to take a price increase on Verapamil. Immediately after speaking to
A.S., M.D. called two different Senior Pricing Managers at Actavis, J.R. and C.K. The
information spread quickly throughout the sales and pricing teams at Actavis. In an internal
email dated April 28, 2014 regarding potential price increases for a list of different drugs, an
Actavis pricing manager added: "[M.D.] made mention of keeping an eye out for an increase on
Glyburide/Met and Verapamil IR.."

448. Just over a week later, on May 6, 2014, M.F., the Vice President of Marketing,
Pricing and Contracts at Actavis, who had also received the April 28 email discussed above,
called J.N., a Vice President at Mylan, and left a message. J.N. returned the call on May 9, 2014
and the two spoke for just over three (3) minutes. They spoke again on May 19, 2014 for almost

seven (7) minutes, and continued to communicate frequently over the next several months.

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449. On May 8, 2014, Malek emailed the Heritage sales team asking them to confirm
which competitors they had each been able to obtain agreements from in order to move forward
with price increases discussed during the April 22, 2014 conference. A.S. responded: "Jason: I
made contact with all my take aways — with positive results. I can resend those notes or talk with
you on any details."

450. On May 9, 2014, Heritage held another conference call regarding "Price
Increases." Verapamil was again on the list of drugs targeted for a price increase.

451. Although Heritage did not increase prices for Verapamil market wide in July,
2014, like it did for many other drugs, it did raise price on Verapamil to at least one customer as
part of its price increase initiative.

452. On August 20, 2014, A.S. exchanged text messages with S.K. at Sun. During this
text message exchange, A.S. described agreements that Heritage had reached with Actavis to
increase prices of both Glyburide/Metformin and Verapamil:

S.K.: "Have you heard anything about an Actavis price increase"

A.S.: "Theard they were on board with it. What item
specifically?”

S.K.: "I don't know. I am just hearing about an increase but no
details. What product have you heard about"

A.S.: "We were communicating on Glyburide/Metformin and
Verapami1|"

A.S.: "We haven't touched verapamil yet"
453. This agreement between Heritage, Mylan and Actavis was part of an overarching
conspiracy of the corporate Defendants named in the Complaint to unreasonably restrain trade in

the generic pharmaceutical industry.

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C. Consciousness of Guilt

454. The Defendants were aware that their conduct was illegal. They all made
consistent efforts to avoid communicating with each other in writing, or to delete written
electronic communications after they were made.

455. Going back to at least 2012, for example, Heritage executives took overt steps to
conceal their illegal activity, and destroy evidence of wrongdoing.

456. None of the email accounts maintained by Heritage had any document retention
policy associated with them. Heritage executives were aware of this, and utilized the lack ofa
company retention policy to routinely destroy emails that memorialized their illegal conduct.
Heritage executives were aware that in order to permanently destroy an email, however, the
email had to be deleted from more than just the recipient's in box. For example, on June 27,
2012, Heritage CEO Glazer sent an email to Malek titled "Email," instructing: "Clean your sent
file out as well.”

457. Glazer continued to remind Malek not to put any evidence of his illegal conduct
into writing. In a text message dated June 26, 2014, Glazer sternly warned Malek about his use
of email: "No emails about products, price and competitors."

458. That same day, in an email to the entire sales team at Heritage, Glazer made the
point as clearly as possible: "We.don't talk about pricing dynamics and competition on emails.
If you have questions — you can call JM or me directly and then punch yourself in the face."

459. Heritage was not alone in its efforts to conceal its illegal activity. For example, in
June 2014, shortly after a text message exchange between K.A. of Citron and A.S. from Heritage
wherein the two competitors discussed and agreed to raise the price of Glyburide, K.S. from

Citron called D.L. at Heritage, informing him that she had been "looped" in on Heritage's plan.

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According to A.S.'s notes, K.S. told D.L. that Heritage employees should not communicate with
Citron through email, but should instead call L.S., the Vice President of Sales at Citron, if they
had information to convey.

460. As Defendants became more aware that they were under state and federal
investigation, there was even more urgency to avoid detection. For example, on June 2, 2015,
after it had become public that Connecticut and the DOJ were investigating the industry, Malek
sent A.S. a text message stating: "Just got your email on meprobamate. Let's avoid emailing
about other manufacturers and having discussions with them. Can be misconstrued based on
what we are hearing elsewhere...." Heritage did not produce the referenced email in response to
Connecticut's subpoena, even though the subpoena sought all such documents. Upon
information and belief, the referenced email has, along with other relevant documents, been
deleted by Heritage.

461. Upon information and belief, Glazer, Malek and certain other Heritage employees
also deleted all text messages from their company iPhones regarding their illegal
communications with competitors.

462. G.S. of Mayne, realizing the illegal nature of the agreements she entered into, also
deleted from her cell phone several of the most incriminating text messages between her and
A.S. before the data on her phone was imaged and produced to Connecticut.

V. TRADE AND COMMERCE

463. Atall times relevant to this Complaint, the activities of the Defendants in
manufacturing, selling and distributing generic pharmaceutical drugs, including but not limited
to Acetazolamide, Doxycycline Hyclate Delayed Release, Doxycycline Monohydrate,

Fosinopril-Hydrochlorothiazide, Glipizide-Metformin, Glyburide, Glyburide-Metformin,

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Leflunomide, Meprobamate, Nimodipine, Nystatin, Paromomycin, Theophylline, Verapamil and
Zoledronic Acid, among others, were in the regular, continuous and substantial flow of interstate
trade and commerce and have had and continue to have a substantial effect upon interstate
commerce. The Defendants’ activities also had and continue to have a substantial effect upon the
trade and commerce within each of the Plaintiff States.

VI. MARKET EFFECTS

464. The acts and practices of Defendants have had the purpose or effect, or the
tendency or capacity, of unreasonably restraining competition and injuring competition by
preventing competition for the numerous generic pharmaceutical drugs identified herein, and
have directly resulted in an increase in consumer prices for those drugs.

465. By unreasonably and illegally restraining competition for the generic
pharmaceutical drugs identified herein, Defendants have deprived the Plaintiff States and their
consumers of the benefits of competition that the federal and state antitrust laws, consumer
protection laws and/or unfair competition statutes and related state laws are designed to promote,
preserve and protect.

466. Asa direct and proximate result of the unlawful conduct alleged above, Plaintiff
States and consumers were not and are not able to purchase, or pay reimbursements for
purchases of the various generic pharmaceutical drugs identified herein at prices determined by a
market unhindered by the impact of Defendants’ anticompetitive behavior. Instead, they have
been and continue to be forced to pay artificially high prices. Consequently, they have suffered
substantial injury in their business and property in that, inter alia, they have paid more and
continue to pay more for the various generic pharmaceutical drugs identified herein than they

would have paid in an otherwise competitive market.

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467. Asadirect and proximate cause of the unlawful conduct alleged above, the
general economies of the Plaintiff States have sustained injury and the Plaintiff States are
threatened with continuing injury to their business and property unless Defendants are enjoined
from continuing their unlawful conduct.

468. Plaintiff States do not have an adequate remedy at law.

469, All conditions precedent necessary to the filing of this action have been fulfilled,
waived or excused.

COUNT ONE (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA AGAINST

DEFENDANTS HERITAGE AND SUN, AND ALL OTHER CORPORATE

DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) — HORIZONTAL
CONSPIRACY TO ALLOCATE MARKETS AND FIX PRICES FOR THE GENERIC
DRUG NIMODIPINE IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

470. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

471. Beginning as early as 2012, Defendants Heritage and Sun knowingly agreed to
allocate and divide the market for the generic drug Nimodipine. During the course of this
ongoing scheme, Defendants Heritage and Sun also agreed to fix and raise prices, and rig bids,
for Nimodipine.

472. These agreements are facially anticompetitive because they allocate customers for
the marketing and sale of the generic drug Nimodipine, artificially raise prices, and limit
competition among the Defendants. These agreements have eliminated any form of price
competition in the market for Nimodipine because at all relevant times, Heritage and Sun were

the only competitors.

473, The conspiracy substantially affected and still affects interstate commerce.

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474. The agreements constitute unreasonable restraints of trade that are per se illegal
under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of these agreements.

475. Asadirect and proximate result of these conspiracies, Plaintiff States,
governmental entities and/or consumers have been injured in their business or property because
they have had to purchase or reimburse for Nimodipine at supra-competitive prices, and
Defendants Heritage and Sun have enjoyed ill-gotten gains from the sales of Nimodipine.

476. This agreement between Heritage and Sun was part of an overarching conspiracy
among all of the corporate Defendants named in this Complaint to unreasonably restrain trade in
the generic pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices
for generic drugs, including Nimodipine. As participants in the overarching conspiracy, the
corporate Defendants are jointly and severally liable for any harm caused as a result of the
conspiracy.

COUNT TWO (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA AGAINST
DEFENDANTS HERITAGE AND ASCEND, AND ALL OTHER CORPORATE
DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) —- HORIZONTAL

CONSPIRACY TO ALLOCATE MARKETS AND FIX PRICES FOR THE GENERIC

DRUG NIMODIPINE IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

477. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

478. Beginning as early as April 2014, Defendants Heritage and Ascend knowingly
agreed to allocate and divide the market for the generic drug Nimodipine. During the course of

this ongoing scheme, Defendants Heritage and Ascend also agreed to fix and raise prices, and rig

bids, for Nimodipine.

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479. These agreements are facially anticompetitive because they allocate customers for
the marketing and sale of the generic drug Nimodipine, artificially raise prices, and limit
competition among the Defendants. These agreements have eliminated any form of price
competition in the market for Nimodipine because at all relevant times, Heritage and Ascend
were the only competitors.

480. The conspiracy substantially affected and still affects interstate commerce.

481. The agreements constitute unreasonable restraints of trade that are per se illegal
under Section I of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of these agreements.

482. Asadirect and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Nimodipine at supra-competitive prices, and Defendants Heritage
and Ascend have enjoyed ill-gotten gains from the sales of Nimodipine.

483. This agreement between Heritage and Ascend was part of an overarching
conspiracy among all of the corporate Defendants named in this Complaint to unreasonably
restrain trade in the generic pharmaceutical industry, and to artificially fix, raise, stabilize and
control the prices for generic drugs, including Nimodipine. As participants in the overarching
conspiracy, the corporate Defendants are jointly and severally liable for any harm caused as a

result of the conspiracy.

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COUNT THREE (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA AGAINST
DEFENDANTS HERITAGE AND DR. REDDY'S, AND ALL OTHER CORPORATE
DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) — HORIZONTAL
CONSPIRACY TO ALLOCATE MARKETS FOR THE GENERIC DRUG
ZOLEDRONIC ACID IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

484. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

485. Beginning as early as 2013, Defendants Heritage and Dr. Reddy's knowingly
agreed to allocate and divide the market for the generic drug Zoledronic Acid.

486. This agreement is facially anticompetitive because it allocates customers for the
marketing and sale of the generic drug Zoledronic Acid, artificially raises prices, and limits
competition among the Defendants. This agreement has eliminated any form of price
competition in the market for Zoledronic Acid between Defendants Heritage and Dr. Reddy's.

487. This conspiracy substantially affected and still affects interstate commerce.

488. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of the agreement.

489. Asadirect and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Zoledronic Acid at supra-competitive prices, and Defendants
Heritage and Dr. Reddy's have enjoyed ill-gotten gains from the sales of Zoledronic Acid.

490. This agreement between Heritage and Dr. Reddy's was part of an overarching
conspiracy among all of the corporate Defendants named in this Complaint to unreasonably

restrain trade in the generic pharmaceutical industry, and to artificially fix, raise, stabilize and

control the prices for generic drugs, including Zoledronic Acid. As participants in the

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overarching conspiracy, the corporate Defendants are jointly and severally liable for any harm
caused as a result of the conspiracy.

COUNT FOUR (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA AGAINST
DEFENDANTS HERITAGE AND DR. REDDY'S, AND ALL OTHER CORPORATE
DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) — HORIZONTAL
CONSPIRACY TO ALLOCATE MARKETS AND FIX PRICES FOR THE GENERIC
DRUG MEPROBAMATE IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

491. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

492. Beginning as early as 2013, Defendants Heritage and Dr. Reddy's knowingly
agreed to allocate and divide the market and raise prices for the generic drug Meprobamate.

493. This agreement is facially anticompetitive because it allocates customers for the
marketing and sale of the generic drug Meprobamate, artificially raises prices, and limits
competition among the Defendants. This agreement has eliminated any form of price
competition in the market for Meprobamate between Defendants Heritage and Dr. Reddy's.

494, This conspiracy substantially affected and still affects interstate commerce.

495. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of the agreement.

496. Asa direct and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Meprobamate at supra-competitive prices, and Defendants Heritage
and Dr. Reddy's have enjoyed ill-gotten gains from the sales of Meprobamate.

497. This agreement between Heritage and Dr. Reddy's was part of an overarching

conspiracy among all of the corporate Defendants named in this Complaint to unreasonably

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restrain trade in the generic pharmaceutical industry, and to artificially fix, raise, stabilize and
control the prices for generic drugs, including Meprobamate. As participants in the overarching
conspiracy, the corporate Defendants are jointly and severally liable for any harm caused as a
result of the conspiracy.

COUNT FIVE (BY ALL PLAINTIFF STATES AGAINST DEFENDANTS HERITAGE,
EMCURE AND MYLAN, AND ALL OTHER CORPORATE DEFENDANTS UNDER
JOINT AND SEVERAL LIABILITY’) — HORIZONTAL CONSPIRACY TO
ALLOCATE MARKETS FOR THE GENERIC DRUG DOXY DR IN VIOLATION OF
SECTION 1 OF THE SHERMAN ACT

498. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

499. Beginning as early as 2013, Defendants Heritage and Mylan knowingly agreed to
allocate and divide the market for the generic drug Doxy DR. Defendant Emcure, through its
senior most executives and Board members, took active steps to initiate communications and
facilitate the conspiracy between Heritage and Mylan, and benefited from the illegal agreement.

500. This agreement is facially anticompetitive because it allocates customers for the
marketing and sale of the generic drug Doxy DR, artificially raises prices, and limits competition
among the Defendants. This agreement has eliminated price competition in the market for Doxy
DR between Defendants Heritage and Mylan.

501. This conspiracy substantially affected and still affects interstate commerce.

502. The agreement constitutes an unreasonable restraint of trade that is per se illegal

under Section | of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

demonstrate the anticompetitive character of the agreement.

 

> At this time, California is only pursuing claims in Count Five against Defendants Heritage and
Mylan.

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503. Asadirect and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Doxy DR at supra-competitive prices, and Defendants Heritage,
Emcure and Mylan have enjoyed ill-gotten gains from the sales of Doxy DR.

504. This agreement between Heritage and Mylan, which was facilitated by Defendant
Emcure, was part of an overarching conspiracy among all of the corporate Defendants named in
this Complaint to unreasonably restrain trade in the generic pharmaceutical industry, and to
artificially fix, raise, stabilize and control the prices for generic drugs, including Doxy DR. As
participants in the overarching conspiracy, the corporate Defendants are jointly and severally
liable for any harm caused as a result of the conspiracy.

COUNT SIX (BY CERTAIN PLAINTIFF STATES’ AGAINST DEFENDANTS RAJIV
MALIK AND SATISH MEHTA) —- HORIZONTAL CONSPIRACY TO ALLOCATE
MARKETS FOR THE GENERIC DRUG DOXY DR IN VIOLATION OF SECTION 1
OF THE SHERMAN ACT

505. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

506. Beginning in 2013, Defendant Satish Mehta took active steps to facilitate an
illegal conspiracy between Defendants Heritage and Mylan to allocate the market for Doxy DR.

Defendant Mehta personally communicated with Defendant Rajiv Malik in order to facilitate

conspiratorial communications between Malik, the President of defendant Mylan, and the CEO

 

* The following 38 Plaintiff States join in Count Six against Defendants Rajiv Malik and Satish
Mehta: Connecticut, Alabama, Alaska, Arkansas, Arizona, Colorado, Delaware, Hawaii, Idaho,
Illinois, Iowa, Indiana, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland,
Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, New Jersey, New Mexico,
Nevada, North Dakota, Ohio, Oklahoma, Pennsylvania, Puerto Rico, Rhode Island, South
Carolina, Utah, Virginia, West Virginia and Wyoming.

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of Defendant Heritage, Jeffrey Glazer with the purpose and effect of allocating the market for
Doxy DR.

507. Defendant Malik also participated directly in the conspiracy between Heritage and
Mylan. Malik personally communicated with Mehta and Glazer, and agreed that Mylan would
allocate specific customers to Heritage when it was entering the market for Doxy DR.

508. This agreement is facially anticompetitive because it allocates customers for the
marketing and sale of the generic drug Doxy DR, artificially raises prices, and limits competition
among the Defendants. This agreement has eliminated price competition in the market for Doxy
DR between Defendants Heritage and Mylan.

509. This conspiracy substantially affected and still affects interstate commerce.

510. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of the agreement.

511. Asadirect and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Doxy DR at supra-competitive prices, and Defendants Mehta and
Malik have personally enjoyed ill-gotten gains from the sales of Doxy DR.

COUNT SEVEN (BY ALL PLAINTIFF STATES AGAINST DEFENDANTS HERITAGE
AND MAYNE, AND ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND
SEVERAL LIABILITY-) — HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS
FOR THE GENERIC DRUG DOXY DR IN VIOLATION OF SECTION 1 OF THE
SHERMAN ACT

512. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

herein.

 

> At this time, California is only pursuing claims in Count Seven against Defendants Heritage
and Mayne.

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513. Beginning in 2014, Defendants Heritage and Mayne knowingly agreed to allocate
and divide the market for the generic drug Doxy DR.

514. The agreement is facially anticompetitive because it allocates customers for the
marketing and sale of the generic drug Doxy DR, artificially raises prices, and limits competition
among the Defendants. This agreement has eliminated price competition in the market for Doxy
DR between Defendants Heritage and Mayne.

515. This conspiracy substantially affected and still affects interstate commerce.

516. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of the agreement.

517. Asadirect and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Doxy DR at supra-competitive prices, and Defendants Heritage and
Mayne have enjoyed ill-gotten gains from the sales of Doxy DR.

518. This agreement between Heritage and Mayne was part of an overarching
conspiracy among all of the corporate Defendants named in this Complaint to unreasonably
restrain trade in the generic pharmaceutical industry, and to artificially fix, raise, stabilize and
control the prices for generic drugs, including Doxy DR. As participants in the overarching
conspiracy, the corporate Defendants are jointly and severally liable for any harm caused as a

result of the conspiracy.

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COUNT EIGHT (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA AGAINST
DEFENDANTS HERITAGE, LANNETT, PAR AND MYLAN, AND ALL OTHER
CORPORATE DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) —
HORIZONTAL CONSPIRACY TO RAISE PRICES FOR THE GENERIC DRUG DOXY
MONO IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

519. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

520. Starting as early as March 2013, Heritage began to communicate with Defendant
Lannett about increasing the price of Doxy Mono. Over the course of the next several months,
Defendants Heritage, Lannett, Par and Mylan communicated and agreed to raise prices for, or to
refrain from competing for, the generic drug Doxy Mono in direct violation of Section 1 of the
Sherman Act, 15 U.S.C. § 1.

521. Defendants Heritage, Lannett, Par and Mylan knowingly became a party to the
agreement. The agreement is facially anticompetitive because it artificially raises prices and
limits competition among the Defendants. The agreement has eliminated price competition in
the market for Doxy Mono between Defendants Heritage, Lannett, Par and Mylan.

522. This conspiracy substantially affected and still affects interstate commerce.

523. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of this agreement.

524. Asa direct and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had

to purchase or reimburse for Doxy Mono at supra-competitive prices, and Defendants Heritage,

Lannett, Par and Mylan have enjoyed ill-gotten gains from the sales of Doxy Mono.

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525. This agreement between Heritage, Lannett, Par and Mylan was part of an
overarching conspiracy among all of the corporate Defendants named in this Complaint to
unreasonably restrain trade in the generic pharmaceutical industry, and to artificially fix, raise,
stabilize and control the prices for generic drugs, including Doxy Mono. As participants in the
overarching conspiracy, the corporate Defendants are jointly and severally liable for any harm
caused as a result of the conspiracy.

COUNT NINE (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA AGAINST
DEFENDANTS HERITAGE, TEVA AND ZYDUS, AND ALL OTHER CORPORATE
DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) —- HORIZONTAL
CONSPIRACY TO RAISE PRICES FOR THE GENERIC DRUG ACETAZOLAMIDE
IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

526. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

527. In April of 2014, Heritage devised a scheme whereby it would seek out its
competitors and obtain agreements from them to collectively agree to raise prices for a large
number of generic drugs. Among those was the generic drug Acetazolamide.

528. Heritage communicated directly with Defendants Teva and Zydus, and obtained
agreements with Teva and Zydus to raise prices for, or to refrain from competing for, the generic
drug Acetazolamide in direct violation of Section | of the Sherman Act, 15 U.S.C. § 1.

529. Defendants Heritage, Teva and Zydus knowingly became a party to the
agreement. The agreement is facially anticompetitive because it artificially raises prices and
limits competition among the Defendants. The agreement has eliminated price competition in

the market for Acetazolamide between Defendants Heritage, Teva and Zydus.

530. This conspiracy substantially affected and still affects interstate commerce.

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531. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of the agreement.

$32. Asa direct and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Acetazolamide at supra-competitive prices, and Defendants
Heritage, Teva and Zydus have enjoyed ill-gotten gains from the sales of Acetazolamide.

533. This agreement between Heritage, Teva and Zydus was part of an overarching
conspiracy among all of the corporate Defendants named in this Complaint to unreasonably
restrain trade in the generic pharmaceutical industry, and to artificially fix, raise, stabilize and
control the prices for generic drugs, including Acetazolamide. As participants in the overarching
conspiracy, the corporate Defendants are jointly and severally liable for any harm caused as a
result of the conspiracy.

COUNT TEN (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA AGAINST
DEFENDANTS HERITAGE, AUROBINDO, CITRON, GLENMARK AND SANDOZ,
AND ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND SEVERAL
LIABILITY) —- HORIZONTAL CONSPIRACY TO RAISE PRICES FOR THE GENERIC
DRUG FOSI-HCTZ IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

534. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

535. In April of 2014, Heritage devised a scheme whereby it would seek out its
competitors and obtain agreements from them to collectively agree to raise prices for a large
number of generic drugs. Among those was the generic drug Fosi-HCTZ.

536. Heritage communicated directly with Defendants Aurobindo, Citron, Glenmark

and Sandoz, and obtained agreements with Aurobindo, Citron, Glenmark and Sandoz to raise

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prices for the generic drug Fosi-HCTZ in direct violation of Section 1 of the Sherman Act, 15
U.S.C. § 1.

537. Defendants Heritage, Aurobindo, Citron, Glenmark and Sandoz knowingly
became a party to this agreement. This agreement is facially anticompetitive because it
artificially raises prices and limits competition among the Defendants. This agreement has
eliminated price competition in the market for Fosi-HCTZ between Defendants Heritage,
Aurobindo, Citron, Glenmark and Sandoz.

538. This conspiracy substantially affected and still affects interstate commerce.

539. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of this agreement.

540. Asa direct and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Fosi-HCTZ at supra-competitive prices, and Defendants Heritage,
Aurobindo, Citron, Glenmark and Sandoz have enjoyed ill-gotten gains from the sales of Fosi-
HCTZ.

541. This agreement between Heritage, Aurobindo, Citron, Glenmark and Sandoz was
part of an overarching conspiracy among all of the corporate Defendants named in this
Complaint to unreasonably restrain trade in the generic pharmaceutical industry, and to
artificially fix, raise, stabilize and control the prices for generic drugs, including Fosi-HCTZ. As
participants in the overarching conspiracy, the corporate Defendants are jointly and severally

liable for any harm caused as a result of the conspiracy.

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COUNT ELEVEN (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA AGAINST
DEFENDANTS HERITAGE, MYLAN AND TEVA, AND ALL OTHER CORPORATE
DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) — HORIZONTAL
CONSPIRACY TO RAISE PRICES FOR THE GENERIC DRUG GLIPIZIDE-

METFORMIN IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

542. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

543. In April of 2014, Heritage devised a scheme whereby it would seek out its
competitors and obtain agreements from them to collectively agree to raise prices for a large
number of generic drugs. Among those was the generic drug Glipizide-Metformin.

544. Heritage communicated directly with Defendants Mylan and Teva, and obtained
agreements with Mylan and Teva to raise prices for, the generic drug Glipizide-Metformin in
direct violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

545. Defendants Heritage, Mylan and Teva knowingly became a party to this
agreement. The agreement is facially anticompetitive because artificially raises prices and limits
competition among the Defendants. The agreement has eliminated price competition in the
market for Glipizide-Metformin between Defendants Heritage, Mylan and Teva.

546. This conspiracy substantially affected and still affects interstate commerce.

547. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section | of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of the agreement.

548. Asa direct and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had

to purchase or reimburse for Glipizide-Metformin at supra-competitive prices, and Defendants

Heritage, Mylan and Teva have enjoyed ill-gotten gains from the sales of Glipizide-Metformin.

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549. This agreement between Heritage, Mylan and Teva was part of an overarching
conspiracy among all of the corporate Defendants named in this Complaint to unreasonably
restrain trade in the generic pharmaceutical industry, and to artificially fix, raise, stabilize and
control the prices for generic drugs, including Glipizide-Metformin. As participants in the
overarching conspiracy, the corporate Defendants are jointly and severally liable for any harm
caused as a result of the conspiracy.

COUNT TWELVE (BY ALL PLAINTIFF STATES AGAINST DEFENDANTS
HERITAGE, TEVA, AUROBINDO AND CITRON, AND ALL OTHER CORPORATE
DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY’) — HORIZONTAL
CONSPIRACY TO RAISE PRICES FOR THE GENERIC DRUG GLYBURIDE IN
VIOLATION OF SECTION 1 OF THE SHERMAN ACT

550. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

551. In April of 2014, Heritage devised a scheme whereby it would seek out its
competitors and obtain agreements from them to collectively agree to raise prices for a large
number of generic drugs. Among those was the generic drug Glyburide.

552. Heritage communicated directly with Defendants Teva, Aurobindo and Citron,
and obtained agreements with Teva, Aurobindo and Citron to raise prices for, the generic drug
Glyburide in direct violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

553. Defendants Heritage, Teva, Aurobindo and Citron knowingly became a party to
this agreement. The agreement is facially anticompetitive because it artificially raises prices and
limits competition among the Defendants. The agreement has eliminated price competition in

the market for Glyburide between Defendants Heritage, Teva, Aurobindo and Citron.

554. This conspiracy substantially affected and still affects interstate commerce.

 

® At this time, California is only pursuing claims in Count Twelve against Defendants Heritage,
Teva, Aurobindo, and Citron.

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555. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of the agreement.

556. As adirect and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Glyburide at supra-competitive prices, and Defendants Heritage,
Teva, Aurobindo and Citron have enjoyed ill-gotten gains from the sales of Glyburide.

557. This agreement between Heritage, Teva, Aurobindo and Citron was part of an
overarching conspiracy among all of the corporate Defendants named in this Complaint to
unreasonably restrain trade in the generic pharmaceutical industry, and to artificially fix, raise,
stabilize and control the prices for generic drugs, including Glyburide. As participants in the
overarching conspiracy, the corporate Defendants are jointly and severally liable for any harm
caused as a result of the conspiracy.

COUNT THIRTEEN (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA AGAINST
DEFENDANTS HERITAGE, TEVA, AUROBINDO AND ACTAVIS, AND ALL OTHER
CORPORATE DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) -
HORIZONTAL CONSPIRACY TO RAISE PRICES FOR THE GENERIC DRUG
GLYBURIDE-METFORMIN IN VIOLATION OF
SECTION 1 OF THE SHERMAN ACT

558. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

559. In April of 2014, Heritage devised a scheme whereby it would seek out its

competitors and obtain agreements from them to collectively agree to raise prices for a large

number of generic drugs. Among those was the generic drug Glyburide-Metformin.

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560. Heritage communicated directly with Defendants Teva, Aurobindo and Actavis,
and obtained agreements with Teva, Aurobindo and Actavis to raise prices for, the generic drug
Glyburide-Metformin in direct violation of Section | of the Sherman Act, 15 U.S.C. § 1.

561. Defendants Heritage, Teva, Aurobindo and Actavis knowingly became a party to
this agreement. The agreement is facially anticompetitive because it artificially raises prices and
limits competition among the Defendants. The agreement has eliminated price competition in
the market for Glyburide-Metformin between Defendants Heritage, Teva, Aurobindo and
Actavis.

562. This conspiracy substantially affected and still affects interstate commerce.

563. The agreement constitutes an unreasonable restraints of trade that is per se illegal
under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of the agreement.

564. Asa direct and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Glyburide-Metformin at supra-competitive prices, and Defendants
Heritage, Teva, Aurobindo and Actavis have enjoyed ill-gotten gains from the sales of
Glyburide-Metformin.

565. This agreement between Heritage, Teva, Aurobindo and Actavis was part of an
overarching conspiracy among all of the corporate Defendants named in this Complaint to
unreasonably restrain trade in the generic pharmaceutical industry, and to artificially fix, raise,
stabilize and control the prices for generic drugs, including Glyburide-Metformin. As
participants in the overarching conspiracy, the corporate Defendants are jointly and severally

liable for any harm caused as a result of the conspiracy.

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COUNT FOURTEEN (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA
AGAINST DEFENDANTS HERITAGE, TEVA AND APOTEX, AND ALL OTHER
CORPORATE DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) -
HORIZONTAL CONSPIRACY TO RAISE PRICES FOR THE GENERIC DRUG
LEFLUNOMIDE IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

566. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

567. In April of 2014, Heritage devised a scheme whereby it would seek out its
competitors and obtain agreements from them to collectively agree to raise prices for a large
number of generic drugs. Among those was the generic drug Leflunomide.

568. Heritage communicated directly with Defendants Teva and Apotex, and obtained
agreements with Teva and Apotex, to raise prices for the generic drug Leflunomide in direct
violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

569. Defendants Heritage, Teva and Apotex knowingly became a party to this
agreement. This agreement is facially anticompetitive because it artificially raises prices and
limits competition among the Defendants. This agreement has eliminated price competition in
the market for Leflunomide between Defendants Heritage, Teva and Apotex.

570. This conspiracy substantially affected and still affects interstate commerce.

571. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section | of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of this agreement.

572. Asa direct and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had

to purchase or reimburse for Leflunomide at supra-competitive prices, and Defendants Heritage,

Teva and Apotex have enjoyed ill-gotten gains from the sales of Leflunomide.

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573. This agreement between Heritage, Teva and Apotex was part of an overarching
conspiracy among all of the corporate Defendants named in this Complaint to unreasonably
restrain trade in the generic pharmaceutical industry, and to artificially fix, raise, stabilize and
control the prices for generic drugs, including Leflunomide. As participants in the overarching
conspiracy, the corporate Defendants are jointly and severally liable for any harm caused as a
result of the conspiracy

COUNT FIFTEEN (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA AGAINST
DEFENDANTS HERITAGE, TEVA, AND SUN, AND ALL OTHER CORPORATE
DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) —- HORIZONTAL
CONSPIRACY TO RAISE PRICES FOR THE GENERIC DRUG NYSTATIN IN
VIOLATION OF SECTION 1 OF THE SHERMAN ACT

574. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

575. Beginning as early as 2013, Defendants Heritage, Sun and Teva communicated
with each other for the purpose and effect of obtaining an agreement to collectively raise prices
for the generic drug Nystatin.

576. Defendants Heritage, Teva and Sun agreed to raise prices for the generic drug
Nystatin in direct violation of Section | of the Sherman Act, 15 U.S.C. § 1.

577. Defendants Heritage, Teva and Sun knowingly became a party to this agreement.
The agreement is facially anticompetitive because it artificially raises prices and limits
competition among the Defendants. The agreement has eliminated price competition in the

market for Nystatin between Defendants Heritage, Teva and Sun.

578. This conspiracy substantially affected and still affects interstate commerce.

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579. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section | of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of the agreement.

580. Asa direct and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Nystatin at supra-competitive prices, and Defendants Heritage, Teva
and Sun have enjoyed ill-gotten gains from the sales of Nystatin.

581. This agreement between Heritage, Teva and Sun was part of an overarching
conspiracy among all of the corporate Defendants named in this Complaint to unreasonably
restrain trade in the generic pharmaceutical industry, and to artificially fix, raise, stabilize and
control the prices for generic drugs, including Nystatin. As participants in the overarching
conspiracy, the corporate Defendants are jointly and severally liable for any harm caused as a
result of the conspiracy.

COUNT SIXTEEN (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA AGAINST
DEFENDANTS HERITAGE AND SUN, AND ALL OTHER CORPORATE
DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) —- HORIZONTAL
CONSPIRACY TO RAISE PRICES FOR THE GENERIC DRUG PAROMOMYCIN IN
VIOLATION OF SECTION 1 OF THE SHERMAN ACT

582. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

583. In April of 2014, Heritage devised a scheme whereby it would seek out its

competitors and obtain agreements from them to collectively agree to raise prices for a large

number of generic drugs. Among those was the generic drug Paromomycin.

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584. Heritage communicated directly with Defendant Sun, and obtained an agreement
with Sun, to raise prices for the generic drug Paromomycin in direct violation of Section 1 of the
Sherman Act, 15 U.S.C. § 1.

585. Defendants Heritage and Sun knowingly became a party to this agreement. This
agreement is facially anticompetitive because it artificially raises prices and limits competition
among the Defendants. This agreement has eliminated price competition in the market for
Paromomycin between Defendants Heritage and Sun.

586. This conspiracy substantially affected and still affects interstate commerce.

587. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of this agreement.

588. Asa direct and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Paromomycin at supra-competitive prices, and Defendants Heritage
and Sun have enjoyed ill-gotten gains from the sales of Paromomycin.

589. This agreement between Heritage and Sun was part of an overarching conspiracy
among all of the corporate Defendants named in this Complaint to unreasonably restrain trade in
the generic pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices
for generic drugs, including Paromomycin. As participants in the overarching conspiracy, the
corporate Defendants are jointly and severally liable for any harm caused as a result of the

conspiracy.

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COUNT SEVENTEEN (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA
AGAINST DEFENDANTS HERITAGE AND TEVA, AND ALL OTHER CORPORATE
DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) —- HORIZONTAL
CONSPIRACY TO RAISE PRICES FOR THE GENERIC DRUG THEOPHYLLINE IN
VIOLATION OF SECTION 1 OF THE SHERMAN ACT

590. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

591. In early 2014, Teva devised a scheme to communicate with its competitor
Heritage and obtain an agreement to raise prices on multiple drugs. Among those was the
generic drug Theophylline.

592. Teva communicated directly with Defendant Heritage, and obtained an agreement
with Heritage, to raise prices for the generic drug Theophylline in direct violation of Section | of
the Sherman Act, 15 U.S.C. § 1.

593. Defendants Heritage and Teva knowingly became a party to this agreement. This
agreement is facially anticompetitive because it artificially raises prices and limits competition
among the Defendants. This agreement has eliminated price competition in the market for
Theophylline between Defendants Heritage and Teva.

594. This conspiracy substantially affected and still affects interstate commerce.

595. The agreement constitutes an unreasonable restraint of trade that is per se illegal
under Section | of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of this agreement.

596. Asadirect and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had

to purchase or reimburse for Theophylline at supra-competitive prices, and Defendants Heritage

and Teva have enjoyed ill-gotten gains from the sales of Theophylline.

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597. This agreement between Heritage and Teva was part of an overarching conspiracy
among all of the corporate Defendants named in this Complaint to unreasonably restrain trade in
the generic pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices
for generic drugs, including Theophylline. As participants in the overarching conspiracy, the
corporate Defendants are jointly and severally liable for any harm caused as a result of the
conspiracy.

COUNT EIGHTEEN (BY ALL PLAINTIFF STATES EXCEPT CALIFORNIA
AGAINST DEFENDANTS HERITAGE, MYLAN AND ACTAVIS, AND ALL OTHER
CORPORATE DEFENDANTS UNDER JOINT AND SEVERAL LIABILITY) —
HORIZONTAL CONSPIRACY TO RAISE PRICES FOR THE GENERIC DRUG

VERAPAMIL IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

598. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth
herein.

599. In April of 2014, Heritage devised a scheme whereby it would seek out its
competitors and obtain agreements from them to collectively agree to raise prices for a large
number of generic drugs. Among those was the generic drug Verapamil.

600. Heritage communicated directly with Defendants Mylan and Actavis, and
obtained agreements with Mylan and Actavis to raise prices for, the generic drug Verapamil in
direct violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

601. Defendants Heritage, Mylan and Actavis knowingly became a party to this
agreement. The agreement is facially anticompetitive because it artificially raises prices and
limits competition among the Defendants. The agreement has eliminated price competition in

the market for Verapamil between Defendants Heritage, Mylan and Actavis.

602. This conspiracy substantially affected and still affects interstate commerce.

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603. The agreement constitutes an unreasonable restraints of trade that is per se illegal
under Section | of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to
demonstrate the anticompetitive character of the agreement.

604. Asa direct and proximate result of this conspiracy, Plaintiff States, governmental
entities and/or consumers have been injured in their business or property because they have had
to purchase or reimburse for Verapamil at supra-competitive prices, and Defendants Heritage,
Mylan and Actavis have enjoyed ill-gotten gains from the sales of Verapamil.

605. This agreement between Heritage, Mylan and Actavis was part of an overarching
conspiracy among all of the corporate Defendants named in this Complaint to unreasonably
restrain trade in the generic pharmaceutical industry, and to artificially fix, raise, stabilize and
control the prices for generic drugs, including Verapamil. As participants in the overarching
conspiracy, the corporate Defendants are jointly and severally liable for any harm caused as a
result of the conspiracy.

COUNT NINETEEN- SUPPLEMENTAL STATE LAW CLAIMS
Connecticut

606. Plaintiff State of Connecticut repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

607. Defendants’ actions as alleged herein violate the Connecticut Antitrust Act, Conn.
Gen. Stat. §§ 35-26 and 35-28, in that they have the purpose and/or effect of unreasonably
restraining trade and commerce within the State of Connecticut and elsewhere.

608. Defendants' actions as alleged herein have damaged, directly and indirectly, the
prosperity, welfare, and general economy of the State of Connecticut and the economic well

being of a substantial portion of the People of the State of Connecticut and its citizens and

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businesses at large. Plaintiff State of Connecticut seeks recovery of such damages as parens
patriae on behalf of the State of Connecticut and the People of the State of Connecticut pursuant
to Conn. Gen. Stat. § 35-32(c)(2).

609. Defendants’ acts and practices as alleged herein constitute unfair methods of
competition in violation of the Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. § 42-
110b.

610. Plaintiff State of Connecticut seeks injunctive relief pursuant to Conn, Gen. Stat.
§ 35-34, civil penalties pursuant to Conn. Gen. Stat. § 35-38 for each and every violation of the
Connecticut Antitrust Act, civil penalties pursuant to Conn. Gen. Stat. § 42-1100 of $5,000 for
each and every willful violation of the Connecticut Unfair Trade Practices Act, an order pursuant
to Conn. Gen. Stat. § 42-110m requiring Defendants to submit to an accounting to determine the
amount of improper compensation paid to them as a result of the allegations in the Complaint,
disgorgement of all revenues, profits and gains achieved in whole or in part through the unfair
methods of competition complained of herein, pursuant to Conn. Gen. Stat. § 42-110m,
reasonable attorney's fees pursuant to Conn. Gen. Stat. § 42-110m, and such other and further
relief as this Court deems just and equitable.

Alabama

611. Plaintiff State of Alabama repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

612. The acts and practices by Defendants constitute unconscionable acts in violation
of the Alabama Deceptive Trade Practices Act, Code of Alabama, 1975, § 8-19-5(27) for which

the State of Alabama is entitled to relief.

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Alaska

613. Plaintiff State of Alaska repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

614. The aforementioned practices by Defendants are in violation of the Alaska
Restraint of Trade Act, AS 45.50.562 et seq., and these violations had impacts within the State of
Alaska and have substantially affected the people of Alaska. Specifically, the defendants
conspired to allocate market share and to fix and raise prices of generic pharmaceuticals resulting
in a restraint of trade or commerce. Plaintiff State of Alaska is entitled to relief for these
violations under AS 45.50.576 - .578.

615. The aforementioned practices by Defendants are in violation of the Alaska Unfair
Trade Practices and Consumer Protection Act, AS 45.50.471(b)(11) and (b)(12), and these
violations had impacts within the State of Alaska and have substantially affected the people of
Alaska. Specifically, the defendants’ conduct in allocating market share and in fixing and raising
prices, as described in the preceding paragraphs, deceived and damaged Alaskans by causing
them to pay increased prices for generic pharmaceuticals. Further, the defendants deceived and
defrauded Alaskans and omitted a material fact, namely their anti-competitive conduct, when
selling their product to wholesalers and pharmacies knowing this would increase the cost to
consumers. Plaintiff State of Alaska is entitled to relief for these violations under AS 45.50.501,
531, and .537.

Arizona
616. Plaintiff State of Arizona repeats and re-alleges each and every preceding

allegation as if fully set forth herein.

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617. Defendants’ actions as alleged herein violate the Arizona State Uniform Antitrust
Act, Ariz. Rev. Stat. § 44-1401 et seq.

618. Plaintiff State of Arizona brings this action pursuant to A.R.S. §§ 44-1407 and
1408, and seeks relief, including but not limited to injunctive relief, civil penalties, other
equitable relief (including but not limited to disgorgement), fees and costs, and such other relief
as this Court deems just and equitable.

619. Defendants’ actions as alleged herein constitute unlawful practices as defined in
the Arizona Consumer Fraud Act, A.R.S. § 44-1521 et seq. Defendants engaged in unfair or
deceptive acts or practices in connection with the sale or advertisement of merchandise by,
among other things, making misrepresentations and taking steps to conceal their anticompetitive
schemes.

620. Defendants’ violations of the Arizona Consumer Fraud Act were willful, in that
they knew or should have known that their conduct was of the nature prohibited by A.R.S. §44-
1522,

621. Plaintiff State of Arizona brings this action pursuant to A.R.S. §§ 44-1528 and
1531, and seeks relief, including but not limited to injunctive relief, restitution, disgorgement and
other equitable relief, civil penalties, fees and costs, and such other relief as this Court deems just
and equitable.

Arkansas

622. Plaintiff State of Arkansas repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

623. Defendants’ actions alleged herein violate, and Plaintiff State of Arkansas is

entitled to relief under, The Arkansas Deceptive Trade Practices Act, Ark. Code Ann. § 4-88-101

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et seq., the Unfair Practices Act, Ark. Code Ann. § 4-75-201 et seq., Monopolies Generally, Ark.
Code Ann. § 4-75-301 et seq., and the common law of Arkansas.

624. Plaintiff State of Arkansas seeks relief, including, but not limited to, damages and
restitution for Arkansas state entities and for Arkansas consumers for loss incurred, either
directly or indirectly. Plaintiff State of Arkansas also seeks, and is entitled to, maximum civil
penalties allowed by law, injunctive relief, attorney’s fees, costs, investigative expenses, expert
witness expenses, and such other relief as this Court deems just and equitable.

California”

625. Plaintiff State of California repeats and re-alleges each and every preceding
allegation made by California in the First Amended Complaint as repeated in this Consolidated
Amended Complaint.

626. Defendants’ actions alleged herein constitute contracts, combinations or
conspiracies in violation of the Cartwright Act, California Business and Professions Code
Sections 16720 et seq., in that they have the purpose and/or effect of unreasonably restraining
trade and commerce within the State of California and elsewhere.

627. In addition, as alleged herein, Defendants engaged, and continue to engage, in
unlawful, fraudulent or unfair acts or practices, which constitute unfair competition in violation
of California Unfair Competition Law (“UCL”), California Business and Professions Code
Sections 17200 et seq.

628. Defendants’ actions alleged herein also constitute violations of the California

False Advertiing Law (“FAL”), California Business and Professions Code Sections 17500 et

 

” At this time, the California state law claims apply only to Defendants Heritage, Mylan, and
Mayne with respect to Doxy DR and to Defendants Heritage, Teva, Aurobindo, and Citron with
respect to Glyburide.

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seq., in that Defendants made or disseminated, or caused to be made or disseminated, false or
misleading statements, and continue to do so with the intent to induce their customers,
wholesalers, and consumers to purchase their products at supracompetitive prices when they
knew, or by the exercise of reasonable care should have known, that the statements were false or
misleading. Statements in violation of the FAL include, but are not limited to, false or
misleading bids and/or offers made by Defendants to their customers and wholesalers as well as
false or misleading statements made by Defendants to their customers and wholesalers as to their
supply capacity and/or their reasons for bidding or not bidding.

629. Plaintiff State of California is bringing these state claims as well as the federal
claims alleged above in its sovereign capacity only. In bringing its state claims, Plaintiff State of
California is entitled to, among other things, injunctive and equitable relief in the form of
disgorgement of Defendants’ ill-gotten gains under the Cartwright Act (Cal. Bus. & Prof. Code §
16750, et seq.); injunctive, restitution and other equitable relief under the UCL (Cal. Bus. &
Prof. Code § 17200, et seq.) and under the FAL (Cal. Bus. & Prof. Code § 17500, et seq.); civil
penalties assessed at $2,500 for each violation of the UCL and penalties assessed at $2,500 for
each violation of the FAL (Cal. Bus. & Prof. Code §§ 17206 and 17536), and additional penalties
for senior citizens and disabled victims of the violation (Cal. Bus. & Prof. Code § 17206.1 and
Cal. Civil Code § 3345); costs of suit, including reasonable attorneys’ fees, and such other relief
as may be just and equitable (Cal. Bus. & Prof. Code §§ 16750, 16754, and 16754.5).

Colorado
630. Plaintiff State of Colorado repeats and re-alleges each and every preceding

allegation as if fully set forth herein.

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631. Defendants' actions violate, and Plaintiff State of Colorado is entitled to relief
under, the Colorado Antitrust Act of 1992, § 6-4-101, et seq., Colo. Rev. Stat.

632. Plaintiff State of Colorado seeks equitable relief, the maximum civil penalties
allowed by law, attorneys' fees, and costs.

District of Columbia

633. Plaintiff District of Columbia, through its Attorney General, repeats and realleges
each and every preceding allegation as if fully set forth herein.

634. The aforementioned practices by Defendants were in violation of the District of
Columbia Antitrust Act, D.C. Code § 28-4502.

635. Plaintiff District of Columbia has been and continues to be injured by Defendants’
actions. The District is entitled to all available relief for these violations pursuant to D.C. Code
§§ 28-4507 and 28-4509, including injunctive relief, damages as parens patriae on behalf of
individuals residing in the District of Columbia, restitution, disgorgement, costs, attorney’s fees,
and any other appropriate injunctive and equitable relief.

Delaware

636. Plaintiff State of Delaware repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

637. The aforementioned practices by defendants constitute violations of Section 2103
of the Delaware Antitrust Act, 6 Del. C. § 2101, et seq.

638. Plaintiff State of Delaware through the Attorney General brings this action
pursuant to Sections 2105 and 2107, and seeks civil penalties and equitable relief pursuant to

Section 2107 of the Delaware Antitrust Act, 6 Del. C. § 2101, et seq.

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Florida

639. The State of Florida repeats and re-alleges each and every preceding allegation as
if fully set forth herein.

640. This is an action that alleges a violation of the Florida Antitrust Act, Section
542.18, and the Florida Deceptive and Unfair Trade Practices Act, Section 501.201, et seq. The
State of Florida is entitled to relief, including, but not limited to, damages, disgorgement, civil
penalties, equitable relief, injunctive relief, attorneys’ fees and costs resulting from the
Defendants’ conduct as stated above, for all purchases of pharmaceuticals by the State of Florida
and its government entities and municipalities, Florida businesses, and individual consumers.

641. Minnesota Multistate Contracting Alliance for Pharmacy ("MMCAP") purchases
pharmaceuticals directly from Defendants and/or has an assignment of antitrust claims from
Cardinal Health, Inc. ("Cardinal"). The State of Florida purchases generic drugs from MMCAP
and has a similar assignment from MMCAP for any clams MMCAP may have for violations of
the antitrust laws. As a result of these assignments, any claims for violations of federal and/or
state antitrust laws that MMCAP and/or Cardinal may have had have been assigned to the State
of Florida when the claims relate to purchases by the State of Florida.

642. Defendants knowingly — that is, voluntarily and intentionally — entered into a
continuing agreement, understanding, and conspiracy to raise, fix, maintain, and/or stabilize the
prices charged for pharmaceuticals during the Relevant Period, continuing through the filing of
this Complaint.

643. Defendants directly and indirectly sold pharmaceuticals to the State of Florida and

its government entities and municipalities, Florida businesses, and individual consumers.

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644. The State of Florida and its government entities and municipalities, and Florida
individual consumers have been injured and will continue to be injured by paying more for
pharmaceuticals purchased directly and/or indirectly from the Defendants and their co-
conspirators than they would have paid in the absence of the conspiracy.

645. Asa direct and proximate result of the Defendants’ conduct, the State of Florida
and its government entities and municipalities, and Florida individual consumers have been
harmed and will continue to be harmed by paying supra-competitive prices for pharmaceuticals
that they would not had to pay in the absence of the Defendants’ conduct as alleged herein.

646. The sale of pharmaceuticals in the State of Florida involves trade or commerce
within the meaning of the Florida Antitrust Act and the Florida Deceptive and Unfair Trade
Practices Act.

647. Defendants’ combination, conspiracy, acts, and practices, or the effects thereof,
are continuing and will continue and are likely to recur unless permanently restrained and
enjoined.

648. The combination, conspiracy, acts, and practices alleged herein constitute unfair
methods of competition in violation of the Florida Deceptive and Unfair Trade Practices Act,
501. 201, et seq, Florida Statutes.

649. Further, Defendants’ actions offend established public policy and are immoral,
unethical, oppressive, unscrupulous, or substantially injurious to Florida governmental entities,
to municipalities in the State of Florida, and to consumers in the State of Florida in violation of

Section 501.204, Florida Statutes.

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Hawaii

650. Plaintiff State of Hawaii repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

651. The aforementioned practices by Defendants negatively affected competition by
unlawfully restraining trade or commerce, or having the purpose or effect of fixing, controlling
or maintaining prices, allocating or dividing customers or markets, fixing or controlling prices or
bidding for public or private contracts, or otherwise thwarting genuine competition in generic
drug markets, in violation of Chapter 480, Hawaii Revised Statutes.

652. Section 480-2, Hawaii Revised Statutes, provides that “{u]nfair methods of
competition and unfair or deceptive acts or practices in the conduct of any trade or commerce are
unlawful.”

653. The aforementioned practices by Defendants were and are deceptive acts or
practices because they involve representations, omissions, and/or practices that were and are
material, and likely to mislead entities acting reasonably under the circumstances.

654. The aforementioned practices by Defendants: were and are unfair because they
offend public policy as established by statutes, the common law, or otherwise; were and are
immoral, unethical, oppressive, unscrupulous, or substantially injurious to consumer and entities
affected by Defendants’ practices; and were and are unfair competitive conduct.

655. The aforementioned practices are unfair or deceptive acts or practices and unfair
methods of competition in violation of section 480-2, Hawaii Revised Statutes.

656. Plaintiff State of Hawaii is entitled to: injunctive relief pursuant to section 480-
15, Hawaii Revised Statutes, and other equitable relief (including but not limited to restitution

and disgorgement of Defendants’ ill-gotten gains); civil penalties pursuant to section 480-3.1,

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Hawaii Revised Statutes; threefold the actual damages sustained by government agencies; as
parens patriae on behalf of natural persons residing in the State for threefold damages for injuries
sustained by such natural persons to their property by reason of any violation of chapter 480; and
reasonable attorney fees and costs.

Idaho

657. Plaintiff State of Idaho repeats and re-alleges each and every preceding allegation
as if fully set forth herein.

658. Defendants’ actions as alleged herein violate the Idaho Competition Act, Idaho
Code § 48-104, in that they have the purpose and/or the effect of unreasonably restraining Idaho
commerce, as that term is defined by Idaho Code § 48-103(1).

659. For each and every violation alleged herein, Plaintiff State of Idaho, on behalf of
itself, its state agencies, and persons residing in Idaho, is entitled to all legal and equitable relief
available under the Idaho Competition Act, Idaho Code §§ 48-108, 48-112, including, but not
limited to, injunctive relief, actual damages or restitution, civil penalties, disgorgement,
expenses, costs, attorneys’ fees, and such other and further relief as this Court deems just and
equitable.

660. Defendants’ actions constitute per se violations of Idaho Code § 48-104. Pursuant
to Idaho Code § 48-108(2), Plaintiff State of Idaho, as parens patriae on behalf of persons
residing in Idaho, is entitled to treble damages for the per se violations of Idaho Code § 48-104.

Illinois
661. Plaintiff State of Illinois repeats and re-alleges each and every preceding

allegation as if fully set forth herein.

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662. Defendants’ actions as alleged herein violate sections 3(1), 3(2) and 3(3) of the
Illinois Antitrust Act, 740 ILCS 10/1 et seq.

663. Plaintiff State of Illinois, under its antitrust enforcement authority in 740 ILCS
10/7, seeks relief, including but not limited to damages, for Illinois consumers and Illinois state
entities that paid for one or more of the drugs identified in this Consolidated Amended
Complaint during the relevant period and thereby paid more than they would have paid but for
Defendants’ unlawful conduct. Plaintiff State of Illinois also seeks, and is entitled to, injunctive
relief, civil penalties, other equitable relief (including but not limited to disgorgement), fees and
costs, and any other remedy available for these violations under sections 7(1), 7(2), and 7(4) of
the Illinois Antitrust Act.

Indiana

664. Plaintiff State of Indiana repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

665. The aforementioned practices are a violation of Chapter Two of the Indiana
Antitrust Act, Ind. Code § 24-1-2-1, and the Plaintiff State of Indiana seeks recovery pursuant to
LC. § 24-1-2-5.

666. The aforementioned practices are a violation of Chapter One of the Indiana
Antitrust Act, I.C. § 24-1-1-1, and the Plaintiff State of Indiana seeks recovery pursuant to I.C. §
24-1-1-2.

667. The aforementioned practices are unfair and/or deceptive acts by a supplier in the
context of a consumer transaction in violation of the Indiana Deceptive Consumer Sales Act, I.C.

§ 24-5-0.5-3.

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668. Plaintiff State of Indiana under its authority in ILC. § 24-1-2-5, IC. § 24-1-1-2,
and I.C. § 24-5-0.5-4 seeks relief, including but not limited to damages, for Indiana consumers
and Indiana state entities that paid for one or more of the drugs identified in this Consolidated
Amended Complaint during the relevant period and thereby paid more than they would have paid
but for Defendants’ unlawful conduct. Plaintiff State of Indiana also seeks, and is entitled to,
civil penalties, injunctive relief, other equitable relief (including but not limited to
disgorgement), fees and costs and any other remedy available for these violations under the
Indiana Antitrust Act and the Indiana Deceptive Consumer Sales Act.

Iowa

669. Plaintiff State of Iowa repeats and re-alleges each and every preceding allegation
as if fully set forth herein.

670. The alleged practices by Defendants were in violation of the lowa Competition
Law, Iowa Code Chapter 553.

671. Iowa seeks an injunction and divestiture of profits resulting from these practices
pursuant to Iowa Code § 553.12, and civil penalties pursuant to Iowa Code § 553.13.

672. Defendants’ acts and practices as alleged herein also constitute an unfair practice
in violation of the lowa Consumer Fraud Act, lowa Code § 714.16(1)(n) and a deception
pursuant to lowa Code section 714.16(1)(f).

673. Pursuant to lowa Code § 714.16(7), the State of Jowa seeks disgorgement,
restitution, and other equitable relief for these violations. In addition, pursuant to lowa Code
§ 714.16(11), the Attorney General seeks reasonable fees and costs for the investigation and

litigation.

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Kansas

674. Plaintiff State of Kansas repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

675. The aforementioned practices by Defendants were and are in violation of the
Kansas Restraint of Trade Act, Kan. Stat. Ann. §§ 50-101 et seq.

676. The State of Kansas seeks relief on behalf of itself and its agencies and as parens
patriae on behalf of its residents, pursuant to Kan. Stat. Ann. §§ 50-103 and 50-162.

677. Kansas governmental entities and residents are entitled to money damages
regardless of whether they purchased one or more of the drugs identified in this Consolidated
Amended Complaint directly or indirectly from Defendants, pursuant to Kan. Stat. Ann.

§ 50-108(b).

678. The State of Kansas is entitled to injunctive relief, civil penalties, restitution,
treble damages, reasonable expenses and investigative fees, reasonable attorney fees and costs,
and any other appropriate relief the court so orders, pursuant to Kan. Stat. Ann. §§ 50-103,
50-108, 50-160, and 50-161.

Kentucky

679. Plaintiff Commonwealth of Kentucky repeats and re-alleges each and every
preceding allegation as if fully set forth herein. The aforementioned acts or practices by
Defendants violate the Consumer Protection Act, Ky. Rev.Stat.Ann.§ 367.110 et seq. (“KCPA”)

680. Defendants, by distributing, marketing and selling generic pharmaceutical drugs
to consumers through wholesalers and distributors, pharmacy and supermarket chains, and other
resellers of generic pharmaceutical drugs and otherwise engaging in the conduct described herein

with respect to the generic pharmaceutical drugs identified herein, are engaging in trade or

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commerce that harmed the Commonwealth and consumers within the meaning of Ky.Stat.Ann.
§367.170.

681. Defendants impaired consumer choice in each generic drug market identified
herein in what should have been a freely competitive marketplace for the generic pharmaceutical
drugs identified herein. Defendants have deprived consumers of being able to meaningfully
choose from the options a competitive market would have provided.

682. The Defendants agreed to, and did in fact, act in restraint of trade or commerce in
each generic drug market identified herein, by affecting, fixing, controlling and/or maintaining at
artificial and non-competitive levels, the prices at which the generic pharmaceutical drugs
identified herein were sold, distributed or obtained. Such conduct has been and is unfair under
the KCPA.

683. Defendants have misrepresented the absence of competition in each generic drug
market identified herein. By misrepresenting and/or omitting material facts concerning the
absence of competition in each generic drug market identified herein, the Defendants misled the
Commonwealth that prices for the numerous generic pharmaceutical drugs identified herein were
competitive and fair. Defendants’ conduct has been misleading and/or had a tendency to deceive.

684. The Defendants’ misrepresentations and omission of material facts had the
following effects: (1) generic drug price competition was restrained, suppressed and eliminated;
(2) generic drug prices were raised, fixed, maintained and stabilized at artificially-high levels; (3)
the Commonwealth was deprived of free and open markets; and (4) the Commonwealth and
consumers paid supra-competitive, artificially inflated prices for the generic pharmaceutical
drugs identified herein. The Defendants’ misrepresentations and omissions of material facts have

caused Commonwealth harm in paying more for generic pharmaceutical drugs identified herein.

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685.

686.

Defendants violated the KCPA:

Each time Defendants agreed to allocate the market for specific drugs in
the generic pharmaceutical drug market as set forth above;

Each time Defendants agreed to fix prices on the specified drugs in the
specified drug markets as set forth above;

Each time a Defendant failed to disclose the existence of a market
allocation agreement and/or a price-fixing agreement involving any of the
numerous generic pharmaceutical drugs identified herein;

Each time a Defendant submitted false or misleading cover bids and/or
offers to their customers and wholesalers;

Each time a Defendant provided false or misleading statements to
prospective customers related to supply capacity or reasons for bidding or
not bidding;

Each time a request for reimbursement was made to the Commonwealth
for any of the numerous generic pharmaceutical drugs identified herein;
and

Each time the Commonwealth or its consumers paid an artificially inflated
price for any of the numerous generic pharmaceutical drugs identified

herein the Defendants’ distributed, marketed or sold.

The above described conduct has been and is willful within the meaning of

Ky.Stat.Ann. §367.990.

687.

The Commonwealth states that the public interest is served by seeking a

permanent injunction to restrain the acts and practices described herein. The Commonwealth and

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its citizens will continue to be harmed unless the acts and practices complained of herein are
permanently enjoined pursuant to Ky.Stat.Ann. §367.190. Further, the Commonwealth seeks
restitution to the Commonwealth and/or disgorgement pursuant to Ky.Stat.Ann.§§ 367.190 -.200.
The Commonwealth seeks a civil penalty of up to $2,000 for each such willful violation, or
$10,000 for each such violation directed at a person over 60 pursuant to Ky.Stat.Ann.§ 367.990.

Unjust Enrichment

688. Defendants have been unjustly enriched as a result of the conduct set forth herein.
The Commonwealth and consumers were purchasers, reimbursers and/or end-payors of
Defendants’ generic pharmaceutical drugs identified herein and have paid, at their expense,
amounts far in excess of the competitive prices for such drugs that would have prevailed in a
competitive and fair market.

689. For those customers that purchase directly or indirectly from Defendants at
artificially inflated and supra-competitive prices, Defendants have increased prices above what
would have prevailed in a competitive and fair market; thereby, directly benefiting Defendants in
the form of increased revenues.

690. Defendants knew of, and appreciated and retained the benefits of Commonwealth
and consumers’ purchases of any of the Defendants’ generic pharmaceutical drugs identified
herein at amounts far in excess of the competitive price.

691. Based on Defendants’ conduct set for herein, it would be inequitable and unjust
for Defendants to retain such benefits without payment of value. Defendants will be unjustly
enriched if they are permitted to retain the direct or indirect benefits received resulting from the
purchase of any of the generic pharmaceutical drugs identified herein by the Commonwealth.

The Commonwealth therefore seeks to recover the amounts that unjustly enriched the

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Defendants. The Commonwealth is entitled to equitable relief in the form of an injunction and
disgorgement, and any other relief the Court deems appropriate.
Louisiana

692. Plaintiff State of Louisiana repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

693. The practices of Defendants described herein are in violation of the Louisiana
Monopolies Act, LSA-R.S. 51:121 et seq., and the Louisiana Unfair Trade Practices Act, LSA-
R.S. 51:1401 et. seq.

694. Plaintiff State of Louisiana is entitled to injunctive relief and civil penalties under
LSA-R.S. 51:1407 as well as damages, disgorgement and any other equitable relief that the court
deems proper under LSA-R.S. 51:1408.

Maine

695. Plaintiff State of Maine repeats and re-alleges each and every preceding allegation
as if fully set forth herein.

696. The aforementioned practices by Defendants are in violation of the Maine
Monopolies and Profiteering Law, 10 M.R.S. §§ 1101 and 1102, and Plaintiff State of Maine is
entitled to relief for these violations under 10 M.R.S. § 1104.

697. The aforementioned practices by Defendants are intentional and in violation of
the Maine Unfair Trade Practices Act, 5 M.R.S. § 207, and Plaintiff State of Maine is entitled to
relief for those violations under 5 M.R.S. § 209.

Maryland
698. Plaintiff State of Maryland repeats and re-alleges each and every preceding

allegation as if fully set forth herein.

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699. The aforementioned practices by Defendants were and are in violation of the
Maryland Antitrust Act, Md. Com. Law Code Ann. §§ 11-201 et seq. These violations
substantially affect the people of Maryland and have impacts within the State of Maryland.

700. Plaintiff State of Maryland brings this action against Defendants in the following
capacities:

a. Pursuant to Md. Com. Law Code Ann. § 11-209(a) in its sovereign
capacity for injunctive relief, civil penalties, restitution, disgorgement and
all other available equitable remedies;

b. Pursuant to Md. Com Law Code Ann. § 11-209(b)(5) as parens patriae on
behalf of persons residing in Maryland. These persons are entitled to three
times the amount of money damages sustained regardless of whether they
have purchased generic pharmaceuticals directly or indirectly from
Defendants. Md. Health Gen. Code Ann. § 21-1114.

701. Plaintiff State of Maryland also seeks, pursuant to Md. Com. Law Code Ann.

§ 11-209(b), reimbursement of reasonable attorney's fees, expert fees and costs.
Massachusetts

702. Plaintiff Commonwealth of Massachusetts repeats and re-alleges each and every
preceding allegation as if fully set forth herein.

703. The aforementioned practices by Defendants, including but not limited to
agreements in restraint of trade and/or attempted agreements in restraint of trade, constitute
unfair methods of competition and/or unfair or deceptive acts or practices in trade or commerce

in violation of the Massachusetts Consumer Protection Act, M.G.L c. 93A, § 2 et seq.

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704. Defendants knew or should have known that their conduct violated the
Massachusetts Consumer Protection Act, M.G.L c. 93A, § 2 et seq.

705. Plaintiff Commonwealth of Massachusetts is entitled to relief under M.G.L. c.
93A, § 4, including, without limitation, damages and restitution to Massachusetts consumers and
Massachusetts governmental purchasers; civil penalties for each violation committed by the
Defendants; injunctive relief and other equitable relief including, without limitation,
disgorgement; fees and costs including, without limitation, costs of investigation, litigation, and
attorneys’ fees; and any other relief available under M.G.L. c. 93A, § 4.

706. — Plaintiff Commonwealth of Massachusetts notified the Defendants of this
intended action at least five days prior to the commencement of this action and gave the
Defendants an opportunity to confer in accordance with M.G. L. c. 93A, § 4.

Michigan

707. Plaintiff State of Michigan repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

708. The State of Michigan brings this action both on behalf of itself, its State
Agencies, and as parens patriae on behalf of natural persons, pursuant to Mich. Comp. Laws
§14.28, and §14.101, to enforce public rights and to protect residents and its general economy
against violations of the Michigan Antitrust Reform Act, Mich. Comp. Laws § 445.771, et seq.,
the Michigan Consumer Protection Act, Mich. Comp. Laws §445.901 et. seq., and the common
law of the State of Michigan.

709. The aforementioned practices by Defendants were and are in violation of the
Michigan Antitrust Reform Act, Mich. Comp. Laws § 445.771, et seq., the Michigan Consumer

Protection Act, Mich. Comp. Laws §445.901 et. seq., and the common law of the State of

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Michigan. As a result of Defendant's unfair, unconscionable, or deceptive methods, acts, or
practices in the conduct of trade and Defendants’ conspiracy to restrain trade for the purpose of
excluding or avoiding competition, all as more fully described above, the Plaintiff State of
Michigan, its agencies, and consumers have suffered and been injured in business and property
by reason of having to purchase or reimburse at supra-competitive prices as direct and indirect
purchasers and will continue to suffer ascertainable loss and damages in an amount to be
determined at trial.

710. Accordingly, Plaintiff State of Michigan on behalf of itself, its agencies, and as
parens patriae on behalf of its consumers affected by Defendants' illegal conduct, is entitled to
relief including but not limited to injunctive relief and other equitable relief (including but not
limited to disgorgement), civil penalties, damages, costs and attorney fees.

Minnesota

711. Plaintiff State of Minnesota repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

712. Defendants’ acts as alleged herein violate the Minnesota Antitrust Law of 1971,
Minn. Stat. §§ 325D.49-.66, Plaintiff State of Minnesota seeks relief, including but not limited
to:

a. damages for itself, its state agencies that paid for the generic
pharmaceutical drugs identified herein, and as parens patriae on behalf of
its consumers. Plaintiff State of Minnesota is entitled to damages under
Minn. Stat. § 8.31, subd. 3a and treble damages under Minn. Stat.

§ 325D.57;

b. disgorgement under Minn. Stat. § 325D.59 and Minn. Stat. Ch. 8;

c. injunctive relief under Minn. Stat. §§ 325D.58 and Minn. Stat. § 8.31,
subd. 3;

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d. costs and reasonable attorneys’ fees under Minn. Stat. § 325D.57 and
Minn. Stat. § 8.31, subd. 3a; and

e. civil penalties under Minn. Stat. § 325D.56 and Minn. Stat. § 8.31, subd.

713. The Defendants deceptively misrepresented to Plaintiff State of Minnesota, its
state agencies and Minnesota consumers that Defendants’ pricing at which the numerous generic
pharmaceutical drugs identified herein were sold, distributed or obtained in Minnesota was
competitive and fair.

714. The Defendants’ deceptive misrepresentations and failure to disclose material
facts had the following effects: (1) generic drug price competition was restrained, suppressed and
eliminated throughout Minnesota; (2) generic drug prices were raised, fixed, maintained and
stabilized at artificially-high levels throughout Minnesota; (3) Plaintiff State of Minnesota, its
state agencies and Minnesota consumers were deprived of free and open markets; and (4)
Plaintiff State of Minnesota, its state agencies and Minnesota consumers paid supra-competitive,
artificially inflated prices for the numerous generic pharmaceutical drugs identified herein.

715. The Defendants’ deceptive misrepresentations and failure to disclose material
facts have caused Plaintiff State of Minnesota, its state agencies, and Minnesota consumers to
suffer and to continue to suffer loss of money or property, real or personal, by means of
Defendants’ use or employment of deceptive commercial practices as set forth above.

716. Defendants violated the deceptive trade practices laws of Minnesota:

a. Each time a Defendant failed to disclose the existence of a market
allocation agreement and/or a price-fixing agreement involving any of the

numerous generic pharmaceutical drugs identified herein;

b. Each time a Defendant submitted false or misleading cover bids and/or
offers to their customers and wholesalers;

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Each time a Defendant provided false or misleading statements to
prospective customers related to supply capacity or reasons for bidding or
not bidding;

Each time each Plaintiff State of Minnesota, its state agencies and
Minnesota consumers paid an artificially inflated price for any of the
numerous generic pharmaceutical drugs identified herein; and

Each time a request for reimbursement was made to Minnesota for any of
the numerous generic pharmaceutical drugs identified herein.

717. The Defendants’ conduct is unlawful pursuant to the Uniform Deceptive Trade

Practices Act of 1973, Minn. Stat. §§ 325D.43-.48 and Minn. Stat. Ch. 8. The aforesaid methods,

acts or practices constitute deceptive acts under this Act, including, but not limited to:

a.

Representing “that goods or services have sponsorship, approval,
characteristics, ingredients, uses, benefits, or quantities that they do not
have or that a person has a sponsorship, approval, status, affiliation, or
connection that the person does not have” in violation of Minn. Stat.

§ 325D.44, subd. 1(5);

Representing “that goods or services are of a particular standard, quality,
or grade, or that goods are of a particular style or model, if they are of
another” in violation of Minn. Stat. § 325D.44, subd. 1(7); and

Engaging “in any other conduct which similarly creates a likelihood of
confusion or of misunderstanding” in violation of Minn. Stat. § 325D.44,
subd. 1(13).

718. Some or all of these violations by Defendants were willful.

719. Plaintiff State of Minnesota seeks relief for violations of Uniform Deceptive

Trade Practices Act of 1973, Minn. Stat. §§ 325D.43-.48 including but not limited to:

a.

damages for itself, its state agencies that paid for the generic
pharmaceutical drugs identified herein, and as parens patriae on behalf of
its consumers under Minn. Stat. § 325D.45, subd. 3 and Minn. Stat. § 8.31,
subd. 3a;

disgorgement under Minn. Stat. § 325D.45, subd. 3, Minn. Stat. Ch. 8, and
Minnesota common law;

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c. injunctive relief under Minn. Stat. § 325D.45, subd. 1 and Minn. Stat.
§ 8.31, subd. 3;
d. costs and reasonable attorneys’ fees under Minn. Stat. § 325D.44 and

Minn. Stat. § 8.31, subd. 3a; and
e. civil penalties under Minn. Stat. § 8.31, subd. 3.

720. By reason of the foregoing, the Defendants have been unjustly enriched as a result
of the conduct set forth herein with respect to Plaintiff State of Minnesota, its state agencies that
paid for the generic pharmaceutical drugs identified herein, and its consumers.

721. Plaintiff State of Minnesota, its state agencies that paid for the generic
pharmaceutical drugs identified herein, and its consumers were purchasers, reimbursers and/or
end-payors of Defendants’ generic pharmaceutical drugs identified herein and have paid amounts
far in excess of the competitive prices for such drugs that would have prevailed in a competitive
and fair market.

722. Defendants knew of and appreciated, retained, or used, the benefits of Plaintiff
State of Minnesota, its state agencies that paid for the generic pharmaceutical drugs identified
herein, and its consumers’ purchases of any of the Defendants’ generic pharmaceutical drugs
identified herein at amounts far in excess of the competitive price. Defendants engaged in the
conduct described herein to allocate or preserve the market share of the numerous generic
pharmaceutical drugs identified herein thereby increasing their sales and profits.

723. For those customers that purchase directly or indirectly from Defendants at
artificially inflated and supra-competitive prices, Defendants have increased prices above what
would have prevailed in a competitive and fair market; thereby, directly benefiting Defendants in

the form of increased revenues.

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724, Based on Defendants’ conduct set forth herein, it would be inequitable and unjust
for Defendants to retain such benefits without payment of value.

725. Defendants will be unjustly enriched if they are permitted to retain the direct or
indirect benefits received or used resulting from the purchase of any of the numerous generic
pharmaceutical drugs identified herein by Plaintiff State of Minnesota, its state agencies that paid
for the generic pharmaceutical drugs identified herein, and its consumers. Plaintiff State of
Minnesota, on behalf of itself, its state agencies that paid for the generic pharmaceutical drugs
identified herein, and as parens patriae on behalf of its consumers, seeks to recover the amounts
that unjustly enriched the Defendants.

726. Plaintiff State of Minnesota seeks relief, on behalf of itself, its state agencies that
paid for the generic pharmaceutical drugs identified herein, and as parens patriae on behalf of its
consumers, and is therefore entitled to equitable relief in the form of an injunction, restitution
and disgorgement and any other relief the Court deems appropriate under Minn. Stat. Ch. 8 and
Minnesota common law for unjust enrichment.

Mississippi

727. Plaintiff State of Mississippi repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

728. Defendants’ acts violate Miss. Code Ann. § 75- 21-1 et seq., and Plaintiff State of
Mississippi is entitled to relief under Miss. Code Ann. § 75- 21-1 et seq.

729, The aforesaid conduct was not only anti-competitive but was also unfair and
deceptive to the consumers of the State of Mississippi, therefore Defendants' acts violate the

Mississippi Consumer Protection Act, Miss. Code Ann. § 75-24-1, et seq., and Plaintiff State of

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Mississippi is entitled to relief under the Mississippi Consumer Protection Act, Miss. Code Ann.
§ 75-24-1, et seq.

730. Pursuant to Miss. Code Ann. § 75-21-1 et seq., and the Mississippi Consumer
Protection Act, Miss. Code Ann. § 75-24-1, et seq., Plaintiff State of Mississippi seeks and is
entitled to injunctive relief, damages, disgorgement, civil penalties, costs, attorney fees, and any
other just and equitable relief which this Court deems appropriate.

Missouri

731. Plaintiff State of Missouri repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

732. The aforementioned practices by Defendants violate the Missouri Antitrust Law,
Missouri Rev. Stat. §§ 416.011 et seq., and Missouri’s Merchandising Practices Act, Missouri
Rev. Stat. §§ 407.010 et seq., as further interpreted by 15 CSR 60-8.010 et seq. and 15 CSR 60-
9.01 et seq., and the State of Missouri is entitled to an injunction, disgorgement, civil penalties
and any other relief available under the aforementioned Missouri statutes and regulations.

733. The State of Missouri also seeks its costs and attorney fees incurred in the
prosecution of this action.

Montana

734. Plaintiff State of Montana repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

735. Defendants’ acts and practices described in this Complaint violate Montana’s
Unfair Trade Practices and Consumer Protection Act, Mont Code Ann. § 30-14-101 et seq.,
including § 30-14-103, and Unfair Trade Practices Generally, Mont. Code Ann. § 30-14-201 et

seq., including § 30-14-205.

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736. Mont. Code Ann § 30-14-103 prohibits unfair methods of competition and unfair
or deceptive acts or practices in the conduct of any trade or commerce. Mont. Code Ann. § 30-
14-102(8) defines the terms “trade” and “commerce” as meaning “the advertising, offering for
sale, sale, or distribution of any services, any property, tangible or intangible, real, personal, or
mixed, or any other article, commodity, or thing of value, wherever located, and includes any
trade or commerce directly or indirectly affecting the people of this state.”

737. Montana’s standard for ‘unfairness’ as prohibited under Mont. Code Ann. § 30-
14-103 is articulated in Rohrer v. Knudson, 203 P.3d 759 (Mont. 2009) as an act or practice
which “offends established public policy and which is either immoral, unethical, oppressive,
unscrupulous or substantially injurious to consumers.”

738. Mont Code Ann. § 30-14-205 states that it is unlawful for a person or group of
persons, directly or indirectly:

(i) to enter an agreement for the purpose of fixing the price or regulating the
production of an article of commerce;

(2) for the purpose of creating or carrying out any restriction in trade to: (a)
limit productions; (b) increase or reduce the price of merchandise or
commodities; (c) prevent competition in the distribution or sale of
merchandise or commodities; (d) fix a standard or figure whereby the
price of an article of commerce intended for sale, use, or consumption will
be in any way controlled.

739. Defendants’ anticompetitive and unfair and/or deceptive acts and practices in the
marketing and sale of pharmaceuticals as described in this Complaint occurred in the conduct of

“trade” and “commerce” as defined by Montana law.

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740. Defendants’ anticompetitive and unfair and/or deceptive acts and practices in the
marketing and sale of pharmaceuticals as described in this Complaint offend established public
policy. Those acts and practices are also unethical, oppressive, and unscrupulous and have
substantially injured and continue to injure Montanans through supra-competitive prices.

741. Defendants’ price-fixing and market allocating conduct as described in this
Complaint violates the plain language of Mont. Code Ann. § 30-14-205(1) and (2).

742. Defendants’ unlawful conduct was willful as defined in Mont. Code Ann. § 30-
14-142(4).

743. Plaintiff State of Montana is entitled to all equitable relief and the maximum civil
penalties available under Mont. Code Ann. § 30-14-101 et seq. and § 30-14-201 et seq.,
including but not limited to Mont. Code Ann. §§ 30-14-111(4), -131, -142(2), and -222. Plaintiff
State of Montana also seeks reasonable attorneys’ fees and costs.

Nebraska

744, Plaintiff State of Nebraska repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

745. Defendants’ actions as alleged herein violate the Unlawful Restraint of Trade Act,
Neb. Rev. Stat. § 59-801 et seq. and the Consumer Protection Act, Neb. Rev. Stat. § 59-1601 et
seq. Specifically, Defendants’ actions constitute unreasonable restraints of trade or commerce in
violation of Neb. Rev. Stat. § 59-801 and Neb. Rev. Stat. § 59-1603, and Defendants’ actions
constitute unfair methods of competition in violation of Neb. Rev. Stat. § 59-1602. The sale of
pharmaceuticals to the State of Nebraska and its citizens constitutes trade or commerce as
defined in Neb. Rev. Stat. § 59-1601. These violations have had an impact, directly and

indirectly, upon the public interest of the State of Nebraska, for the State of Nebraska, its state

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agencies, and its citizens have been injured and continue to be injured by paying supra-
competitive prices for pharmaceuticals purchased directly and/or indirectly from the Defendants.

746. Accordingly, Plaintiff State of Nebraska, on behalf of itself, its state agencies, and
as parens patriae for all citizens within the state, seeks all relief available under the Unlawful
Restraint of Trade Act, the Consumer Protection Act, and Neb. Rev. Stat. § 84-212. Plaintiff
State of Nebraska is entitled to relief including, but not limited to: damages, disgorgement, civil
penalties, equitable relief, injunctive relief, and its costs and attorney’s fees pursuant to Neb.
Rev. Stat. §§ 59-803, 59-819, 59-821, 59-1608, 59-1609, 59-1614, and 84-212.

Nevada

747. Plaintiff State of Nevada repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

748. As alleged in Sections IV and VI, supra, the Defendants’ conduct was and is
directed at consumers nationwide, including in Nevada, and was overtly deceptive; not merely
anticompetitive. Accordingly, the aforementioned acts and practices by Defendants were, and
are, in violation of the Nevada Deceptive Trade Practices Act, Nev. Rev. Stat. § 598.0903, et
seq., and specifically the following:

(a) NRS 598.0915(15), a person engages in a deceptive trade practice by
knowingly making a false representation in a transaction;

(b) NRS 598.0923(2), a person engages in a deceptive trade practice by
failing to disclose a material fact in connection with the sale or lease of

goods or services; and

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(c) NRS 598.0923(3), a person engages in a deceptive trade practice by
violating a state or federal statute or regulation relating to the sale or lease
of goods or services.

749. As alleged in Sections IV, V and VI, supra, the Defendants’ anticompetitive
conduct produced, and continues to produce, harm across the Plaintiff States, including in
Nevada. Accordingly, the aforementioned acts and practices by Defendants were, and are, also
in violation of the Nevada Unfair Trade Practices Act, Nev. Rev. Stat. § 598A.010, et seq., and
specifically the following:

(a) NRS 598A.060(a), competitors unlawfully restrain trade by engaging in
price fixing;

(b) NRS 598A.060(b), competitors unlawfully restrain trade by agreeing to
division of markets; and

(c) NRS 598A.060(c), competitors unlawfully restrain trade by agreeing to
allocate customers.

750. Accordingly, Plaintiff State of Nevada seeks all relief available under the Nevada
Deceptive Trade Practices Act, the Nevada Unfair Trade Practices Act, and common law.
Plaintiff State of Nevada is entitled to relief including but not limited to: disgorgement,
injunctions, civil penalties, damages, and its costs and attorney's fees pursuant to Nev. Rev. Stat.
§§ 598.0963, 598.0973, 598.0999, 598A.160, 598A.170, 598A.200 and 598A.250.

New Hampshire
751. Plaintiff State of New Hampshire repeats and re-alleges each and every preceding

allegation as if fully set forth herein.

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752. The aforementioned collusive actions, practices and conduct by Defendants
violate the New Hampshire Antitrust Provisions, N.H. RSA 356:1, et seq., by, among other
things, unlawfully restraining trade or commerce, or having the purpose or effect of fixing,
controlling or maintaining prices, allocating or dividing customers or markets, fixing or
controlling prices or bidding for public or private contracts, or otherwise thwarting genuine
competition in generic drug markets. Defendants impaired the competitive process which
deprived New Hampshire consumer and customers of free and open market place for generic
products and/or of paying a price for the generic pharmaceutical drugs identified herein which
would have been competitive and fair absent agreements to allocate customers, fix prices, and
stabilize artificially inflated prices.

753. The aforementioned actions, practices and conduct by Defendants as suppliers in
commercial transactions also violate the New Hampshire Consumer Protection Act, N.H. RSA
358-A:1 et seq. by using unfair or deceptive business acts or practices, or methods of
competition, in the conduct of trade or commerce including, among other things, pricing generic
health care pharmaceutical goods in a manner that tends to harm competition; making
misrepresentations, taking steps to conceal, failing to disclose a material fact, and/or
participating in maintaining artificially inflated pricing in connection with the sale or
advertisement of such generic products; or otherwise thwarting and harming genuine competition
in generic drug markets as identified herein. Illegal conduct included, agreement to and, in fact,
acting to restrain trade or commerce in each generic drug market identified herein, by affecting,
fixing, controlling and/or maintaining at artificial and non-competitive levels, the prices at which
the numerous generic pharmaceutical drugs identified herein were sold, distributed or obtained in

the State of New Hampshire; as well as, among other things, submitting false or misleading

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cover bids and/or offers to the customers and wholesalers, and/or providing false or misleading
statements to prospective customers relating to supply capacity or reasons for bidding or not
bidding, and/or otherwise engaging in a course of conduct to induce contracting and purchasing
of generic products by customers at artificially inflated prices.

754. Defendants’ illegal conduct, collectively and individually, all relates to generic
products that are intended and expected by consumers, private entities, and public entities to
provide great savings for consumers and purchasing entities in the health care industry, offending
public policy and comprising deceptive, unfair, immoral, unethical, oppressive or unscrupulous
conduct. NH RSA 358-A:2.

755. These violations artificially inflated prices of generic drugs, substantially
affecting and harming the people of New Hampshire (consumers, public entities, and private
entities, alike) and having various past and ongoing harmful impacts within the state including
affecting New Hampshire commerce and affecting the choice of generic drugs available to
and/or prices paid by consumers and entities. The State of New Hampshire has reason to believe
that Defendants directly and/or indirectly through nationwide or regional distributors,
wholesalers, and retailers, sold or marketed the generic drugs at issue to the State of New
Hampshire, its agencies and municipalities, to New Hampshire businesses, and to individual
consumers, and that such products were received and purchased by such consumers and entities
within the state, whether dealing with Defendants directly or indirectly.

756. The State of New Hampshire has reason to believe that Defendants received ill-
gotten gains or proceeds as a result of their illegal conduct, and it would be inequitable and
unjust for Defendants to retain such profits and benefits without payment of value.

757. Some or all of the violations by Defendants were willful and flagrant.

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758. The State of New Hampshire brings this action in its law enforcement capacity as
a sovereign or quasi-sovereign and in a parens patriae capacity on behalf of state consumers of
generic products, seeking legal and equitable remedies available under the New Hampshire
Antitrust Provisions, under the New Hampshire Consumer Protection Act, and under common
law such as unjust enrichment. New Hampshire seeks restoration to state consumers for
ascertainable loss incurred in making payments and purchases, whether direct or indirect, in
relation to the generic drug products identified herein, through among other things, restitution,
disgorgement, and/or injunctive relief. New Hampshire seeks injunctive relief to prohibit
Defendants from engaging in the unlawful business practices identified herein; civil penalties (in
double/treble multipliers); and recovery for compensable investigation and litigation costs,
expenses and attorney’s fees, and other relief as this Court deems just and equitable. See N.H.
RSA 356:4 et seq.; N.H. RSA 358-A:1 et seq.

759. Plaintiff State of New Hampshire notified Defendants of this intended action at
least ten days prior to the commencement of this action and gave Defendants an opportunity to
confer with the attorney general in accordance with NH RSA 358-A:5.

New Jersey

760. Plaintiff State of New Jersey repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

761. Defendants’ actions as alleged herein violate the New Jersey Antitrust Act,
N.J.S.A. 56:9-1 et seq., in that they have the purpose and/or effect of unreasonably restraining
trade and commerce within the State of New Jersey and elsewhere. N.J.S.A. 56:9-3. Plaintiff
State of New Jersey seeks relief including but not limited to, treble damages for New Jersey

consumers and state agencies that paid for one or more of the drugs identified in this

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Consolidated Amended Complaint, injunctive relief, disgorgement, restitution, civil penalties
and attorneys’ fees and investigative costs. N.J.S.A. 56:9-10, -12.

762. Defendants’ actions as alleged herein violate the New Jersey Consumer Fraud
Act, N.J.S.A. 56:8-1 et seq., in that Defendants’ made misleading statements, omitted material
facts and engaged in unconscionable commercial practices in connection with the advertising,
offering for sale and sale of one or more of the drugs identified in this Consolidated Amended
Complaint. N.J.S.A. 56:8-2. Plaintiff State of New Jersey seeks relief including but not limited
to, injunctive relief, disgorgement, restitution, civil penalties and attorneys’ fees and
investigative costs. N.J.S.A. 56:8-8, -11, -13 and -19.,

New Mexico

763. Plaintiff State of New Mexico repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

764. The State of New Mexico, through its Attorney General, brings this enforcement
action as parens patriae in its sovereign and quasi-sovereign capacity and in its proprietary
capacity on behalf of the State, including its agencies and entities, to recover damages to the
State, its residents, its economy, and all such other relief as may be authorized by statute or
common law.

765. The aforementioned actions and practices by Defendants were and are a contract,
agreement, combination, or conspiracy in an unreasonable restraint of trade or commerce in New
Mexico, thus violating the New Mexico Antitrust Act, N.M. Stat. Ann. § 57-1-1 et seq.

766. The aforementioned actions and practices by Defendants were unfair or deceptive
trade practices as they were false or misleading oral or written statements or other

representations made in connection with the sale of goods in the regular course of their trade or

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commerce, that may, tended to or did deceive or mislead consumers. These practices included
false or misleading statements of fact concerning the price of drugs and failures to state material
facts about the costs of drugs, actions that deceived or tended to deceive consumers.
Additionally, Defendants’ actions constituted unconscionable trade practices, because they
resulted in supra-competitive prices for the aforementioned drugs, resulting in a gross disparity
between the prices paid by consumers and the valued received. These practices and actions
violated the New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57-12-1 et. seq.

767. The aforementioned actions and practices by Defendants also constitute unfair
competition and unjust enrichment under New Mexico’s common law.

768. Accordingly, the State of New Mexico is entitled remedies available to it under
the New Mexico Antitrust Act, the New Mexico Unfair Practices Act, and New Mexico common
law, including injunctive relief, actual, treble, and statutory damages, restitution, disgorgement,
civil penalties, costs, attorney’s fees, and any other appropriate monetary and injunctive relief.
See N.M. Stat. Ann. §§ 57-1-3, -7, -8; N.M. Stat. Ann. § 57-12-8, -10, -11.

New York

769. Plaintiff State of New York repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

770. The aforementioned practices by the Defendants violate New York antitrust law,
the Donnelly Act, New York Gen. Bus. Law §§ 340-342c, and constitute both "fraudulent" and
"illegal" conduct in violation of New York Executive Law § 63(12).

771. Plaintiff State of New York seeks relief, including but not limited to damages, for
New York consumers and New York state entities that paid for one or more of the drugs

identified in this Consolidated Amended Complaint during the relevant period and thereby paid

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more than they would have paid but for Defendants’ unlawful conduct. Plaintiff State of New
York also seeks, and is entitled to, civil penalties, injunctive relief, other equitable relief
(including but not limited to disgorgement), and fees and costs.

North Carolina

772. Plaintiff State of North Carolina repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

773. Defendants' acts of distributing, marketing and selling generic pharmaceutical
drugs to consumers through drug wholesalers and distributors, pharmacy and supermarket
chains, and other resellers of generic pharmaceutical drugs and in otherwise engaging in the
conduct more fully described herein with respect to the numerous generic pharmaceutical drugs
identified herein, the Defendants are engaging in trade or commerce that directly or indirectly
harmed North Carolina consumers pursuant to North Carolina’s Unfair and Deceptive Trade
Practices Act, N.C. Gen. Stat. § 75-1 et seq.

774. The Defendants agreed to, and did in fact, act in restraint of trade or commerce in
each generic drug market identified herein that includes North Carolina, by affecting, fixing,
controlling and/or maintaining at artificial and non-competitive levels, the prices at which the
numerous generic pharmaceutical drugs identified herein were sold, distributed or obtained in
North Carolina, deprived North Carolina consumers from paying a price for the numerous
generic pharmaceutical drugs identified herein which would have been competitive and fair
absent the agreement to allocate customers and fix prices.

775. The aforesaid methods, acts or practices constitute unfair methods of competition

and/or unfair acts or practices within their meaning under the North Carolina Unfair and

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Deceptive Trade Practices Act, and are injurious to North Carolina consumers and the general
economy of the State of North Carolina, including, but not limited to:
a. Violating Section 1 of the Sherman Act, 15 U.S.C § 1, through engaging
in a market allocation agreement as set forth in the preceding counts;
b. Violating Section 1 of the Sherman Act, 15 U.S.C § 1, through engaging
in a price-fixing agreement as set forth in the preceding counts;
C. Engaging in any conduct which causes substantial injury to consumers.

776. By deceptively misrepresenting and/or omitting material facts concerning the
absence of competition in each generic drug market identified herein to the State of North
Carolina and North Carolina consumers, the Defendants misled the State of North Carolina and
North Carolina consumers into believing that prices for the numerous generic pharmaceutical
drugs identified herein were competitive and fair in violation of the North Carolina Unfair and
Deceptive Trade Practices Act.

777. The Defendants agreed to, and did in fact, act in restraint of trade or commerce in
each generic drug market identified herein that includes North Carolina, by affecting, fixing,
controlling and/or maintaining at artificial and non-competitive levels, the prices at which the
numerous generic pharmaceutical drugs identified herein were sold, distributed or obtained in
North Carolina.

778. The Defendants’ impairment of choice and the competitive process had the
following effects: (1) generic drug price competition was restrained, suppressed and eliminated
throughout North Carolina; (2) generic drug prices were raised, fixed, maintained and stabilized
at artificially-high levels throughout North Carolina; (3) the State of North Carolina and North

Carolina consumers were deprived of free and open markets; and (4) the State of North Carolina

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and North Carolina consumers paid supra-competitive, artificially inflated prices for the
numerous generic pharmaceutical drugs identified herein.

779. The Defendants’ impairment of choice and the competitive process have caused
the State of North Carolina and North Carolina consumers to suffer and to continue to suffer loss
of money or property, real or personal, by means of Defendants’ use or employment of unfair
methods of competition and/or unfair acts or practices as set forth above.

780. The Defendants’ deceptive misrepresentations and failure to disclose material
facts had the following effects: (1) generic drug price competition was restrained, suppressed
and eliminated throughout North Carolina; (2) generic drug prices were raised, fixed, maintained
and stabilized at artificially-high levels throughout North Carolina; (3) the State of North
Carolina and North Carolina consumers were deprived of free and open markets; and (4) the
State of North Carolina and North Carolina consumers paid supra-competitive, artificially
inflated prices for the numerous generic pharmaceutical drugs identified herein.

781. The Defendants’ deceptive misrepresentations and failure to disclose material
facts have caused the State of North Carolina and North Carolina consumers to suffer and to
continue to suffer loss of money or property, real or personal, by means of Defendants’ use or
employment of deceptive commercial practices as set forth above.

782. Defendants violated the North Carolina Unfair and Deceptive Trade Practices
Act:

a. Each time Defendants agreed to participate in the overarching conspiracy
within the generic pharmaceutical drug market as set forth in Paragraphs

85 to 106;

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b.

h.

Each time Defendants agreed to allocate the market for specific drugs in
the generic pharmaceutical drug market as set forth in Paragraphs 110 to
233;

Each time Defendants agreed to fix prices on the specified drugs in the
specified drug markets as set forth in Paragraphs 234 to 431;

Each time the State of North Carolina or a North Carolina consumer paid
an unfairly or unconscionably inflated price for any of the numerous
generic pharmaceutical drugs identified herein;

Each time a Defendant failed to disclose the existence of a market
allocation agreement and/or a price-fixing agreement involving any of the
numerous generic pharmaceutical drugs identified herein;

Each time a Defendant submitted false or misleading cover bids and/or
offers to their customers and wholesalers;

Each time a Defendant provided false or misleading statements to
prospective customers related to supply capacity or reasons for bidding or
not bidding;

Each time a request for reimbursement was made to the State of North
Carolina for any of the numerous generic pharmaceutical drugs identified
herein; and

Each time the State of North Carolina or a North Carolina consumer paid
an artificially inflated price for any of the numerous generic

pharmaceutical drugs identified herein.

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783. Plaintiff State of North Carolina is entitled to relief pursuant to N.C. Gen. Stat. §
75-1 et seq., including recovery of its costs and attorneys’ fees pursuant to N.C. Gen. Stat. § 75-
16.1.

North Dakota

784. Plaintiff State of North Dakota repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

785. The aforementioned practices by Defendants are in violation of North Dakota’s
Uniform State Antitrust Act North Dakota Century Code (N.D.C.C.) § 51-08.1-01 et seq., and
Plaintiff State of North Dakota is entitled to relief for these violations under N.D.C.C. § 51-08.1-
01 et seq.

786. The aforementioned practices by Defendants constitute unconscionable or
deceptive acts or practices in violation of the North Dakota Consumer Fraud Law, N.D.C.C. §51-
15-01 et seq., and Plaintiff State of North Dakota is entitled to relief for those violations under
N.D.C.C. §51-15-01 et seq.

Ohio

787. Plaintiff State of Ohio repeats and re-alleges each and every preceding allegation
as if fully set forth herein.

788. The aforementioned practices by Defendants were, and are, a per se illegal
conspiracy against trade in violation of Ohio Revised Code Section 1331.01 et seq, the common
law of Ohio, and void pursuant to Ohio Rev. Code § 1331.06. The State of Ohio, the general
economy of Ohio, Ohio entities and individuals in Ohio were harmed as a direct result of
Defendants’ per se illegal conduct. Defendants received ill-gotten gains or proceeds as a direct

result of their per se illegal conduct.

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789. Plaintiff State of Ohio seeks and is entitled to an injunction, disgorgement and
civil forfeiture pursuant to Ohio Rev. Code § 109.81 and Ohio Rev. Code §§ 1331.01 et seq,
including Section 1331.03, which requires a forfeiture of $500 per day that each violation was
committed or continued, and any other remedy available at law or equity.

Oklahoma

790. Plaintiff State of Oklahoma repeats and re-alleges each and every allegation as if
fully set forth herein.

791. The aforementioned practices by the Defendants are in violation of the Oklahoma
Antitrust Reform Act, 79 O.S, § 201 et seq., and Plaintiff State of Oklahoma is entitled to relief
under 79 O.S. § 205, including but not limited to: injunctive relief, disgorgement, costs,
attorney’s fees and any other appropriate relief for those violations.

Oregon

792. Plaintiff State of Oregon repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

793. The aforementioned practices by Defendants were, and are, in violation of the
Oregon Antitrust Law, Oregon Revised Statutes (“ORS”) 646.705, et seq. These violations had
impacts within the State of Oregon and substantially affected the people of Oregon.

794. Plaintiff State of Oregon seeks all relief available under the Oregon Antitrust Act
for Oregon consumers and the State of Oregon, including injunctive, civil penalties, other
equitable relief including but not limited to disgorgement, the State of Oregon’s costs incurred in
bringing this action, plus reasonable attorney fees, expert witness fees, and costs of investigation,
and any other remedy available at law for these violations under ORS 646.760; ORS 646.770,

ORS 646.775, and ORS 646.780.

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Pennsylvania

795. Plaintiff Commonwealth of Pennsylvania repeats and re-alleges each and every
preceding allegation as if fully set forth herein.

Pennsylvania Unfair Trade Practices and Consumer Protection Law

796. In distributing, marketing and selling generic pharmaceutical drugs to consumers
through drug wholesalers and distributors, pharmacy and supermarket chains, and other resellers
of generic pharmaceutical drugs and in otherwise engaging in the conduct more fully described
herein with respect to the numerous generic pharmaceutical drugs identified herein, the
Defendants are engaging in trade or commerce that directly or indirectly harmed the
Commonwealth and Pennsylvania consumers in this Commonwealth within the meaning of 73 P.
S. § 201-2(3) of the Pennsylvania Unfair Trade Practices and Consumer Protection Law
(“PUTPCPL”).

Unfair Methods of Competition and Unfair Acts or Practices

797. By reason of the foregoing, the Defendants have impaired Pennsylvania consumer
choice in each generic drug market identified herein.

798. By impairing choice in what should have been a freely competitive marketplace
for the numerous generic pharmaceutical drugs identified herein, the Defendants have deprived
Pennsylvania consumers from being able to meaningfully choose from among the options a
competitive market would have provided.

799. The Defendants agreed to, and did in fact, act in restraint of trade or commerce in
each generic drug market identified herein that includes Pennsylvania, by affecting, fixing,

controlling and/or maintaining at artificial and non-competitive levels, the prices at which the

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numerous generic pharmaceutical drugs identified herein were sold, distributed or obtained in
Pennsylvania.

800. The Defendants impaired the competitive process which deprived Pennsylvania
consumers from paying a price for the numerous generic pharmaceutical drugs identified herein
which would have been competitive and fair absent the agreement to allocate customers and fix
prices,

801. Regardless of the nature or quality of Defendants’ aforementioned acts or
practices on the competitive process or competition, Defendants’ conduct has been otherwise
unfair or unconscionable because they offend public policy as established by statutes, the
common law, or otherwise, are immoral, unethical, oppressive, unscrupulous, or substantially
injurious to consumer.

802. Defendants’ unscrupulous conduct has resulted in the Commonwealth and its
consumers to be substantially injured in paying more for or not being able to afford the numerous
generic pharmaceutical drugs identified herein.

803. The Defendants’ impairment of choice and the competitive process had the
following effects: (1) generic drug price competition was restrained, suppressed and eliminated
throughout Pennsylvania; (2) generic drug prices were raised, fixed, maintained and stabilized at
artificially-high levels throughout Pennsylvania; (3) Commonwealth of Pennsylvania and
Pennsylvania consumers were deprived of free and open markets; and (4) Commonwealth of
Pennsylvania and Pennsylvania consumers paid supra-competitive, artificially inflated prices for
the numerous generic pharmaceutical drugs identified herein.

804. The Defendants’ impairment of choice and the competitive process have caused

the Commonwealth of Pennsylvania and Pennsylvania consumers to suffer and to continue to

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suffer loss of money or property, real or personal, by means of Defendants’ use or employment

of unfair methods of competition and/or unfair acts or practices as set forth above.

805. Defendants violated the PUTPCPL:

Each time Defendants agreed to participate in the overarching conspiracy
within the generic pharmaceutical drug market as set forth in Paragraphs
89 to 109;

Each time Defendants agreed to allocate the market for specific drugs in
the generic pharmaceutical drug market as set forth in Paragraphs 113 to
242:

Each time Defendants agreed to fix prices on the specified drugs in the
specified drug markets as set forth in Paragraphs 243 to 453; and

Each time the Commonwealth of Pennsylvania or a Pennsylvania
consumer paid an unfairly or unconscionably inflated price for any of the

numerous generic pharmaceutical drugs identified herein.

806. The Defendants’ conduct more fully described herein is unlawful pursuant to 73

P.S. § 201-3.

807. The aforesaid methods, acts or practices constitute unfair methods of competition

and/or unfair acts or practices within their meaning under Sections 2 and 3 of the PUTPCPL,

including, but not limited to:

a.

Violating Section 1 of the Sherman Act, 15 U.S.C § 1, through engaging
in a market allocation agreement as set forth in the preceding counts;
Violating Section 1 of the Sherman Act, 15 U.S.C § 1, through engaging

in a price-fixing agreement as set forth in the preceding counts;

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C. Violating Pennsylvania antitrust common law through engaging in a
market allocation agreement;

d. Violating Pennsylvania antitrust common law through engaging in a price-
fixing agreement; and/or

e, Engaging in any conduct which causes substantial injury to consumers.

808. The above described conduct substantially injured Pennsylvania consumers and
the general economy of the Commonwealth of Pennsylvania.

809. The above described conduct created the likelihood of confusion and
misunderstanding relative to the Commonwealth of Pennsylvania and Pennsylvania consumers
seeking to exercise a meaningful choice in a market expected to be free of impairment to the
competitive process.

810. The above described conduct has been willful within the meaning of 73 P.S. §
201-8 and is unlawful under the PUTPCPL.

811. Pursuant to 71 P.S. § 201-4, the Commonwealth believes that the public interest is
served by seeking a permanent injunction to restrain the methods, acts and practices described
herein, as well as seeking restoration, disgorgement and attorneys’ fees and costs pursuant to 73
P.S. §§ 201-4 and 4.1 for the Commonwealth of Pennsylvania and Pennsylvania consumers and
civil penalties of not exceeding $3,000 for each such willful violation pursuant to 73 P.S. § 201-8
(b). The Commonwealth believes that the Commonwealth and its citizens are suffering and will
continue to suffer harm unless the methods, acts and practices complained of herein are

permanently enjoined.

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Deceptive Acts or Practices

812. By reason of the foregoing, the Defendants have deceptively misrepresented the
absence of competition in each generic drug market identified herein to the Commonwealth of
Pennsylvania and Pennsylvania consumers in violation of the PUTPCPL.

813. By deceptively misrepresenting and/or omitting material facts concerning the
absence of competition in each generic drug market identified herein to the Commonwealth of
Pennsylvania and Pennsylvania consumers, the Defendants misled the Commonwealth of
Pennsylvania and Pennsylvania consumers into believing that prices for the numerous generic
pharmaceutical drugs identified herein were competitive and fair.

814. The Defendants agreed to, and did in fact, act in restraint of trade or commerce in
in each generic drug market identified herein that includes Pennsylvania, by affecting, fixing,
controlling and/or maintaining at artificial and non-competitive levels, the prices at which the
numerous generic pharmaceutical drugs identified herein were sold, distributed or obtained in
Pennsylvania.

815. The Defendants deceptively misrepresented to the Commonwealth of
Pennsylvania and Pennsylvania consumers that Defendants’ pricing at which the numerous
generic pharmaceutical drugs identified herein were sold, distributed or obtained in Pennsylvania
was competitive and fair.

816. Regardless of the nature or quality of Defendants’ aforementioned acts or
practices on the competitive process or competition, Defendants’ conduct has had the tendency

or capacity to deceive.

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817. Defendants expressed, implied or otherwise falsely claimed conformance with
prescribed bidding practices to their customers and wholesalers in relation to the numerous
generic pharmaceutical drugs identified herein.

818. Defendants expressed, implied or otherwise falsely claimed supply capacity or
reasons to prospective customers for bidding or not bidding in relation to the numerous generic
pharmaceutical drugs identified herein.

819. The Defendants’ deceptive misrepresentations and failure to disclose material
facts had the following effects: (1) generic drug price competition was restrained, suppressed
and eliminated throughout Pennsylvania; (2) generic drug prices were raised, fixed, maintained
and stabilized at artificially-high levels throughout Pennsylvania; (3) Commonwealth of
Pennsylvania and Pennsylvania consumers were deprived of free and open markets; and (4)
Commonwealth of Pennsylvania and Pennsylvania consumers paid supra-competitive, artificially
inflated prices for the numerous generic pharmaceutical drugs identified herein.

820. The Defendants’ deceptive misrepresentations and failure to disclose material
facts have caused Commonwealth of Pennsylvania and Pennsylvania consumers to suffer and to
continue to suffer loss of money or property, real or personal, by means of Defendants’ use or
employment of deceptive commercial practices as set forth above.

821. Defendants violated the PUTPCPL:

a. Each time a Defendant failed to disclose the existence of a market
allocation agreement and/or a price-fixing agreement involving any of the
numerous generic pharmaceutical drugs identified herein;

b. Each time a Defendant submitted false or misleading cover bids and/or

offers to their customers and wholesalers;

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Each time a Defendant provided false or misleading statements to
prospective customers related to supply capacity or reasons for bidding or
not bidding;

Each time a request for reimbursement was made to the Commonwealth of
Pennsylvania for any of the numerous generic pharmaceutical drugs
identified herein; and

Each time the Commonwealth of Pennsylvania or a Pennsylvania

consumer paid an artificially inflated price for any of the numerous

generic pharmaceutical drugs identified herein.

822. The Defendants’ conduct more fully described herein is unlawful pursuant to 73

P. S. § 201-3.

823. The aforesaid methods, acts or practices constitute deceptive acts or practices

within their meaning under Sections 2 and 3 of the PUTPCPL, including, but not limited to:

a.

“Representing that goods or services have sponsorship, approval,
characteristics, ingredients, uses, benefits or quantities that they do not
have or that a person has a sponsorship, approval, status affiliation or
connection that he does not have” in violation of 73 P.S. § 201-2(4)(v);
“Representing that goods or services are of a particular standard, quality or
grade, or that goods are of a particular style or model, if they are of
another” in violation of 73 P.S. § 201-2(4)(vii); and

“Engaging in any other fraudulent or deceptive conduct which creates a
likelihood of confusion or of misunderstanding” in violation of 73 P.S. §

201-2(4)(xxi).

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824. The above described conduct has been willful within the meaning of 73 P.S. §
201-8 and is unlawful under the PUTPCPL.

825. Pursuant to 71 P.S. § 201-4, the Commonwealth believes that the public interest is
served by seeking a permanent injunction to restrain the methods, acts and practices described
herein, as well as seeking restoration, disgorgement and attorneys’ fees and costs pursuant to 73
P.S. §§ 201-4 and 4.1 for the Commonwealth of Pennsylvania and Pennsylvania consumers and
civil penalties of not exceeding $3,000 for each such willful violation pursuant to 73 P.S. § 201-8
(b). The Commonwealth believes that the Commonwealth and its citizens are suffering and will
continue to suffer harm unless the methods, acts and practices complained of herein are
permanently enjoined.

Common Law Doctrine against Restraint of Trade

826. By reason of the foregoing, the Defendants have entered into an agreement in
restraint of trade to allocate markets and fix prices in each generic drug market identified herein
within the Commonwealth of Pennsylvania.

827. The agreements to allocate customers and to fix pricing as set forth in the
preceding counts constitute an unreasonable restraint of trade in violation of Pennsylvania
antitrust common law.

828. Unless Defendants’ overall anticompetitive scheme is enjoined, the Defendants
will continue to illegally restrain trade in the relevant market in concert with another in violation
of the Pennsylvania common law doctrine against unreasonable restraint of trade.

829. Defendants’ conduct in engaging in a contract to unreasonably restrain trade

concerning the customers to whom and the prices at which the numerous generic pharmaceutical

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drugs identified herein were sold, distributed or obtained in Pennsylvania threatens injury to the
Commonwealth of Pennsylvania and Pennsylvania consumers.

830. Defendants’ anticompetitive and unlawful conduct alleged herein has injured, is
injuring and will continue to injure competition in the relevant market by denying consumer
choice and otherwise thwarting competition in the relevant market.

831. The Defendants’ contract in restraint of trade had the following effects: (1)
generic drug price competition was restrained, suppressed and eliminated throughout
Pennsylvania; (2) generic drug prices were raised, fixed, maintained and stabilized at artificially-
high levels throughout Pennsylvania; (3) Commonwealth of Pennsylvania and Pennsylvania
consumers were deprived of free and open markets; and (4) Commonwealth of Pennsylvania and
Pennsylvania consumers paid supra-competitive, artificially inflated prices for the numerous
generic pharmaceutical drugs identified herein.

832. The Defendants’ illegal conduct has had a substantial effect on the
Commonwealth of Pennsylvania and Pennsylvania consumers.

833. Asadirect and proximate result of the Defendants’ unlawful conduct, the
Commonwealth of Pennsylvania and Pennsylvania consumers have been injured in their business
and property.

834. On behalf of the Commonwealth and its citizens pursuant to 71 P.S. §732-204 (c),
Pennsylvania seeks injunctive relief and disgorgement under common law.

Common Law Doctrine against Unjust Enrichment

835. By reason of the foregoing, the Defendants have been unjustly enriched as a result

of the conduct set forth herein with respect to the Commonwealth of Pennsylvania and

Pennsylvania consumers.

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836. The Commonwealth of Pennsylvania and Pennsylvania consumers were
purchasers, reimbursers and/or end-payors of Defendants’ numerous generic pharmaceutical
drugs identified herein and have paid amounts far in excess of the competitive prices for such
drugs that would have prevailed in a competitive and fair market.

837. Defendants knew of, and appreciated and retained, or used, the benefits of
Commonwealth of Pennsylvania and Pennsylvania consumers’ purchases of any of the
Defendants’ numerous generic pharmaceutical drugs identified herein at amounts far in excess of
the competitive price. Defendants engaged in the conduct described herein to increase the
market share of the numerous generic pharmaceutical drugs identified herein thereby increasing
their sales and profits.

838. For those customers that purchase directly or indirectly from Defendants at
artificially inflated and supra-competitive prices, Defendants have increased prices above what
would have prevailed in a competitive and fair market; thereby, directly benefiting Defendants in
the form of increased revenues.

839. Based on Defendants’ conduct set for herein, it would be inequitable and unjust
for Defendants to retain such benefits without payment of value.

840. Defendants will be unjustly enriched if they are permitted to retain the direct or
indirect benefits received or used resulting from the purchase of any of the numerous generic
pharmaceutical drugs identified herein by the Commonwealth of Pennsylvania and Pennsylvania
consumers. The Commonwealth of Pennsylvania, on behalf of itself and Pennsylvania

consumers, seeks to recover the amounts that unjustly enriched the Defendants.

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841. The Commonwealth of Pennsylvania and Pennsylvania consumers are therefore
entitled to equitable relief in the form of an injunction, restitution and disgorgement and any
other relief the Court deems appropriate.

Puerto Rico

842. Plaintiff Commonwealth of Puerto Rico repeats and re-alleges each and every
preceding allegation as if fully set forth herein.

843. The aforementioned practices by Defendants were in violation of Puerto Rico
Law No. 77 of June 25, 1964, also known as “Puerto Rico's Antitrust and Restrictions of
Commerce Law”, 10 P.R. Laws Ann. §§ 257 et seq., and 32 P.R. Laws Ann. § 3341.

844. The Commonwealth of Puerto Rico, through its Attorney General, brings this
enforcement action as parens patriae in its proprietary capacity on behalf of the Commonwealth,
including its agencies and entities, to recover damages to the Commonwealth and all such other
relief as may be authorized by statute or common law.

845. Accordingly, the Commonwealth of Puerto Rico is entitled remedies available
under the Puerto Rico's Antitrust and Restrictions of Commerce Law and 32 P.R. Laws Ann. §
3341, including injunctive relief, civil penalties and damages for the Commonwealth agencies
and entities and any other appropriate monetary and injunctive relief.

Rhode Island

846. Plaintiff State of Rhode Island repeats and re-alleges every preceding allegations
as if fully set forth herein.

847. Defendants’ actions as alleged herein violate the Rhode Island Antitrust Act, R.1.

Gen. Laws § 6-36-1, et seq.

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848. Plaintiff State of Rhode Island brings this action pursuant to R.I. General Laws §§
6-36-10, 6-36-11 and 6-36-12 and seeks relief, including but not limited to injunctive relief, civil
penalties, other equitable relief (including but not limited to disgorgement), fees, costs, and such
other relief as this court deems just and equitable.

849. Defendants’ actions as alleged herein constitute unfair methods of competition
and unfair or deceptive acts or practices as defined in the Rhode Island Deceptive Trade
Practices Act, R.I. Gen. Laws § 6-13.3-1, et seq.

850. Defendants engaged in unfair or deceptive acts or practices in connection with the
sale or advertisement of merchandise by, among other things, making misrepresentations and
taking steps to conceal their anticompetitive schemes.

851. Defendants’ violations of the Rhode Island Deceptive Trade Practices Act were
willful, in that they knew or should have known that their conduct was of the nature prohibited
by R.I. Gen. Laws § 6-13.1-2, as defined by the R.I. General Laws § 6-13.1-1(6).

852. Plaintiff State of Rhode Island brings this action pursuant to Rhode Island Gen.
Laws § 6-13.1-5, and seeks relief, including but not limited to injunctive relief, restitution,
disgorgement and other equitable relief, civil penalties, fees, costs, and such other relief as this
court deems just and equitable.

South Carolina

853. Plaintiff South Carolina repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

854. The aforementioned practices by Defendants constitute "unfair methods of
competition and unfair or deceptive acts or practices" under §39-5-20 of the South Carolina

Code of Laws. The State of South Carolina asserts claims in a statutory parens patriae capacity

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under S.C. Code § 39-5-50 and a common law parens patriae capacity. Pursuant to common law
and S.C. Code § 39-5-50(b), South Carolina seeks that this Court restore any ascertainable loss
incurred in purchasing the generic drugs at issue. Pursuant to S.C. Code § 39-5-50(a), South
Carolina seeks injunctive relief to prohibit Defendants from engaging in the conduct described in
this complaint.

855. Defendants knew or reasonably should have known that their conduct violated
S.C. Code § 39-5-20. Under S.C. Code § 39-5-110(c), Defendants' conduct therefore constitutes
a willful violation of S.C. Code § 39-5-20. Accordingly, South Carolina seeks an award of civil
penalties under S.C. Code § 39-5-110(a) in an amount up to $5,000.00 per violation in South
Carolina.

856. South Carolina seeks attorneys' fees and costs under S.C. Code § 39-S-50(a).

Tennessee

857. Plaintiff State of Tennessee repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

858. This is an action that alleges violation of Tennessee's antitrust law, the Tennessee
Trade Practices Act, Tenn. Code Ann. §§ 47-25-101 et seq.

859. Defendants directly and/or indirectly through nationwide distributors,
wholesalers, and retailers, sold or marketed the generic drugs at issue to the State of Tennessee
and its agencies, Tennessee businesses, and individual consumers.

860. Defendants made arrangements or agreements with a view to lessening, or which
tend to lessen, full and free competition in the sale in Tennessee of, or which were designed to

advance or control the prices charged for, the generic drugs at issue.

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861. Defendants’ conduct affected Tennessee commerce to a substantial degree and
substantially affected the people of Tennessee, by affecting the choice of generic drugs available
to, and/or the prices paid by, the State of Tennessee and its agencies, Tennessee businesses, and
individual consumers for such generic drugs.

862. The aforementioned conduct by Defendants was in violation of Tennessee's
antitrust law, the Tennessee Trade Practices Act, Tenn. Code Ann. §§ 47-25-101 et seq.

863. Asa direct and proximate result of Defendants’ illegal conduct, the State of
Tennessee and its agencies, Tennessee businesses, and individual consumers have been harmed
and will continue to be harmed, by, inter alia, paying more for generic drugs purchased directly
and/or indirectly from the Defendants and their co-conspirators than they would have paid in the
absence of the illegal conduct.

864. The State of Tennessee is entitled to relief for purchases of affected generic drugs
by the State of Tennessee and its agencies, Tennessee businesses, and individual consumers.

865. On behalf of the State and its agencies, Tennessee businesses, and individual
consumers, the State of Tennessee seeks all legal and equitable relief available under the
Tennessee Trade Practices Act and the common law, including, but not limited to: damages for
purchases of the affected generic drugs; equitable relief including disgorgement and injunctive
relief; attorneys’ fees and costs; and such other and further relief as this Court deems just and
equitable.

Utah
866. Plaintiff State of Utah repeats and re-alleges each and every preceding allegation

as if fully set forth herein.

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867. The aforementioned acts by Defendants violate the Utah Antitrust Act, Utah Code
§§ 76-10-3101 through 76-10-3118 (the “Act”), and Utah common law. Accordingly, Plaintiff
State of Utah, by and through the Attorney General of Utah, on behalf of itself, Utah
governmental entities, and as parens patriae for its natural persons, is entitled to all available
relief under the Act and Utah common law, including, without limitation, damages (including
treble damages, where permitted), injunctive relief, including disgorgement, restitution, unjust
enrichment, and other equitable monetary relief, civil penalties, and its costs and reasonable
attorneys’ fees.

Vermont

868. Plaintiff State of Vermont repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

869. Defendants’ actions alleged herein constitute unfair methods of competition in
commerce and thereby violate the Vermont Consumer Protection Act, 9 V.S.A. § 2453. Plaintiff
State of Vermont seeks relief, including damages, for Vermont consumers and state entities that
paid for one or more of the drugs identified herein during the relevant period and thereby paid
more than they would have paid but for Defendants’ unlawful conduct. Plaintiff State of
Vermont seeks and is entitled to injunctive relief, civil penalties, other equitable relief (including
but not limited to restitution and disgorgement), and its costs and fees for these violations
pursuant to 9 V.S.A. §§ 2458 and 2465.

Virginia
870. Plaintiff Commonwealth of Virginia repeats and re-alleges each and every

preceding allegation as if fully set forth herein.

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871. The aforementioned practices by Defendants are in violation of the Virginia
Antitrust Act, Virginia Code Sections 59.1-9.1, et seq. These violations substantially affect the
people of Virginia and have impacts within the Commonwealth of Virginia.

872. Plaintiff Commonwealth of Virginia, through the Attorney General, brings this
action pursuant to the Virginia Antitrust Act, Virginia Code Section 59.1-9.15. Pursuant to
Sections 59.1-9.15(a) and (d), Plaintiff Commonwealth of Virginia seeks disgorgement,
restitution, and other equitable relief as well as civil penalties for these violations. In addition,
pursuant to Sections 59.1-9.15(b), the Plaintiff Commonwealth of Virginia seeks reasonable fees
and costs for the investigation and litigation.

Washington

873. Plaintiff State of Washington repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

874. The aforementioned practices by Defendants were, and are, in violation of the
Washington Consumer Protection Act, Wash. Rev. Code 19.86.020 and .030. Defendants have
also engaged in conduct in violation of RCW 19.82.020 that is not a reasonable business practice
and constitutes incipient violations of antitrust law and/or unilateral attempts to fix prices or
allocate markets. These violations have impacts within the State of Washington and
substantially affect the people of Washington.

875. Plaintiff State of Washington seeks relief, including but not limited to damages,
for Washington consumers and Washington state agencies that paid more for the generic drugs at
issue than they would have paid but for the Defendants’ unlawful conduct. Plaintiff State of

Washington also seeks, and is entitled to, injunctive relief, other equitable relief (including but

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not limited to disgorgement), civil penalties, and costs and fees under the Consumer Protection
Act, Wash Rev. Code 19.86.080 and 19.86.140.

876. Plaintiff State of West Virginia repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

877. Defendants’ acts violate the West Virginia Antitrust Act, see W. Va. Code § 47-
18—1 et seq. These violations substantially affected the State of West Virginia and had impacts
within the State of West Virginia.

878. West Virginia affirmatively expresses that the State is not seeking any relief in
this action for the federal share of funding for West Virginia’s Medicaid Program.

879. Claims for damages for any federal monies expended by the State of West
Virginia are hereby expressly disavowed.

880. Plaintiff State of West Virginia is entitled all equitable relief (including injunctive
relief, disgorgement, restitution, and reimbursement), as well as civil penalties under West
Virginia Code § 47—18-1 et seq.

881. Plaintiff State of West Virginia also is entitled to recover its costs and attorneys’
fees under West Virginia Code § 47—18-9.

Wisconsin

882. Plaintiff State of Wisconsin repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

883. The aforementioned practices by Defendants are in violation of Wisconsin's
Antitrust Act, Wis. Stat. Ch. § 133.03 et seq. These violations substantially affect the people of

Wisconsin and have impacts within the State of Wisconsin.

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884. Plaintiff State of Wisconsin, under its antitrust enforcement authority in Wis. Stat.
Ch. 133, is entitled to all remedies available at law or in equity under Wis. Stat. §§ 133.03,
133.14, 133.16, 133.17, and 133.18.

Wyoming

885. Plaintiff State of Wyoming repeats and re-alleges each and every preceding
allegation as if fully set forth herein.

886. Defendants’ actions as alleged herein constitute unlawful practices in violation of
The Wyoming Consumer Protection Act, Wyoming Statutes § 40-12-101 ef seq.

887. Inthe course of business and in connection with consumer transactions,
Defendants knowingly and willfully engaged in deceptive acts or practices by, among other
things, misrepresenting or omitting material facts about the price and cost of merchandise, the
absence of competition in each generic drug market identified herein, and the existence of
Defendants’ anticompetitive scheme. Such conduct has the tendency or capacity to deceive.

888. Inthe course of business and in connection with consumer transactions,
Defendants knowingly and willfully engaged in unfair acts or practices by, among other things,
entering into agreements or becoming parties to plans to prevent competition or to control or
influence prices in each generic drug marketed identified herein. Such conduct offends public
policy, substantially injures consumers, interferes with meaningful consumer choice, and offers
no countervailing benefit to consumers or competition.

889. Plaintiff State of Wyoming, through the Office of the Wyoming Attorney
General, brings this action in the public interest to protect Wyoming’s consumers and

marketplace by restraining and enjoining Defendants from violating the Wyoming Consumer

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Protection Act, recovering statutory civil penalties, and recovering reasonable attorney’s fees and

costs.

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PRAYER FOR RELIEF

Accordingly, the Plaintiff States request that the Court:

A.

Adjudge and decree that Defendants violated Section | of the Sherman Act, 15
US.C. § 1;

Adjudge and decree that the foregoing activities violated each of the State statutes
enumerated in this Consolidated Amended Complaint;

Enjoin and restrain, pursuant to federal and state law, Defendants, their affiliates,
assignees, subsidiaries, successors, and transferees, and their officers, directors,
partners, agents and employees, and all other persons acting or claiming to act on
their behalf or in concert with them, from continuing to engage in any anticompetitive
conduct and from adopting in the future any practice, plan, program, or device having
a similar purpose or effect to the anticompetitive actions set forth above;

Award to Plaintiff States disgorgement of the Defendants' ill-gotten gains and any
other equitable relief as the Court finds appropriate to redress Defendants’ violations
of federal law or state antitrust and consumer protection laws to restore competition;
Award to the Plaintiff States damages, including treble damages, to the extent sought
pursuant to applicable state laws as enumerated in Count Nineteen of this
Consolidated Amended Complaint;

Award to each Plaintiff State the maximum civil penalties allowed by law as
enumerated in Count Nineteen of this Consolidated Amended Complaint;

Award to each Plaintiff State its costs, including reasonable attorneys’ fees; and

Order any other relief that this Court deems proper.

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JURY DEMAND

The Plaintiff States demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

Civil Procedure, on all issues triable as of right by jury.

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